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                                   IN THE UNITED STATE.S DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA
                                                      )
     JOSE LUIS AGUILAR LOPEZ, et al.                  )
           Petitioner,                                )
                                                      )
                                                      )
                                                      )
     v.                                               )   CASE NO.: 13-CR-20911-COOKE
                                                      )
                                                      )                FILED sv_~..:--D.C.
                                                      )
     UNITED STATES OF AMERICA,                        )
          Respondant.                                 )                     NOV O6 2023
     __________________                               )


     RELEVANT MOTION FOR REDUCTION OF SENTENCE PURSUANT TO l-88:-i!':-"1.r.1':.'""'rffl~~-(-},.)-<h,) (i)
                   FOR COMPASSIONATE RELEASE PURPOSES ONLY OF FIRST STEP ACT

               COMES NOW, Jose Luis Aguilar Lopez, et al. (Petitioner), hereby appearing pr.o

     se by means of Haines v. Kerner, 404 U.S. 519-520 (1972), Where a Court has a duty

     to hold prose litigants to a lesser stringent standard than those drafted by a

     licensed attorney. Id. In addition see United States v. Guerrero, 488 F.3d 1313
          th
     10        Cir. (2007), Where a Court has an obligation to construe a prose motion so

     that it may conform to the appropriate procedural rule. Id.
                                         RELEVANT JURISDICTION

                            § 3582. IMPOSITION OF A SENTENCE OF IMPRISONMENT

               (a) Factors to be considered in imposing a term of imprisonment. The Court,

     in determining whether to impose a term of imprisonment, and, if a term of

     imprisonment is to be imposed, in determining the length of the term, shall

     consider the factors set forth in section§ 3553(a) 18 USC§ 3553(a) to the

     extent that they are applicaple, recognizing that imprisonment is not an

     appropriate means of promoting correction and rehabilitation. In determining

     whether to make a recolilll\endation concerning the type of prison facility
            ...

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                  appropriate for the defendant, the Court shall consider any pertinent policy

                  statements issued by the Sentencing Commission pursuant to 28 U.S.C, 944(a)(2).

                        (c) Modification of an imposed term of imprisonment. The Court may not

                  modify a term of imprisonment once it has been imposed except that--

                        (1) in any case--

                        (A) the Court, upon motion of the Directer of the Bureau of Prisons, or

                  upon motion of the defendant after the defendant has fully exhausted all

                  administrative rights to appeal a failure of the Bureau of Prisons to bring a

                  motion on the defendant's behalf or the lapse of 30 days from the receipt of

                  such a request by the Warden of the defendant's facility, whichever is earlier,

                  may reduce the term of imprisonment (and may impose a term of probation or

                  supervised release with or without conditions that does not exceed the unserve

                  portion of the original term of imprisonment), after considering the factors set

                  forth in section§ 3553(a) [18 USC§ 3553(a)] to the extent that they are

                  applicable, if it finds that--

                        (i) extraordinary and compelling reasons warrant such a reduction.

                                               RELEVANT ADMINISTRATIVE REMEDY

                       Petitioner Lopez puts the Court on judicial notice as to him exhausting his

                  administrative remedy; 18 § 3582(c)(l)(A), United states v. Larry Thomas, 2020 U.S. Dist

                  164331 11th.Cir but before they make such request, defendants must ask the Federal

                  Bureau of Prison (BOP) to do so on their behalf, give the BOP thirty days to

                  respond and exhaust any available administrative appeals, 18 USCS § 3582(c)(l)

                  (A). See exhibit II B 11 ,




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                                  RELEVANT FACTUAL BACKGROUND

          Mr. Lopez is charged by way of indictment, with one count of conspiracy to

     possess with intent to distribute five (5) kilograms or more of cocaine in

     violation of 46 U.S.C. § 70503(a)(l), 70506(b), and 21 U.S.C. § 960(b)(l); and

     one count of possession with the intent to distribute five (5) kilograms or more

     of cocaine in violation of the same. (DE:17).

          The complaint charges that on or about November 5, 2013, "while on routine

     patrole in the Eastern Pacific Ocean, a United States marine patrole aircraft

     sighted three panga-style vessels approximately 120 nautical miles southwest of

     the El Salvador-Guatemala land border." This, however, is inconsistent with the

     Coast Guard reports and statements. The Law Enforcement Case Package Checklist,

     prepared by the United states Coast Guard stated that the vessel, Cristiano

     Ronaldo, was first noticed when it was 98 nautical miles from Guatemala.

     (Law Enforcement Case Package Checklist, PartII, p.7). Coast Guard Officer

     Ligsay's statement, Coast Guard Officer Justin Laragione's statement, and Coast

     Guard Officer Heriberto Arambula's statement, all agree that the vessel was

     spotted about 98 miles southwest of the coast of Guatemala. (Witness Statements).

     Yet, the consolidated EPAC Boarding Alpha Report, also prepared by the Coast

     Guard, listed the initial position of the vessel as 90 nautical miles from

     Puerto Quetzal. (Consolidated EPAC Boarding Alpha Report).

                                RELEVANT POINTS AND AUTHORITIES

                PETITIONER LOPEZ IS ENTITLED TO A REDUCTION OF HIS SENTENCE AND
                PURSUANT TO THE COMPASSIONATE RELEASE PROVISION OF THE COVID-19

     First Point of Error:

          NOW COME, Jose Luis Aguilar Lopez, (Petitioner), hereby through prose

     means, respectfully files this principle motion in an abundance of caution for




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    purposes of resentencing under the First Step Act.

         Petitioner Lopez, contends that this Court is ripe to consider in its

    assesements as to whether or not a sentence reduction is appropriate in this case is

    the current COVID-19 pandemic, and the dangers to prisoners associated with it. Mr.

    Lopez is currently housed at Federal Correctional Institution Pollock Medium. The

    facility has seen both staff and prisoners infected with the virus.

    see, https://www.bop.gov/coronavirus/.

         Petitioner Lopez asserts that his health condition may become less important if

    and when the pandemic ceases, the pandemic itself has not only posed a threat to

    Lopez's health but has made his incarceration more harsh, and effectively more

    punitive than could have been expected by the sentencing court. Detention during

    the pandemic has been extremely difficult .... There's no question that it has been

    more harsh than normal times. Petitioner Lopez contends that the constant lock-downs

    that the pandemic caused were more like punishment. Petitioner Lopez puts this

    Court on notice that the facility is no longer on lock-down but is on a modified

    movement that does not consist of being locked-down like they were for the last

    two (2) years. Even though the virus is slowly rising within F.C.I. Pollock due

    to the rapid movement the facility is now allowing; see exhibit "H".

         Mr. Lopez contends that he is at an increased risk of illness if exposed

    again to COVID-19 based upon the facility is a step past being on modified lock

    down, in which the spread of the corona virus is something he cannot control

    inside the facility.

                                        RISK FACTORS




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      HYPERTENSION

           According to Petitioner Lopez's last known prison medical records, his blood

      pressure measured 98.6, and his hypertension is 110 current. The CDC notes that

      hypertension is one of the risk factor that ·could possibly make one more likely

      to get severly ill if exposed to COVID-19. see http://www.cdc.gov/coronavirus/

     2019-ncov/need-extra-precautions/people-with-medical-conditions. Mr, Lopez

     asserts that these factors, when considering his' "back"· and hypertension, tilt

     the balance in favor of finding that he has met the standard of review under the

     "extraordinary and compelling" exception. Petitioner Lopez contends that the court

     should qualify him for review for compassionate release. Alongside with catching

     corona twice here at F.C.I. Pollock Medium; see exhibit "A" of medical records.

     His conditions is ripe for relief.

          Petitioner Lopez asserts that release in this matter will enhance the safety

     of not only hisself, but also other people and the community. It is safer for

     other people in the jail, for the staff of the jail and for the community, well

     beyond that if Lopez is able to exercise self-protective measure in a sanitary,

     disinfected space, and maintain the type of social distance that other community

     members are now engaging in, Release will reduce the risk that Lopez or anyone

     else transmits or receive the infections. When Lopez was initially sentenced,

     circumstances were different. Especially in a communal enviroment that Lopez now

     live in. This pose a question as to the substantial risk of Lopez being exposed

     to COVID-19 regarding his living conditions ...

          We must keep in mind that living in spaces during quarantine with open toilets

     within a few feets of their beds, meaning that infection-transmitting fecal and

     other matter is not contained, and that bodily fluids that contain viruses are




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     Aerosolized into the air inside the cell every time either person in the cell uses

     the toilet, and unabled to access a closed toilet that would not aerosolize bodily

     fluids into their living spaces because their not allowed out of their cell but

     every three days and that is to shower. So near-constantly in "close contact" with

     others, nearly all of whom have not been tested for COVID-19, and unable to choose

     otherwise. Frequently, in actual physical contact with others, such as correctional

     officers, kitchen staff, and medical staff, many of whom have not been tested for

     COVID-19, and unable to opt out this contact. Subjected to frequent intimate contact

     by correctional staff, many of whom have not been tested for COVID-19, during

     searches of their person, including having those staff place their hands inside of

     people's mouth and other body cavities. Lacking regular, uninhibited access to

     soap, water, tissue, and paper towels, and the jail commissary, upon information and

     belief, does not stock antiseptic soap. Lacking access to hand santizer that

     complies with the CDC's guideline of being over 60% alcohol, as it is considered

     contraband and prohibited inside the FBOP facilities.

          We must also not forget that people in the FBOP facilities also lack access

     to quality, efficient medical care. Although an incarcerated person can fill out

     paperwork asking to see a member of the medical staff, those slips take at least

     a day, and sometime more than a week to process. Between the time someone ask to

     see a medical professional and the time the person is actually seen to be

     assessed for crucial symptoms such as fever or breathing problems, nor only

     could their conditions become critical but they could infect their cellmate or

     anyone else they came in contact with. Further, patients at F.C.I. Pollock are

     treated by medical staff supervised by medical doctors but who are themselves not

     doctors, much less infectious disease specialist, internist, pulmonologist, or




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      emergency medical specialist.

           This combination of lack of adequate sanitation, close quarters, and limited

      medical capacity creates the perfert storm to put people on greater risk of

      mortality if they are held in custody at the time when COVID-19 enters the

      facility. And all evidence suggest that there is no way to prevent that from

      occurring, given the number of newly detained people, staff, and visitors

      entering and leaving the facility on a daily basis just to keep the basic

      functions of the facility running. Even if visitors are reduced or halted, the

      number of people being admitted and released from this facility and the movement

      of staff in and out, makes attempted containment impossible.

           Isolation, segregation or attempted lockdown, for the above reasons are

      largely futile in the face of the COVID-19 pandemic. We must not forget that

      COVID-19 can survive in the air, so seperation in a facility where there is still

      other movement of people, and occasional interaction, will not contain it.

      Surfaces are still touched-inside cells, in bathrooms and in transports at the

      very least. And under lockdown, the ability to self protect through bodily

      movement (such as using elbows instead of hands) is impossible. The number of

      people moving in and out every day alone creates a risk for someone who is trapped

      inside and cannot self-protect elsewhere. Further, the reality is that some

      contact with others-in close proximity and actual contact-is inevitable.

      Kitchen staff, intake staff, officers and medical staff all interact with

      incarcerated people as a matter of course. Additionally, growing reasearch

      demostrates the permanent damages to people done by solitary confinement and

      isolation within correctional faclities, making attempted containment by

      isolation an unacceptable-and incompatible-path to pursue toward safety and health.




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             Mr. Lopez asserts that such punishment should not include a risk of illness

      or death-for him or anyone else. Mr. Lopez is aware that hypertension alone don 1 t

     warrant relief.

     CRUEL AND UNUSUAL PUNISHMENT

             The Eight Admendment prohibits cruel and unusual punishments, which includes

     lack of access to adequate medical care. see Estelle v, Gamble, 429 U.S. 97 (1976)

      (finding that "deliberate indifference to prisoner's serious illness or injury

     constitute cruel and unusual punishment in violation of Eight Admendment"). The

     Eight admendment is implicated where an incarcerated person's health is placed

     at risk by their conditions of confinement, even where the jail or prison did

     not intentionally cause the risk of harm.


         Incarcerating an individual purely for punishment under conditions that

    substantially increase his likelihood of contracting a serious infection creates

    serious Eight Amendment concerns.

         Despite issuing self-reporting screenings to employees and upon information

    and be1ief, some visitors upon entering its facility, the FBOP has not-and cannot-

    come close to meeting its constitutional obligations to protect those in custody.

    This current situation calls for, in addition to ·a variety of internal protective

    measures (including testing, disinfecting, and increasing bodily autonmy to

    protect oneself), considering the release of people in custody to decrease

    exposure for anyone, and to ease the burden on the FBOP.

         For all the reasons, release in this matter will enhance the safety of not

    only~ Mr.· Lc:>pez but also other people and the community. When Mr~ Lopez was

    actual    sentenced, the circumstances were much different and this Court should

    how consider a very different reality than it did in February 13, 2015 for

    the above reasons regarding "Lopez's"        constitutional rights, health and safety


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      and potential mortality are threat"ened by this incarceration.

           Mr. Lopez also states that according to the CDC, being overweight and

      possibly having hypertension can make one more likely to get severly ill from

      C0VID-19.

           Mr. Lopez contends that he has established that he has an "extraordinary

      and compelling" reason that makes him eligible for consideration for

      compassionate release, The petitioner's age, length of incarceration, and

      measure of rehabilitation weigh in favor for finding an extraordinary and
                                  \



      compelling reason justifying review. The petitioner is 50 years old; he has

      been incarcerated for 10 plus years now. His rehabilitation coursework while

      incarcerated, minimal disciplinary record, and family ties and non-drug charge

      should satisfy this Court's concern to rehabilitation. 11 C 11 •

           Mr. Lopez has contracted the corona virus twice (2) during his time of

      imprisonment; see exhibit "A" of medical records. During Lopez's second time

      of contracted C0VID-19, he took it up on his own to get both of the booster

      shots to help him from contracting any new corona virus that his body might

      can't handled. We must keep in mind that the availability of booster shots to

      the extent they are necessary to prevent severe illness or death due to waning~

      immunity. This court should act independently with appropriate discretion

      giving the rise of new virus variants. Given how rapidly the above eligibility

      calculus can change, it would be prudent for this court in this compassionate

      release case to decide whether Mr. Lopez has demostrated his non-dangerousness,

      regardless of any elgibility determination. That is not to say that Lopez's

      receipt of a vaccine is just another factor of undifferentiated significance.




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                                   MR. LOPEZ'S BACK CONDITION
         Also in this instant matter, Mr. Lopez also submitted in his compassionate

    retease motion, was that the increase and severity of the pain in his back that has

    him unable to fully provide self care for his self without the help of his cell-mate.

    On a couple of occassion, Lopez's cell-mate had to help him wipe his butt after his

    bathroom use. On the date of the incident, Mr. Lopez was doing his orderly job while

    the facility was on lockdown. The housing unit Lopez lived in was being fed in

    styrofoam trays. The trays were affixed in a rubber made hot box. Mr. Lopez and

    another dorm orderly was trying to carry the hot box up the housing unit stairs to

    the top tier of the housing unit so they can feed the top tier housing unit.

         Some how the hot box became very unstabled and both orderlies lost control of

    the hot box while they were on the stair-way. Unfortunately Mr. Lopez was at the

    bottom end of the cart. When they lost control of the cart, Mr. Lopez fell on his

    back on the stair way and the food cart fell on him as well. Mr. Lopez went to the

    medical several days later because the pain became very sever on him. Mr. Lopez tried

    Icy Hot medicine on his on accord until the pain didn't allow him to self care of

    his self any more without being seen by a doctor. Since then Mr. Lopez has being

    seeing the doctor about his back because the pain has been sever. The medical staff

    ordered that Mr. Lopez be placed on a light duty status until farther notice. Mr.

    Lopez has not been performing his unit orderly job since the incident because he has

    been in sever pain since the incident. Mr. Lopez is now seeking a back-brace, wheelchair.

         Mr. Lopez contends that his medical condition regarding his back should qualify

    him for review for compassionate release. Mr. Lopez's back. condition is ripe for

    relief.


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            THIS COURT HAS ALL AUTHORITY TO RESENTENCE MR. "LOPEZ" UNDER THE RELEVANT
               § 3582 (C) (A) (i) FOR ALL REASONS OF EXTRAORDINARY AND COMPELLING
                       REASONS THAT ARE PRESENTED HERE FOR JUDICIAL REVIEW

         With changes made to the compassionate release statute by the First Step

     Act, courts need not await a motion from the Director of BOP to resentence

     prisoners to time served under 18 U.S.C. § 3582(c)(l)(A)(i) for "extraordinary

     and compelling reasons." Mr. Lopez contends that his case reflects that dichotomy.

     The First Step Act provision overturned 30 years of history, But at the same time it

     often did more than shift discretion from the Bureau of Prisons ("BOP") to the

     courts. We must not forget to decide whether the First Step Act empowered district

     courts evaluating motions for compassionate release to consider any extraordinary

     and compelling reason for release that a defendant might raise, or whether courts

     remain bound by U.S. Sentencing Guidelines Manual (Guidelines or U.S.S.G.) § lBl.13

    Application Note 1 (D) (Application Note 1 (D)), which makes the Bureau of Prisons

     the sole arbiter of whether most reasons qualify as extraordinary and compelling.

         Neither Apllication Note l(D), nor anything else in the now-outdated version

    of Guideline § lBl. 13, limits the district courts discretion, Nor can we say, as a

    matter of law, that a court would abuse his discretion by granting someone

     compassionate release on this record. We must not forget that a court bears

     remembering that compassionate release is a misnomer. 18 U.S.C. § 3582(c)(l)(A) in

     fact speaks of sentence reduction.

    Mr. Lopez do asserts that his basis for release is just not based on COVID-19 concerns

     itself, and Lopez too is aware that explaining that "the mere existence of COVID-19 in

     in society and the possibility that covid-19 may spread to a particular prison alone

    cannot independently justify compassionate release,



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                                 THE FACTOR UNDER 18 U.S.C. § 3553(a)
                                   SUPPORT A REDUCTION IN MR. LOPEZ'S
                                         TERM OF IMPRISONMENT.

               If this court finds that Lopez has establishe "extraordinary and compelling

       reasons," this court must consider the factors set forth in 18 USC§ 3553(a). See

       18 U.S.C. 3582 (c) (1) (A). The court must consider the nature and circumstances-----

       [cite 3553(a) factors (1-6)]. The court at the time saw fit to impose a severe

      penalty for the non-drug offense. None the less, Mr. Lopez has been imprisoned

      now for nearly 11 years for a sentencing scheme that consisted of fifteen years.

               Futhermore, and most importantly, Lopez rehabilitation weighs in his favor

      of a reduction or immediately release. Despite his institutional sanctions, the

      court must equally give weight to his accomplishments while incarcerated. Mr.

      Lopez has accomplished more than _7__ programs. Evidence of post s~ntencing

      rehabilitation sheds light on the 11 need for the sentence imposed ... 11

              Despite the alleged severity of Mr. Lopez's sentence, a reduction would

      not short-change the government. Lopez asserts that his sentence is longer than

      necessary to achieve the goals of sentencing that is explained in 18 U.S.C, §

      3582,    II c·n •


              MOTION FOR REDUCTION OF SENTENCE PURSUANT TO 18 U.S.C. § 3582(C)(l)(A)(i),
              THE FIRST STEP ACT IN LIGHT OF GEOGRAPHIC DISPARITIES AND BOP DETERMINATION
               IN COMPASSIONATE RELEASE MOTIONS, IN COMBINATION WITH OTHER FACTORS, MAY
                  CONSTITUTE EXTRAORDINARY AND COMPELLING CIRCUMSTANCES WARRANTING A
                  REDUCTION OF SENTENCE.

      Second Point of Error:

              Based on the revelations, Petitioner Lopez' sentence is extraordinary for what

      has caused it. Lopez contends that the First Step Act inspired a lively debate about

      the BOP, and disq.·ict court's discretion to reduce sentences under § 3582 (c) (1) (A).



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                                    MANUFACTURING JURISDICTION

      Boat location                             A.
           In an abundance of caution, Petitioner Lopez contends that he was still in

      Quatemala waters when the vessel he was occupying was approached by the United

      States Coast ~uard.

           The complaint charges that on or about November 5, 2013, "while on routine

      patrole in the Eastern Pacific Ocean, a United States marine patrol aircraft

      sighted three (3) panga-style vessels approximately 120 miles Southwest of El

      Salvador-Guatemala land border." This however, is incosistent with the coast

      guard's report and statements. The Law Enforcement Case Package Checklist,

      prepared by the United States Coast Gaurd stated that the vessel, Cristiano

      Ronaldo, was first noticed when it was 98 nautical miles from Guatemala. (See

      exhibit "F" of Law Enforcement Case Package Checklist, Part II page 7). Coast

      Guard Officer Ligsay's statement, Coast Guard Officer Justin Laragione's

      statements, and Coast Guard Officer Heriberto Arambula's statement, all agreed

      that the vessel was spotted about 98 miles Southwest of the coast of Guatemala.

      (Witness Statements).

           Based on the revelations, to the contrary, that means that the vessel Mr.

      Lopez was occupying was actually in Guatemala waters and not international waters.

      Here the government failed to prove that the vessel was in United States waters.

      The International Court of Justice (ICJ) recently found that nations exercise full

      sovereignty over waters within 200 nautical miles from their respective coasts.

      Yet, in this case, the Government did not establish that the alleged incident

      occurred on the high seas.-Here the Government's inconsistent reports do not allege

      that the cocaine/vessel was anywhere near 200 nautical miles from Guatemala.




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          The fact that the district court's assertion as to the jurisdictional aspect

     of this case as to where the vessel's location was at, were all unverified. Require

     that those factual allegations be ignored in this case. The Government however,
                                                                                       ,-
     relied exclusively on unsuporrted records to support their reason for jurisdiction

     to hear Mr. Lopez's case as to Lopez's· vessel   being anywhere near 200 nautical

     miles from Guatemala. This conduct indeed caused Mr. Lopez to be prejudice as to

     the allege offense that occurred in the territorial waters of Guatemala.

     Questions

          Petitioner   Lopez contends that this case in its scenario was true but all

     the events that occurred was really panga vessel#2 that got away from the coast

     guard on November 5, 2013. So it was logic for the coast guard to place the events

     on Lopez and his crew members. Within Officer Lisay     report, he allegedly said

     that he questioned panga vessel#2 Clara Luz, and that it had a 5 man crew on it.

     See exhibit "E"of highlighted portion.

                                               B.

     IONSCAN:SWIPE

          Also in this matter, the coast guard relied heavly on the Ionscan Swipes at

     tpe 11~~ hour after realizing that they were unsuccessful with their search of

     panga vessel#! Cristiano Ronaldo; in which the search was to no avail because no

     drugs were found on the vessel and no recording was submitted to verify that Mr.

     Lopez and his crew jettison any alleged packages off of their vessel that they

     were occupying. It was immature for the coast guard to make a pure factual determination

     that Lopez was engaging in criminal activity with panga vessel#2 because their

     report   did    indicate that they found drugs on Lopez vessel.

          The coast guard used the Ionscan Swipes to link Lopez to the cons pi.racy.
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      We must keep in mind that the vessel Lopez and his crew was occupying was indeed

      a boat rental. So any and anybody could have had drugs on the vessel prior to

      Lopez renting the boat for fishing purpose. So therefore, any trace of cocaine that

      was detected could have came from any other person who rented the boat prior to

      Lopez; see exhibit"G" of Ionscan Recording Sheet, and Report of Investigation.

            In an abundance of caution, Mr. Lopez asserts that he was still in Guatemala

      waters when apprehended by coast guards. Petitioner Lopez contends that the coast
       '
      uard's use of false statement, omissions of material fact, and bad faith to actually

      gain jurisdiction was by way of manufacturing jurisdiction. Because there was no

      drugs found on the vessle that Petitioner Lopez was occupying at the moment of the

      coast guard's approach. The government failed to prove that the vessel Lopez was

      on   was subjected to the jurisdiction of the United States, and that he possessed

      or conspired to posses a controlled substance, and/or in the United States water.

            At bar, to the contrary, the coast guard failed to provide proof of contact

      to the Guatemala authorities as to the registration of the vessel, and the drugs as

      well that they found. This contact was never presented in record evidence form by

      radio, telephone, or similar oral, or electronic means as well. The coast guard

      knew that if they would have contacted the Guatemala authorities and would have

      notified them that they were 98 miles from their shorelines. The Guatemala

      authorities would have gotten involved, and this circumstance would have became

      a jurisdictional issue as to who water the crime occurred in.

      COAST GUARD'S PROOF OF CONTACT WITH GUATEMALA

            Here the coast guard alleged that they contacted Guatemala authorities to

      verify the registry of the vessel that Lopez was occupying. In this particular

      matter there was no proof submitted on the record of such contact. There were no




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     recording, telephone records, or electronic .means to show proof of that contact.

     There was no proof in this particular matter as to any contact with Guatemala

     authorities.

          In this matter, Officer Ligsay's report as to the position of each vessel

     clearly show that the drugs they found that was jetssoned off of the boat clearly

     points to Vessel Clara Luz; coast guard's position 12-37N,091-51W. ·So--·when Clara

     Luz have gotten away from the coast guard. Then the coast guard apprehended Vessel

     Cristiano Ronaldo and placed the drugs on Lopez and his crew members. See exhibit

     "D" page 36 and "E" not one bale but several bales of drugs.

          We must not forget that vessel U2 Clara Luz fled the scene successfully and

     was never questioned by the coast guard. See exhibit "D':' page 49-50 cif the United

     State Coast Guard Justin Brown. This indeed contradicted Officer Ligsay's

     statement as to questioning Vessel Clara Luz. The coast guard's use of false

     statements and false impression of material evidence gave them jurisdiction over

     the vessel Lopez was occupying. Here there are multiple inconsistencies with each

     coast guard's report as to the questioning of Vessel Clara·Luz etc ..

          In a abundance of caution, this Court should take a hard look at exhibit "F"

     page 31. The report clearly states that Lopez's vessel was in Guatemala waters at

     the beginning and end of the incident.

         Mr. Lopez contends that his circumstance shou~d be considered under the

     Attorney General Department Policy doctrine, Catch All Provision, and the

     Proposed Amendment as well.




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              MR. LOPEZ'S COMPASSIONATE RELEASE MOTION SHOULD BE CONSIDERED UNDER THE
              DEPARTMENT POLICIES REGARDING CHARGING, AND SENTENCING IN DRUG CASES BY
              THE BOP AND THE DISTRICT COURT.

      Third Point of Error:
           In a abundance of caution, This Court should consider this relevant matter for

       reasons of that this policy applies with particular force in drug cases brought

       under Title 21 of the United States Code, where mandatory minimum sentences based on

       drug type quantity have resulted in disproportionately severe sentences for certain

       defendants and perceived and actual racial disparities in the criminal justice system.

           This matter should be consider under the relevant doctrine of extraordinary and

       compelling reasons other than, or in combination with reasons discribed in sections

       A through C. Here the BOP and the district court should consider this relevant matter

       for reasons of:

       1) That Mr. Lopez's conduct does not involve the use of violence, the credible

       threat of violence, the possession of a weapon, the trafficking of drugs to or with

       minor, or the death or serious bodily injury to any person;

       2) That Mr. Lopez is not an organizer, leader, manager or supervisor of others

       within a criminal organization;

       3) That Mr. Lopez does not have significant ties to large-scale drug trafficking

       organizations, gangs, or cartel; and

       4) That Mr. Lopez does not have a significant criminal history at all.

           In short, Mr. Lopez asserts that his sole purpose of this argument is not attended

       to remove the BOP's exclisive authority over filing section 3582(c)(l)(A) motions.

       Based on the relvelations, Mr. Lopez requests the BOP input on what reasons not

       expressly listed in lBl.13 can be considered extraordinary and compelling in his

       instant matter. In other words, Lopez request the BOP to use its discretionary




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      powers to determine if any of the relevant circumstances Mr. Lopez put before the

      BOP, and the district court for judical review has the potential to be considered

      extraordinary and compelling with reasons other than, or in combination with the

      reasons discribed in subsection (A) through (C).

           While the Bureau of Prisons (BOP) is still given the first opportunity to

      decide a compassionate release motion, and may still bring a motion on a defendant's

      behalf, under Congress' mandate a defendant now has recourse if BOP either declines to

      support of fails to act on that defendant's motion. As the First Step Act of 2018,

      Pub. L. 115-391, 132 Stat. 5194, states, a defendant may go to court after the

      defendant has fully exhausted all administrative rights to appeal a failure of the

      Bureau of Prisons to bring a motion on the defendant's behalf or the laspe of 30

      days from receipt of such a request by the Warden of the defendant's facility.

      Whichever is earlier, 18 U.S.C. § 3582(c)(l)(A).

      Mr. Lopez asserts that 994(t) is relevant in this matter; "The Commission; in

      promulgating general policy statement regarding the sentencing modification provisions

      in section 3582(c)(l)(A) of Title 18, shall describe what should be considered

      extraordinary and compelling reasons for sentence reduction; including the criteria

      to be applied and a list of specific examples. Rehabilitation of the defendant alone

      shall not be considere an extraordinary and compelling reason.

           Based on the revelations, Mr. Lopez contends that his rehabilitaion, medical

      conditions, and sentence disparity, jurisdictional matter, and bad faith on the

      Government indeed is ripe for judicial review by the BOP and the district court

      and that such a showing has been made by Mr. Lopez.

           Also in this matter, 28 U.S.C. § 994(a)(2)(c) is also relevant in this matter

      as well; (a) The commission by affirmative vote of at least four members of



                                               (18)
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        the Commission, and pursuant to its rules and regulations and consistent.with all

        pertinent provisions of any Federal Statute shall promulgate and distribute to all

        courts of the United States and to the United states Probation System--- (2) general

        policy statements regarding application of the guidelines or any other aspect of

        sentencing or sentence implementation that in the view of the Commission would

        further the purpose· set forth in section 3553(a)(2) of title 18, United States Code,

        including the appropriate use of---- (c) the sentence modification provision set

        forth in sections 3563(c), 3564, 3573, and 3582(c) of title 18.



    CATCH-ALL PROVISION ALLOWING FOR OTHER UNIDENTIFIED EXTRAORDINARY AND COMP-ELLING -REAS0NS
        1
    '   [-A] S ·DETERMINED BY THE DIRECTOR OF THE BUREAU OF PRISONS."

            Mr. Lopez request that the Warden, and Bureau of Prisons consider his

   compassionate release under the doctrine of 28 U.S.C. § 994(t) when considering if

   Mr. Lopez'showed and meet the BOP's requirements as to extraordinary and compelling

   reasons. In other words, base its findings as to the 2007 guideline admendment also

   introduced what.has come to be known as the catch-all clause: compassionate release

   is warranted if, "[a]s determined by the Director of the Bureau of Prisons, there

   exists in the defendant's case an extraordinary and compelling reason other than, or

   in combination with, the reasons described in [the other parts of the guidelines].

            Mr. Lopez humbly request that the Warden or the BOP involke the catch-all

   provision allowing for other unidentified extrordinary and compelling reasons

   "(a]s determined by the Director of the Bureau of Prisons.

   PROPOSED AMENDMENT TO U.S.S.G. lBl.13-REDUCTION IN TERM OF IMPRISONMENT UNDER 18 U.S.C.
   § 3582 ( C) (1 )(A).




                                                  (19)
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      Synopis: The proposed amendment would revise the list of "extraordinary and

      compelling reasons" in lBl.13 in several ways:

           First, the proposed amemdment would move the list of extraordinary and

      compelling reasons from the Commentary to the guideline itself as a new subsection(b).

      The new subsection (b) would set forth the same three categories of extraordinary

      and compelling reasons currently found in Application Note l(A) through (C) (with

      the revision described below), add two new categories, and revise the "Other Reasons"

      category currently found in application Note l(D). New subsection (b) would also

      provide that extralordinary and compelling reasons exist under any of the circumstances,

     or a combination thereof, described in such categories.

      Second, the proposed amendment would add two new subcategories to the "Medical

     Condition of the Defendant" category at new subsection (b)(l). The first new

     subcategory is for a defendant suffering from a medical condition that requires

      that requires long-term or specialized medical care, without which the defendant is

     at risk of serious deterioration in health or death, that is not being provided in

     a timely or adequate manner. The other new subcategory is for a defendant who presents

      the following circumstances: (1) the defendant is housed at a correctional facility

     affected or at risk of being affected by an ongoing outbreak of infectious disease

     or an ongoing public health emergency declared by the appropriate governmental

     authority; (2) the defendant is at increased risk of suffering sever medical

     complications or death as a result of exposure to the ongoing outbreak of

     infectious disease or ongoing public health emergency; and (3) such risk cannot be

     mitigated in a timely or adequate manner.

          Third: the proposed amendment would modify the "Family Circumstances"

     category at new subsection (b)(3) in three ways. First, the proposed amendment



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       would revise the current subcategory relating to the death or incapacitation of

       the caregiver of a defendant's minor child by making it also applicable to a

       defendant's child who is 18 years of age or older and incapable of self care

       because of a mental or physical disability or a medical condition. Second, the

       proposed amendment would add a new subcategory to the "Family Circumstances"

       category for cases where a defendant's parent is incapacitated and the defendant

       would be the only available caregiver for the parent. Third, the proposed amendment

       brackets the possibility of adding a more general subcategory applicable if the

       defendant presents circumstances similar to those listed in the other subcategories

       of "Family Circumstance" involving any other immediate family member or an individual

       whose relationship with the defendant is similar in kind to that of an immediate

       family member.

            Fourth: the proposed amendment brackets the possibility of adding two new

       categorjes: (1) Victim of Assault ("The defendant was a victim of sexual assualt

       or physical abuse resulting in serious bodily injury committed by a correctional ·"'

       officer or other employee or contractor of the Bureau of Prisons while in custody.").;

       and (2) Changes in Law ("The defendant is serving a sentence that is inequitable

       in light of changes in the law."),

            Fifth: the proposed amendment would revise the provision currently found in

       Application Note l(D) of lBl.13. Three options are provided. All three options

       would redesignate this category as "Other Circumstances" and expand the scope of

       the category to apply to all motions filed under 18 U.S.C. 3582(c)(l)(A), regardless

       of whether such motion is filed by the Director of the BOP or the defendant.

       Option 1 would provide that this category of extraordinary and compelling reasons

       applies in cases where a defendant presents any other circumstance or a combination



                                                 (21)
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      of circumstances similar in nature and consequence to any of the circumstances

      described in new subsection (b)(l) through [(3)][(4)][(5)] of lBl.13. Option 2

     would provide that this category applies if, as a result of changes in the

      defendant's circumstances [or intervening events that occurred after the defendant's

      sentence was imposed], it would_be inequitable to c6ntinue the defendant's

      imprisonment or require the defendant to serve the full length of the sentence.

     Option 3 would track the language in current Application Note l(D) of lBl.13 and

      apply if the defendant presents an extraordinary and compelling reasons other than,

     or in combination·with, the circumstances described in paragraphs (1) through [(3)]

      [(4)][(5)].

           Fina~ly, the proposed amendment would move current Application Note 3

      (stating that, pursuant to 28 U.S.C. 994(t), rehabilitation of a defendant is not

     by itself, an extraordinary and compelling reason for purposes of lBl.13) into

      the guideline as a new subsection (c). In addition, as conforming changes, the

     proposed amendment would delete application notes 2 (concerning the foreseeability

     of extraordinary and compelling reasons), 4 (concerning a motion by the Director

     of the Bureau of Prisons), and 5 (concerning application of subdivision 3),

     and make a minor technical change to the Backgroung commentary.

          Mr. Lopez asserts that the BOP, and district court should consider the above

     amendments that will be soon ripe for judicaial review.




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                                              RELEVANT RELEASE PLAN

               Mr. Lopez contends that granting him compassionate release at this juncture

           would reflect the seriousness of his alleged crime, promote respect for the law,

           provide just punishment for the offenses and afford general or specific deterrence

           for similar offenses. Mr. Lopez also asserts that he is not a danger to the

           american community or the community in Guatemala"as well.

                Based on the revelations, Lopez's release plan to a remote area of

           Guatemala should be sufficient to mitigate the danger the he would fall back into

           any criminal conduct on America's soil ever again.

                                               PLACE OF RESIDENCE

                Mr. Lopez will be residing by his mother's house only when ever he is released

           from prison. Lopez will help his mother with the bills that she is now struggling

           with, and help his mother take care of his little brother who legs were ampetated

           because of sugar diabetes. "I" .

                                              OCCUPATION OF TIME

               While in the process of staying with his mother. Lopez will be working at

           the port of Guatemala. Lopez will be loading all kind of fish for the port. This

           is a very hard job that consist of loading heavy boxes of fish thats packed into

           ice. This is a twelve (12) hour a day job. When Lopez do make it home, he wil1

           still have to attend to his little brother to a degree. So there will be nothing

           left for Mr. Lopez to do but shower and sleep. There will be no time for idle

           time in release plan.

                                                SUPPORT FOR SELF

               Mr. Lopez contends that he will work for the Port of Guatemala to support

           hisself and his mother and brother. While he's working for the port, he will save



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          his money so he can purchase his own fishing boat. This process will take a

          couple of years to accomplish .

                                       • AVOID FUTURE CRIMINALITY

               Based on the revelations, Mr. Lopez do not have a criminal history in

          Guatemala. Mr. Lopez is a bonafied fisherman who was on the wrong boat at the

          wrong time. So the ·time it will take Lopez to save the money to buy his own boat

          will have hime very busy.

               So when Mr. Lopez purchase his own boat, he will be in total control because

          he will be the captain of the boat. That means he will be in controll of what come

          in and out of his boat. Lopez will be fishing for Squid Fish when ever he purchase

          his own boat. The Squid Fish is a delicacy meat in Guatemala. This particular fish

          catching will have lopez financially above water because in Guatemala, that particular

          fish pays well. Also Lopez will make sure he is not in america's water, 200 nautical

          miles in Guatemala waters only. This will help him avoid any contact with America's

          law enforcements. This will help Lopez provide a better living for him and his

          family. Mr. Lopez contends that his release plan will consist of being in Guatemala

          only, and he will never enter America's water ever again.




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                                         RELEVANT CONCLUSION

             WHEREFORE, PREMISES CONSIDERED, Based on the revelations, and these relevant

     issues alone, a remand in this case for recalculation for a guideline sentence in

     accordance with the relevant Memorandum from the Attorney General, Proposed

     Amendment to U.S.S.G. lBl.13, and all relevant extraordinary circumstances Mr.

     Lopez presented to the Director of the FBOP, and the district court for judicial

     review, should warrant a reduction in his sentence or immediate release back to

     Guatemala because he is not a danger to the community in America, or Gautemala.

             Mr. Lopez contends that despite the severity of his sentence, a reduction will

     not short-change the Government. Lopez asserts that his sentence is longer than

     necessary to achieve the goals of sentencing that is explained in 18 U.S.C.    §

     3582.




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              ..,   .....
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                                                                                  CERTIFICATE OF SERVICE

                                                  I, J~se Luis Aguilar Lopez, et al., (Petitioner), do hereby certify under

                                             the penalty of perjury, 28 U.S.C.       §   1746, that I served a true and correct copy

                                             of the foregoing document(s): RELEVANT MOTION FOR REDUCTION OF SENTENCE PURSUANT

                                             TO 18 U.S.C.     §   3582(c) (1) (A) (i); COMPASSIONATE RELEASE, AND FIRST STEP ACT.

                                                  Which pursuant to Houston v. Lack, 487 U.S. 266, 101 L. Ed 2d 108 Ct. 2379

                                             (1988), is deemed filed at the time it was hand delivered to prison authorities

                                             for forwarding to the court, and service upon parties to litigation, and/or their

                                             attorney(s) of record.

                                                  I have placed the material reference above in a properly sealed envelope

                                             with first-class postage (stamps) affixed, and I addressed it to: Wilkie D.

                                             Ferguson, Jr. United States Courthouse, 400 North Miami Ave, Room 8, Miami

                                             Florida 33128, and deposited the said envelope via hand delivered to mail room

                                             staff at the Federal Correctional Institution Medium Pollock on this November          L
                                             day of 20.BJ_.



                                                                        By /s/.:&se li)6       tlW!LA!< tJJ,f~Z- .
                                                                              Jose Luis Aguilar Lopez, (Petitioner)
                                                                              F.C.I. Pollock Medium
                                                                              P.O. Box 4050
                                                                              Pollock, La. 71467

                                                                              PRO SE REPRESENTATION



 \.J




       ,,,.    ____ _
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                /




                         EXHIBIT

                                      A
                                  LOPEZ'S MEDICAL RECORDS




                                                                                           .. __. __
                                                                                         ,_ _.




                                                               ;'c">. ...:.:... --_;;.
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                                                 Bureau of Prisons
                                                  Health Services
                                      Clinical Encounter - Administrative Note
Inmate Name:        AGUILAR LOPEZ, JOSE LUIS                                                Reg#:       02007-104
Date of Birth:      06/25/1972                       Sex:·     M    Race:WHITE              Facility:   POM
Note Date:          02/22/2022 13:43                 Provider: Smith, J NP                  Unit:       E04


Review Note - Consultation Report Review encounter performed at Health Services.
Administrative Notes:
      ADMINISTRATIVE NOTE 1                     Provider: Smith, J NP
          Optometry Evaluation 2/15/22


New Laboratory Requests:
    Details                                              Frequency                Due Date              Priority
    Lab Tests - Short List-General-CBC                   One Time                 03/22/2022 00:00      Routine
    Lab Tests - Short List-General-Lipid Profile
    Lab Tests - Short List-General-Comprehensive
    Metabolic Profile (CMP)
        Labs requested to be reviewed by:              Markey, J. MD
Schedule:
     Activity                                            ·Date Scheduled       Scheduled Provider
     Optometry Exam                                      02/22/2024 00:00 Optometrist
          Optometry Recommendations 2/15/22

          1. RX. FOR SPECS... STRESS COMPL. C/ WEAR VS. BCVA AND PROTECTION OF VA.
          2. STRESS WELLNESS PRACTICES AND COMPL. C/ TX./ MEDICAL REGIMENS VS. RISK OF LOV 2ND TO
          SYSTEMIC DZ.
          3. SCHEDULE OPTOMETRY EXAM FOR GEE IN 2 YRS. AS SCHEDULED BY HIT STAFF.
          4. K-ARCUS ... REC. CHOLESTEROL CHK AND MGMT. ACCORDINGLY C/ DIET AND EXERCISE
          COUNSELING
          DISCUSSED C/ PT. TODAY.
Copay Required: No                          Cosign Required: No
TelephoneNerbal Order:           No
Completed by Smith, J NP on 02/22/2022 13:44




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                                                    Bureau of Prisons
                                                     Health Services·
                                                    Clinical Encounter
Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                        Reg#: 02007-104
Date of Birth: 06/25/1972                              Sex:      M    Race: WHITE            Facility: POM
Encounter Date: 02/15/2022 12:21                       Provider: Barry, Timothy OD           Unit:     E04

Optometry - Optometry Exam encounter performed at Health Services.
SUBJECTIVE:
     COMPLAINT 1                  Provider: Barry, Timothy OD
        Chief Complaint: EyesNision Problems
        Subjective:   49 Y.O.H .. M. DENIES DIA/ HTN/ GLA PRESENTS FOR REFR. EXAM C/ BLURRED VAX
                      YRS.
        Pain:         No

Vision ~creen on 02/15/2022 12:22
   Blindness:
   Distance Vision:       Right Eye: 20/100                   Left Eye: 20/100               Both Eyes:
   Near Vision:           Right_ Eye:                         Left Eye:                      Both Eyes:
   With Corrective Lenses
   Distance Vision:       Right Eye: 20/20                    Left Eye: 20/20                Both Eyes:
   Near Vision:           Right Eye:                          Left Eye:                      Both Eyes: 20/20
   Present Glasses - Distance                                    Refraction - Distance
        Sphere         Cylinder      Axis        Add                   Sphere     Cylinder   Axis         Add
   R:                                                             R:   +2.75      -0.25      80           +1.5
   L:                                                            L:    +3.00      -0.50      85           +1.5
   Color Test:
   Tonometry:       L: 12               R: 12
   Comments: TAAT: 12:24 PM



OBJECTIVE:

 Exam Comments
    EOM: F AND S/ VF: FTFC / P ERRLA
    SLE: ARCUS / PING. N /TI N.S. CAT OU
    DFE: RETINAL TISSUES CLEAR AND STABLE OD AND OS
    C/D: .11:1 OD AND OS S/ HEMES, EDEMA NOR OTHER SIGNS OF RETINOPATHY NOTED OU.
ASSESSMENT:

Astigmatism, H52209 - Current
Corneal degeneration, unspecified, H1840 - Current - K ARGUS.
Hypermetropia, H5200 - Current
Presbyopia, H524 - Current

PLAN:

Disposition:
    Return Immediately if Condition Worsens

Generated 02/15/202212:28 by Barry, Timothy OD          Bureau of Prisons - POM                                  Page 1 of 2
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• inmate Name: AGUILAR LOPEZ, JOSE LUIS                                              Reg#: 02007-104
  Gate of Birth: 06/25/1972                            Sex:      M    Race: WHITE    Facility: POM
  Encounter Date: 02/15/2022 12:21                     Provider: Barry, Timothy OD   Unit:     E04

     Return To Sick Call if Not Improved

Other:
     1. RX. FOR SPECS ... STRESS COM PL. C/ WEAR VS. BCVA AND PROTECTION OF VA.
     2. STRESS WELLNESS PRACTICES AND COMPL. C/ TX. / MEDICAL REGIMENS VS. RISK OF LOV 2ND TO
     SYSTEMIC DZ.
     3. SCHEDULE OPTOMETRY EXAM FOR GEE IN 2 YRS. AS SCHEDULED BY HIT STAFF.
     4. K-ARCUS ... REC. CHOLESTEROL CHK AND MGMT.ACCORDINGLY Cl DIET AND EXERCISE COUNSELING
     DISCUSSED C/ PT. TODAY.

Patient Education Topics:
     Date Initiated Format                          Handout/Topic                    Provider            Outcome
     02/15/2022     Counseling                      Access to Care                   Barry, Timothy      Verbalizes
                                                                                                         Understanding
Spec Rx: Completed on            02/15/2022 12:27
    Sphere Right: +2.75
     Sphere Left: +3.00
     Cylinder Right: -0.25
     Cylinder Left: -0.50
     Axis Right: 80
     Axis Left: 85
     Bifocal Power Right:        1.50
     Bifocal Power Left: 1.50
     Segment Height Right: 12
     Segment Height Left: 12
     Segment Width: 28
     Pupillary Width Distance Right: 30
     Pupillary Width Distance Left: 30
     Pupillary Width Near Right: 29
     Pupillary Width Near Left: 29
     Frame Material: Polycarbonate
     Straight Top: X
           28: X
     Frame Style: NCT1
     Frame Color: BLK
     Eye Size: 51
     Bridge Size: 17
     Temple Length and Style: 140

Copay Required: No                           Cosign Required: No
TelephoneNerbal Order:           No
Completed by Barry, Timothy OD on 02/15/2022 12:28
Requested to be reviewed by Smith, J NP.
Review documentation will be displayed on the following page.




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                                         Bureau of Prisons
                                          Health Services
                                          Cosign/Review
Inmate Name:    AGUILAR LOPEZ, JOSE LUIS                                      Reg#:       02007-104
Date of Birth:  06/25/1972                   Sex:         M                   Race:       WHITE
Encounter Date: 02/15/2022 12:21             Provider:    Barry, Timothy OD   Facility:   POM

Reviewed with New Encounter Note by Smith, J NP on 02/22/2022 13:43.




                                            Bureau of Prisons - POM
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                                                 Bureau of Prisons
                                                  Health Services
                                      Clinical Encounter - Administrative Note
Inmate Name:        AGUILAR LOPEZ, JOSE LUIS                                                Reg#:       02007-104
Date of Birth:      06/25/1972                         Sex:      M    Race:WHITE            Facility:   POM
Note Date:          01/24/2022 14:06                   Provider: Smith, J NP                Unit:       E04


Admin Note - Orders encounter performed at Health Services.
Administrative Notes:
       ADMINISTRATIVE NOTE 1                Provider: Smith, J NP
          . Inmate tested COVID (+) 1/11/22

              Recommended Isolation period completed. Available symptoms screens reviewed. Final COVID Symptom
              Screen obtained 1/21/22 per Duty RN, inmate denies symptoms.

              RECOMMEND D/C Isolation.

Temperature:
     Date              Time            Fahrenheit   Celsius Location            Provider
     01/21/2022        13:45 POX             96.0      35.6 Forehead            Rhodes, Jo Anne RN

ASSESSMENTS:
Confirmed case COVID-19, U07.1 - Resolved
Personal history of COVI D-19, Z8616 - Current

Copay Required: No                          Cosign Required: No
TelephoneNerbal Order:           No
Completed by Smith, J NP on 01/24/2022 14:08




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                                                Bureau of Prisons
                                                 Health Services
                                     Clinical Encounter - Administrative Note
Inmate Name:        AGUILAR LOPEZ, JOSE LUIS                                               Reg#:       02007-104
Date of Birth:      06/25/1972                      Sex:      M     Race:WHITE             Facility:   POM
Note Date:          01/11/2022 13:28                Provider:  Smith, J NP                 Unit:       E04


Review Note - Report Review encounter performed at Health Services.
Administrative Notes:
      ADMINISTRATIVE NOTE             1        Provider: Smith, J NP
             COVID-19 AG point of care testing completed on AGUILAR LOPEZ, JOSE LUIS, register number 02007-104
             at 01/11/2022 10:50 COVID-19 AG: Positive


ASSESSMENTS:
Confirmed case COVID-19, U07.1 - Current
Schedule:
     Activity                                           Date Scheduled        Scheduled Provider
     Screenings                                         01/11/2022 00:00 Nurse 09
        •COVID symptoms screen with temp check.
     Screenings                                         01/12/2022 00:00 Nurse 09
          COVJD symptoms screen with temp check.
     Screenings                                         01/13/2022 00:00 Nurse 09
         COVID symptoms screen with temp check.
     Screenings                                         01/14/2022 00:00 Nurse 09
         COVID symptoms screen with temp check.
     Screenings                                         01/15/2022 00:00 Nurse 09
          COVID symptoms screen with temp check.
     Screenings                                         01/16/2022 00:00 Nurse 09
         COVID symptoms screen with temp check.
     Screenings                                         01/17/2022 00:00 Nurse 09
         COVID symptoms screen with temp check.
     Screenings                                         01/18/2022 00:00 Nurse 09
          COVID symptoms screen with temp check.
     Screenings                                         01/19/2022 00:00 Nurse 09
         COVID symptoms screen with temp check.
     Screenings                                         01/20/2022 00:00 Nurse 09
         COVID symptoms screen with temp check.
     Screenings                                         01/21/2022 00:00 Nurse 09
        COVID symptoms screen with temp check.
Disposition:
     Placed In Isolation


_Copay Required: No                        Cosign Required: No
TelephoneNerbal Order:          No
Completed by Smith, J NP on 01/11/2022 13:29

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                                               Bureau of Prisons
                                                Health Services
                                    Clinical Encounter - Administrative Note
Inmate Name:        AGUILAR LOPEZ, JOSE LUIS                                            Reg#:       02007-104
Date of Birth:      06/25/1972                         Sex:      M    Race:WHITE        Facility:   POM
Note Date:          01/11/2022 11 :02                  Provider: Johnson, Jessica ROH   Unit:       E04


POC Note - Default encounter performed at Housing Unit.
Administrative Notes:
       ADMINISTRATIVE NOTE 1               Provider: Johnson, Jessica ROH
           COVID-19 AG point of care testing completed on AGUILAR LOPEZ, JOSE LUIS, register number 02007-104
           at 01/11/2022 10:50
           COVID-19 AG: Positive
           Reference Range: Negative
           Critical Result: Positive
           Asymptomatic
           Comments: E-4 EXPOSURE



Copay Required: No                            Cosign Required: No
TelephoneNerbal Order:           No
Completed by Johnson, Jessica ROH on 01/11/2022 11 :03
Requested to be reviewed by Smith, J NP.
Review documentation will be displayed on the following page.




                                                                                 r




Generated 01/11/2022 11 :03 by Johnson, Jessica ROH    Bureau of Prisons - POM                          Page 1 of 1
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                                         Bureau of Prisons
                                          Health Services
                                          Cosign/Review
Inmate Name:    AGUILAR LOPEZ, JOSE LUIS                                         Reg#:       02007-104
Date of Birth:  06/25/1972                   Sex:         M                      Race:       WHITE
Encounter Date: 01/11/2022 11 :02            Provider:    Johnson, Jessica ROH   Facility:   POM

Reviewed with New Encounter Note by Smith, J NP on 01/11/2022 13:28.




                                            Bureau of Prisons - POM
     ,.,,
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                                                   Bureau of Prisons
                                                    Health Services
                                                   Clinical Encounter
Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                        Reg #: 02007-104
Date of Birth: 06/25/1972                            Sex:      M   Race:· WHITE              Facility: POM
Encounter Date: 12/26/2021 16:02                     Provider: Markey, J. MD                 Unit:     E04


Chronic Care - Chronic Care Clinic encounter performed at Housing Unit.
SUBJECTIVE:
     COMPLAINT 1                 Provider: Markey, J. MD
       Chief Complaint: Chronic Care Clinic
       Subjective:   Pt with history of resolved h pylori infection, resolved dequervains tenosynovitis. States he is
                     no longer having abdominal pain or wrist pain. Wants the covid booster. Refused vitals.
       Pain:         Not Applicable
Seen for clinic(s): Gastrointestinal, Orthopedic/Rheumatology
Removed from clinic(s): Gastrointestinal, Orthopedic/Rheumatology


OBJECTIVE:

 ROS Comments
   CONSTITUTIONAL: No weight loss, fever, chills, weakness or fatigue.
   HEENT: Eyes: No visual loss, blurred vision, double vision or yellow sclerae.
   ENT: No hearing loss, sneezing, congestion, runny nose or sore throat.
   SKIN: No rash or itching.
   CARDIOVASCULAR: No chest pain, chest pressure or chest discomfort. No palpitations or edema.
   RESPIRATORY: No shortness of breath, cough or sputum.
   GASTROINTESTINAL: No anorexia, nausea, vomiting or diarrhea. No abdominal pain or blood.
   GENITOURINARY: No Burning on urination.
   NEUROLOGICAL: No headache, dizziness, syncope, paralysis, ataxia, numbness or tingling in the extremities. No
   change in bowel or bladder .control.
   MUSCULOSKELETAL: No muscle or back pain, joint pain or stiffness.
   HEMATOLOGIC: No anemia, bleeding or bruising.
   ENDOCRINOLOGIC: No reports of sweating, cold or heat intolerance. No polyuria or polydipsia.
   ALLERGIES: No history of hives, eczema or rhinitis.
 Exam Comments
    PATIENT MOX3, NO ACUTE DISTRESS.
    HEAD: NORMOCEPHALIC, ATRAUMATIC.
    EYES: PERRLA, EOMI.
    ENT: INTACTED TYMPANIC MEMBRANE BILATERALLY, NO BULGING OR EFFUSION.
    PATENT NARES, NO CONGESTION OR DISCHARGED NOTED.
    NECK: MIDLINE TRACHEA, FULL ROM, NO JVD, NO LYMPHADENOPATHY, NO THYROMEGALY, NO CAROTID
    MURMURS OR BRUITS.
    SKIN: NO RASH.
    CARDIO: RRR, S1S2, NO MURMURS, RUBS, OR GALLOPS.
    PULM: CTAB, NO CRACKLES, RONCHI OR WHEEZING.
    ABO: SOFT, NT, ND, BS+, NO RIGIDITY, NO GUARDING.
    UPPER EXT: FULL ROM, PALPABLE PULSES.
    LOWER EXT:FULL ROM, PALPABLE PULSES. NO PITTING EDEMA BILAT.
    NEURO: CN 2-12 GROSSLY INTACT, NO MOTOR DEFICIT, NO GAIT ABNORMALITIES.
ASSESSMENT:

Helicobacter pylori [H. pylori] as the cause of diseases classified elsewhere, B9681 - Resolved

Generated 12/27/2021 16:06 by Markey, J. MD           Bureau of Prisons - POM                                     Page 1 of 2
     ....
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>        -
 Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                         Reg#: 02007-104
 Date of Birth: 06/25/1972                             Sex:      M   Race: WHITE               Facility: POM
 Encounter Date: 12/26/2021 16:02                      Provider: Markey, J. MD                 Unit:     E04

PLAN:

Schedule:
     Activity                                             Date Scheduled          Scheduled Provider
     COVID-19 Pfizer-BioNTech Vaccine                 12/27/2021 00:00 Admin 01
        wants booster, got 1st dose Pfizer 4/13/2021 and 2nd dose Pfizer 5/4/2021
Disposition:
     Follow-up at Sick Call as Needed

Patient Education Topics:
     Date Initiated Format                          Handoutrropic                              Provider            Outcome
     12/27/2021     Counseling                      Access to Care                             Markey, J.          Verbalizes
                                                                                                                   Understanding

Copay Required: No                            Cosign Required: No
TelephoneNerbal Order:           No
Completed by Markey, J. MD on 12/27/2021 16:06




Generated 12/27/2021 16:06 by Markey, J. MD             Bureau of Prisons - POM                                  Page 2 of 2
        -,.
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:i
                                                    Bureau of Prisons
                                                     Health Services
                                         Clinical Encounter - Administrative Note
     Inmate Name:        AGUILAR LOPEZ, JOSE LUIS                                                 Reg#:       02007-104
     Date of Birth:      06/25/1972                           Sex:        M     Race:WHITE        Facility:   POM
     Note Date:          12/15/2021 13:31                     Provider:    Lyons, T. FNP-C        Unit:       E04


     Admin Note - Orders encounter performed at Health Services.
     Administrative Notes:
           ADMINISTRATIVE NOTE              1            Provider: Lyons, T. FNP-C
                  Send out PCR COVID order


     New Laboratory Requests:
          Details                                                Frequency              Due Date              Priority
          Lab Tests-C-COVID-19 Novel Coronavirus                 One Time               12/20/2021 00:00      Routine
              Labs requested to be reviewed by:                 Markey, J. MD
     Copay Required: No                              Cosign Required: No
     TelephoneNerbal Order:          No
     Completed by Lyons, T. FNP-C on 12/15/2021 13:32




     Generated 12/15/2021 13:32 by Lyons, T. FNP-C            Bureau of Prisons - POL                              Page 1 of 1
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                                                      Bureau of Prisons
                                                       Health Services
                                                          Vitals All
Begin Date: 10/04/2021                                       End Date:    10/04/2022
Reg#:       02007-104                                        Inmate Name: AGUILAR LOPEZ, JOSE LUIS

Temperature:
     Date                              Fahrenheit     Celsius Location                Provider
     06/24/2022        14:01 POX               98.6          37.0                     Flowers, Joe DDS
                Orig Entered: 06/24/2022 15:03 EST Flowers, Joe DDS
     06/24/2022        13:53 POX               97.4          36.3                     Flowers, Joe DDS
                Orig Entered: 06/24/2022 14:54 EST Flowers, Joe DDS
     01/21/2022       13:45 POX                96.0         35.6 Forehead             Rhodes, Jo Anne RN
                Orig Entered: 01/21/2022 14:46 EST Rhodes, Jo Anne RN
    •01/20/2022       11 :48 POX               96.0         35.6 Forehead             Rhodes, Jo Anne RN
                Orig Entered: 01/20/2022 12:49 EST Rhodes, Jo Anne RN
     01/19/2022       07:10 POX                97.0         36.1 Forehead             Rhodes, Jo Anne RN
                Orig Entered: 01/19/2022 08:12 EST Rhodes, Jo Anne RN
     01/18/2022       10:38 POX                96.0         35.6 Forehead             Rhodes, Jo Anne RN
               Orig Entered: 01/18/2022 11 :39 EST Rhodes, Jo Anne RN
     01/17/2022       08:41 POX                96.0         35.6 Forehead             Rhodes, Jo Anne RN
               Orig Entered: 01/17/2022 09:42 EST Rhodes, Jo Anne RN
     0.1/16/2022      10:31 POX               93.0          33.9 Forehead             Fruge, Jacinda RN
               Orig Entered: 01/16/2022 11 :32 EST Fruge, Jacinda RN
     01/15/2022       10:35 POX               96.0          35.6 Forehead             Rhodes, Jo Anne RN
               Orig Entered: 01/15/2022 11:54 EST Rhodes, Jo Anne RN
     01/14/2022       12:34 POX               96.0          35.6 Forehead             Rhodes, Jo Anne RN
               Orig Entered: 01/14/2022 13:35 EST Rhodes, Jo Anne RN
     01/13/2022       09:00 POX               97.4          36.3 Forehead            . Fruge, Jacinda RN
               Orig Entered: 01/13/2022 10:02 EST Fruge, Jacinda RN
     01/12/2022       15:29 POX               95.9          35.5                      Lyons, T. FNP-C
               Orig Entered: 01/12/2022 16:30 EST Lyons, T. FNP-C
     01/11/2022       17:20POX                98.1          36.7                      Parker,ChanceRN
               Orig Entered: 01/11/2022 18:21 EST Parker, Chance RN

Pulse:
     Date          Time              Rate Per Minute           Location              Rhythm      Provider
     06/24/2022 14:01 POX                             65                                         Flowers, Joe DDS
             Orig Entered: 06/24/2022 15:03 EST Flowers, Joe DDS
     06/24/2022 13:53 POX                   52                                                   Flowers, Joe DDS
              Orig Entered: 06/24/2022 14:54 EST Flowers, Joe DDS
     01/15/2022 10:35 POX                    58  Via Machine                                     Rhodes, Jo Anne RN
             Orig Entered: 01/15/2022 11 :54 EST Rhodes, Jo Anne RN
     01/14/2022 12:34 POX                    52  Via Machine                                     Rhodes, Jo Anne RN
             Orig Entered: 01/14/2022 13:35 EST Rhodes, Jo Anne RN
     01/12/2022 15:29 POX                   69                                                   Lyons, T. FNP-C
               Orig Entered: 01/12/2022 16:30 EST Lyons, T. FNP-C


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 Begin Date: 10/04/2021                                   End Date:    10/04/2022
 Reg#:       02007-104                                    Inmate Name: AGUILAR LOPEZ, JOSE LUIS

Respirations:
     Date                  Time               Rate Per Minute Provider
     01/15/2022            10:35 POX                         20 Rhodes, Jo Anne RN
             Orig Entered: 01/15/2022 11 :54 EST Rhodes, Jo Anne RN
     01/14/2022       12:34 POX                  20 Rhodes, Jo Anne RN
                Orig Entered: 01/14/2022 13:35 EST Rhodes, Jo Anne RN

Blood Pressure:
     Date          Time            Value       Location        Position         Cuff Size      Provider
     06/24/2022 14:01 POX          127/78                                                      Flowers, Joe DDS
              Orig Entered: 06/24/2022 15:03 EST Flowers, Joe DDS
     06/24/2022 13:53 POX 128/71                                                               Flowers, Joe DDS
                Orig Entered: 06/24/2022 14:54 EST Flowers, Joe DDS

SaO2:
     Date             Time             Value(%) Air                       Provider
     01/15/2022        10:35 POX               98 Room Air                Rhodes, Jo Anne RN
             Orig Entered: 01/15/2022 11 :54 EST Rhodes, Jo Anne RN
     01/14/2022    12:34 POX          99 Room Air            Rhodes, Jo Anne RN
              Orig Entered: 01/14/2022 13:35 EST Rhodes, Jo Anne RN
     01/12/2022     15:29 POX          98                    Lyons, T. FNP-C
                Orig Entered: 01/12/2022 16:30 EST Lyons, T. FNP-C




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                                                                        Bureau of Prisons
                                                                         Health Services
                                                                              PPDs
Reg#:    02007-104                                   Inmate Name: AGUILAR LOPEZ, JOSE,LUIS

Admin:                   Location                    Provider                         Reading:                 lnduration        Provider
11/27/2013     17:50     Left Forearm                Reynaldo, A. MLP                 11/29/2013 21 :43        21 mm             Varela, Ricardo RN
        Orig Entered:     11/27/201317:52 EST Reynaldo, A. MLP                           Orig Entered:   11/29/2013 21 :43 EST Varela, Ricardo RN
Total: 1




Gerierated 10/04/2022 10:28 by Nugent, Kim HIT/LPN                        Bureau of Prisons - POM                                                     Page 1 of 1
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.-
                                                        Federal Bureau of Prisons
                                                             SCREENINGS
     Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                          Reg#: 02007-104
     Date of Birth: 06/25/1972                              Sex: M        Race: WHITE               Facility: POM
     Encounter Date: 01/21/2022 13:46                       Provider: Rhodes, Jo Anne RN            Unit:     E04


     Screenings:
         COVID-19
              Quarantine
                   Yes: Vital Signs w/O2 sat recorded in flowsheet
                   No: Cough, Shortness of Breath, Fatigue, Body aches
     Temperature:
         Date              Time            Fahrenheit     Celsius Location              Provider
         01/21/2022        13:45 POX               96.0      35.6 Forehead              Rhodes, Jo Anne RN



     Cosign Required:No
     Completed by Rhodes, Jo Anne RN on 01/21/2022 13:46.




                                                                                                               )




     Generated 01/21/2022 13:46 by Rhodes, Jo Anne RN         Bureau of Prisons - POM                                 Page 1 of 1
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                                                    Federal Bureau of Prisons
                                                         SCREENINGS
Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                           Reg #: 02007-104
Date of Birth: 06/25/1972                               Sex: M        Race: WHITE               Facility: POM
Encounter Date: 01/20/2022 11 :48                       Provider: Rhodes, Jo Anne RN            Unit:     E04


Screenings:
     COVID-19
          Quarantine
               Yes: Vital Signs w/O2 sat recorded in flowsheet
               No: Cough, Shortness of Breath, Fatigue, Body aches
Temperature:
    Date              Time            Fahrenheit      Celsius Location              Provider
    01/20/2022        11 :48 POX               96.0      35.6 Forehead              Rhodes, Jo Anne RN



Cosign Required:No
Completed by Rhodes, Jo Anne RN on 01/20/2022 11 :49.




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                                                   Federal Bureau of Prisons
                                                        SCREENINGS
Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                         Reg#: 02007-104
Date of Birth: 06/25/1972                             Sex: M        Race: WHITE               Facility: POM
Encounter Date: 01/19/2022 07:11                      Provider: Rhodes, Jo Anne RN            Unit:     E04


Screenings:
     COVID-19
          Quarantine
               Yes: Vital Signs w/O2 sat recorded in flowsheet
               No: Cough, Shortness of Breath, Fatigue, Body aches
Temperature:
    Date              Time            Fahrenheit     Celsius Location             Provider
    01/19/2022        07:10 POX             97.0        36.1 Forehead             Rhodes, Jo Anne RN



Cosign Required:No
Completed by Rhodes, Jo Anne RN on 01/19/2022 07:12.




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                                                   Federal Bureau of Prisons
                                                        SCREENINGS
Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                          Reg#: 02007-104
Date of Birth: 06/25/1972                              Sex: M        Race: WHITE               Facility: POM
Encounter Date: 01/18/2022 10:34                       Provider: Rhodes, Jo Anne RN            Unit:     E04


Screenings:
    COVID-19
          Intake screening
               Yes: Vital Signs w/O2 sat recorded in flowsheet
               No: Cough, Shortness of Breath, Fatigue, Body aches
Temperature:
    Date              Time            Fahrenheit     Celsius Location              Provider
    01/18/2022        10:38 POX               96.0      35.6 Forehead              Rhodes, Jo Anne RN



Cosign Required:No
Completed by Rhodes, Jo Anne RN on 01/18/2022 10:39.




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                                                   Federal Bureau of Prisons
                                                        SCREENINGS
Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                          Reg#: 02007-104
Date of Birth: 06/25/1972                              Sex: M        Race: WHITE               Facility: POM
Encounter Date: 01/17/2022 08:42                       Provider: Rhodes, Jo Anne RN            Unit:     E04


Screenings:
      COVID-19
         Quarantine
               Yes: Vital Signs w/O2 sat recorded in flowsheet
               No: Cough, Shortness of Breath, Fatigue, Body aches
Temperature:
      Date           · Time           Fahrenheit     Celsius Location              Provider
      01/17/2022       08:41 POX            96.0        35.6 Forehead              Rhodes, Jo Anne RN



Cosign Required:No
Completed by Rhodes, Jo Anne RN on 01/17/2022 08:42.




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                                                    Federal Bureau of Prisons
                                                         SCREENINGS
Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                              Reg #: 02007-104
Date of Birth: 06/25/1972                                 Sex: M         Rac.e: WHITE              Facility: POM
Encounter Date: 01/16/2022 10:32                          Provider: Fruge, Jacinda RN              Unit:     E04


Screenings:
    COVID-19
          Isolation
               No: Cough, Shortness of Breath, Fatigue, Body aches, Sore throat, Diarrhea, Headache, Loss of taste or
               smell, Nausea or vomiting
Temperature:
    Date              Time            Fahrenheit         Celsius Location             Provider
    01/16/2022        10:31 POX                   93.0     33.9 Forehead              Fruge, Jacinda RN



Cosign Required:No
Completed by Fruge, Jacinda RN on 01/16/2022 10:32.




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         ..
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                                                   Federal Bureau of Prisons
                                                      • SCREENINGS
Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                               Reg#: 02007-104
Date of Birth: 06/25/1972                                 Sex: M        Race: WHITE                 Facility: POM
Encounter Date: 01/15/2022 10:36                          Provider: Rhodes, Jo Anne RN              Unit:     E04


Screenings:
    COVID-19
          Quarantine
               Yes: Vital Signs w/O2 sat recorded in flowsheet
               N9: Cough, Shortness of Breath, Fatigue, Body aches
Temperature:
    Date             Time             Fahrenheit     Celsius Location                 Provider
    01/15/2022       _10:35 POX               96.0         35.6 Forehead                Rhodes, Jo Anne RN

Pulse:
    Date          Time              Rate Per Minute          Location                 Rhythm      Provider
    01/15/2022 10:35 POX                             58      Via Machine                          Rhodes, Jo Anne ~N

Respirations:
    ~                     Time              Rate Per Minute Provider
    01/15/2022            10:35 POX                           20 Rhodes, Jo Anne RN

Sa02:
    Date             Time             Value(%) Air                           Provider
    01/15/2022       10:35 POX              98 Room Air                      Rhodes, Jo Anne RN

Cosign Required:No
Completed by Rhodes, Jo Anne RN on 01/15/2022 10:54.




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                                                   Federal Bureau of Prisons
                                                        SCREENINGS
Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                               Reg#: 02007-104
Date of Birth: 06/25/1972                                 Sex: M        Race: WHITE                 Facility: POM
Encounter Date: 01/14/2022 12:35                          Provider: Rhodes, Jo Anne RN              Unit:     E04


Screenings:
     COVID-19
          Intake screening
               Yes: Vital Signs w/O2 sat recorded in flowsheet
               No: Cough, Shortness of Breath, Fatigue, Body aches
Temperature:
     Date             Time            Fahrenheit. Celsius Location                      Provider
     01/14/2022       12:34 POX               96.0         35.6 Forehead                Rhodes, Jo Anne RN

Pulse:
     Date         Time               Rate Per Minute          Location                Rhythm       Provider
     01/14/2022 12:34 POX                            52      Via Machine                           Rhodes, Jo Anne RN

Respirations:
     Date                 Time              Rate Per Minute Provider
     01/14/2022           12:34 POX                           20 Rhodes, Jo Anne RN

Sa02:
     Date             Time            Value(%) Air                           Provider
    01/14/2022        12:34 POX               99 Room Air                    Rhodes, Jo Anne RN

Cosign Required:No
Completed by Rhodes, Jo Anne RN on 01/14/2022 12:35.




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                                                    Federal Bureau of Prisons
                                                         SCREENINGS
Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                              Reg#: 02007-104
Date of Birth: 06/25/1972                                 Sex: M         Race: WHITE               Facility: POM
Encounter Date: 01/13/2022 09:01                          Provider: Fruge, Jacinda RN              Unit:     E04


Screenings:
     COVID-19
          Quarantine
               No: Cough, Shortness of Breath, Fatigue, Body aches, ·sore throat, Diarrhea, Headache, Loss of taste or
               smell, Nausea or vomiting
Temperature:
     Date             Time             Fahrenheit        Celsius Location             Provider
     01/13/2022       09:00 POX                   97.4      36.3 Forehead             Fruge, Jacinda RN



Cosign Required:No
Completed by Fruge, Jacinda RN on 01/13/2022 09:02.




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                                                     Federal Bureau of Prisons
                                                          SCREENINGS
Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                                Reg#: 02007-104
Date of Birth: 06/25/1972                                   Sex: M         Race: WHITE               Facility: POM
Encounter Date: 01/12/2022 15:30                            Provider: Lyons, T. FNP-C                Unit:     E04


Screenings:
     COVID-19
          Isolation
               No: Cough, Shortness of Breath, Fatigue, Body aches, Sore throat, Diarrhea, Headache, Loss of taste or
               sme,1I, Nausea or vomiting
Temperature:
     Date               Time          Fahrenheit       Celsius Location                 Provider
     01/12/2022       • 15:29 POX           95.9          35.5                          Lyons, T. FNP-C

Pulse:
     Date          Time              Rate Per Minute           Location                 Rhythm     Provider
     01/12/2022 15:29 POX                              69                                          Lyons, T. FNP-C


Sa02:
     Date              Time            Value(%) Air                            Provider
     01/12/2022        15:29 POX                98                             Lyons, T. FNP-C

Cosign Required:No
Completed by Lyons, T. FNP-C on 01/12/2022 15:30.




Generated 01/12/2022 15:30 by Lyons, T. FNP-C                 Bureau of Prisons - POL                                  Page 1 of 1
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                                                 Federal Bureau of Prisons
                                                      SCREENINGS
Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                        Reg#: 02007-104
Date of Birth: 06/25/1972                            Sex: M         Race: WHITE              Facility: POM
Encounter Date: 01/11/2022 17:20                     Provider: Parker, Chance RN             Unit:     E04


Screenings:
    COVID-19
         Quarantine
              Yes: Vital Signs w/O2 sat recorded in flowsheet
              No: Cough, Shortness of Breath, Fatigue, Body aches, Sore throat, Diarrhea, Headache, Loss of taste or
              smell, Nausea or vomiting
Temperature:
    Date             Time            Fahrenheit     Celsius Location             Provider
    01/11/2022       17:20 POX               98.1      36.7                      Parker, Chance RN



Cosign Required:No
Completed by Parker, Chance RN on 01/11/2022 17:21.




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                                                                      Bureau of Prisons
                                                                       Health Services
                                                                    Devices and Equipment
Start Date:    10/04/2021                                            Stop Date:   10/04/2022
Reg#:          02007-104                                             Inmate Name: AGUILAR LOPEZ, JOSE LUIS

Device/Equipment                                    Start Date . Stop Date     Date Returned           Obtained From   Comments
Eye Glasses
06/09/2018 14:45 EST Richmond, Erinn RN             06/09/2018                                         BOP

Total: 1




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                                                     Bureau of Prisons
                                                      Health Services
                                                         Allergies
 Reg#: 02007-104                                    Inmate Name: AGUILAR LOPEZ, JOSE LUIS

 Allergy                                                Date Noted               Reaction
 No Known Allergies                                     11/27/2013
         Orig Entered:      11/27/2013 17:51 EST Reynaldo, A. MLP
 Total: 1




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                                                                       Bureau of Prisons
                                                                        Health Services
                                                            Patient Education Assessments & Topics
Reg#: 02007-104                          Inmate Name: AGUILAR LOPEZ, JOSE LUIS

                                                                                     Assessments
   Assessment Date Learns Best By                   Primary Language         Years of Education       Barriers To Education             Provider
   Total: 0

                                                                                           Topics
    Date Initiated            Format                   Handout/Topic                                        Outcome                     Provider
    06/24/2022                Counseling               Post-operative Care                                  .Verbalizes Understanding   Flowers, Joe
                  Orig Entered:     06/24/2022 14:57 EST Flowers, Joe
    06/24/2022                Counseling               Post-operative Care                                  Verbalizes Understanding    Flowers, Joe
                  Orig Entered:     06/24/2022 15:05 EST Flowers, Joe
    06/24/2022                Counseling               Access to Care                                       Verbalizes Understanding    Flowers, Joe
                  Orig Entered:     06/24/2022 15:16 EST Flowers, Joe
    02/15/2022                Counseling               Access to Care                                       Verbalizes Understanding    Barry, Timothy
                  Orig Entered:     02/15/2022 13:26 EST Barry, Timothy
    12/27/2021                Counseling               Access to Care                                       Verbalizes Understanding    Markey, J.
                  Orig Entered:     12/27/2021 17:05 EST Markey, J.
    Total: 5




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                                                                          Bureau of Prisons
                                                                           Health Services
                                                                           Health Problems
 Reg #: 02007-104                                    Inmate Name: AGUILAR LOPEZ, JOSE LUIS

 Description                                                                               Axis Code Type            Diag. Date Status     Status Date

                                                                            Current
  Retained dental root
   02/05/2014 13:42 EST Smith, W. DMD                                                          Ill ICD-9     525.3   01/30/2014 Current     01/30/2014
         #8 nonrestorable root tip.
  LTBI Prophy Refused
   03/12/2018 16:29 EST Bergmann, M RN                                                         Ill ICD-10   795.5D   04/20/2015 Current     03/12/2018
   04/20/2015 13:55 EST Lee, S. MD                                                             Ill ICD-9    795.5D   04/20/2015 Resolved    04/20/2015
  Corneal degeneration, unspecified
   02/15/2022 13:26 EST Barry, Timothy OD                                                          ICD-10   H1840    02/15/2022 Current
         KARCUS.
  Hypermetropia
   03/17/2020 16:02 EST Mitchell, B. NP-C                                                          ICD-10   H5200    03/10/2020 Current

  Astigmatism
   03/17/2020 16:02 EST Mitchell, B. NP-C                                                          ICD-10   H52209   03/10/2020 Current

  Presbyopia
   03/17/2020 16:02 EST Mitchell, B. NP-C                                                          ICD-10    H524    03/10/2020 Current

  Dental caries on pit and fissure surface penetrat into pulp
   06/24/2022 15:04 EST Flowers, Joe DDS                                                           ICD~10    K0253   06/24/2022 Current

  Abrasion of teeth
   08/16/2016 10:55 EST Nieto, Jorge DMD                                                           ICD-10     K031   08/16/2016 Current

  Disease of hard tissues of teeth
   09/09/201912:11 EST Flowers, Joe DDS                                                            ICD-10    K039    09/09/2019 Current

  Aggressive periodontitis, localized
   06/24/2022 14:56 EST Flowers, Joe DDS                                                           ICD-10   K0521    06/24/2022 Current

  Pain in unspecified joint
   12/08/2020 14:55 EST Markey, J. MD                                                              ICD-10   M2550    12/08/2020 Current
           bilateral wrists
• Injury of wrist, hand and finger(s), unspecified

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                                                     Bureau of Prisons
                                                      Health Services
                                                      Vision Screens
 Reg#: 02007-104                               Inmate Name: AGUILAR LOPEZ, JOSE LUIS

Vision Screen on 02/15/2022 12:22
   Blindness:
   Distance Vision: OD: 20/100                                 OS: 20/100                        OU:
   Near Vision:          OD:                                   OS:                               OU:
   With Corrective
   Distance Vision: OD: 20/20                                  OS: 20/20                         OU:
   Near Vision:          OD:                                   OS:                               OU: 20/20
   Present Glasses - Distance                                          Refraction - Distance
        Sphere          Cylinder     Axis           Add                     Sphere    Cylinder     Axis      Add
   R:                                                                  R: +2.75       -0.25        80        +1.5
   L:                                                                  L: +3.00       -0.50        85        +1.5
   Color Test:
   Tonometry:       R: 12              L: 12
   Comments: TA AT: 12:24 PM
        Orig Entered:    02/15/2022 13:24 EST Barry, Timothy OD




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                                                    Bureau of Prisons
                                                     Health Services
                                                      COVID-19 AG
Begin Date: 10/04/2021                                   End Date:    10/04/2022
Reg#:           02007-104                                Inmate Name: AGUILAR LOPEZ, JOSE LUIS
(Reference Range - Negative)
Effective Date           COVID-19 AG                                            Provider
01/11/2022 10:50 POX     Positive                           Asymptomatic        Johnson, Jessica RDH
     E-4 EXPOSURE
       Orig Entered: 01/11/2022 12:02 EST Johnson, Jessica RDH
12/13/2021 12:15 POX     Negative                Asymptomatic                   Holston, Bailey Phlebotomist
      7 day testing. 100%
         Orig Entered: 12/13/2021 14:09 EST Holston, Bailey Phlebotomist
12/06/2021 12:00 POX           Negative                     Asymptomatic        Holston, Bailey Phlebotomist
      Exposure. 100%.
         Orig Entered:    12/07/2021 13:00 EST Holston, Bailey Phlebotomist
Total: 3




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                                                     Bureau of Prisons
                                                      Health Services
                                                    Medication Summary
                                                         Historical
Complex: POX--POLLOCK USP                                      Begin Date: 10/04/2021          End Date: 10/04/2022
Inmate:  AGUILAR LOPEZ, JOSE LUIS                              Reg#:             02007-104     Quarter:   E04-209L

Medications listed reflect prescribed medications from the begin date to end date on this report.
Allergies:                                    Denied


Active Prescriptions
   Amoxicillin 500 MG Cap
   POM - Take one capsule (500 MG) by mouth three times daily for 7 days
   Rx#:    352192-CP1           Doctor: Flowers, Joe DDS
   Start: 06/24/22              Exp: 07/01/22                             Pharmacy Dispensings: 21 CAP in 7 days

   Ibuprofen 800 MG Tab
   POM- Take one tablet (800 MG) by mouth three times daily with food
   Rx#:    356430-CP1       .. Doctor: Flowers, Joe DDS
   Start: 06/24/22              Exp: 06/27/22                             Pharmacy Dispensings: 9 TAB in 3 days

   Ibuprofen 800 MG Tab
   POM - Take one tablet (800 MG) by mouth three times daily with food
   Rx#:    362464-CP1           Doctor: Flowers, Joe DDS
   Start: 06/24/22              Exp: 06/27/22                             Pharmacy Dispensings: 9 TAB in 3 days




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Inmate NamE:3:  AGUILAR LOPEZ, JOSE LUIS                                                 Reg#:       02007-104
Date of Birth:  06/25/1972                              Sex: M        Race: WHITE        Facility:   POM
Encounter Date: 06/24/2022 14:28                        Provider:     Flowers, Joe DDS   Unit:       E04


Medications as of Dental Health History Encounter date:    06/24/2022 14:28
Medications:
 Amoxicillin 500 MG Cap Exp: 07/01/2022 SIG: POM - Take one capsule (500 MG) by mouth three times daily for 7
  days
  Ibuprofen 800 MG Tab Exp: 06/27/2022 SIG: POM- Take one tablet (800 MG) by mouth three times daily with food
  Ibuprofen 800 MG Tab Exp: 06/27/2022 SIG: POM - Take one tablet (800 MG) by mouth three times daily with food

OTCs: Listing of all known OTCs this inmate is currently taking.



   Instructed inmate how to obtain medical, dental, and mental health care ..

   Copay Required: No                            Cosign Required: No
   TelephoneNerbal Order:          No
   Completed by Flowers, Joe DDS on 06/24/2022 14:29




Generated 06/24/2022 14:29 by Flowers, Joe DDS         Bureau of Prisons - POM                            Page 3 of 3
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                                         Bureau of Prisons
                                          Health Services
                          Dental Soap/Admin Encounter - _Administrative ,Note
Inmate Name:        AGUILAR LOPEZ, JOSE LUIS                                                  Reg#:       02007-104
Date of Birth:      06/25/1972                         Sex:         M     Race:WHITE          Facility:   POM
Note Date:          06/28/2022 10:15                   Provider:    Flowers, Joe DDS          Unit:       E04

Reviewed Health Status:          Yes

Administrative Note encounter performed at Dental Clinic.
Administrative Notes:
       ADMINISTRATIVE NOTE             1         Provider:   Flowers, Joe DDS
              Inmate was seen in dental for sick call on Friday, 6/24/22. Inmate only received IBU 362464-CP1 from night
              stock. Inmate Rasas, Amosa 47963-044 was given the IBU 356430-CP1 and AMOX 352192-CP1.

Copay Required: No                           Cosign Required: No
TelephoneNerbal Order:           No
Completed by Flowers, Joe DDS on 06/28/2022 10:17




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                                          Bureau of Prisons
                                           Health Services
                           Dental Soap/Admin Encounter - Administrative Note
 Inmate Name:        AGUILAR LOPEZ, JOSE LUIS                                            Reg#:       02007-104
 Date of Birth:      06/25/1972                         Sex:         M     Race:WHITE    Facility:   POM
 Note Date:          06/28/2022 1O:10                   Provider:    Flowers, Joe DDS    Unit:       E04

 Reviewed Health Status:          Yes

 Administrative Note encounter performed at Dental Clinic.
• Administrative Notes:
        ADMINISTRATIVE NOTE             1         Provider:   Flowers, Joe DDS
               d/c meds


 Copay Required: No
 TelephoneNerbal Orde,V
                              •   (\
                                     Q_,,
 Completed by Flowers, Joe DD_ - ~ 0 2 2 10:11
                                              Cosign Required: No




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                                                                               %
                                                                                        $~,




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                                         Bureau of Prisons
                                          Health Services
                          Dental Soap/Admin Encounter - Administrative Note
Inmate Name:        AGUILAR LOPEZ, JOSE LUIS                                             Reg#:           02007-104
Date of Birth:      06/25/1972                         Sex:          M     Race:WHITE    Facility:       POM
Note Date:          06/28/2022 10:10                  ,Provider:     Flowers, Joe DDS    Unit:           E04

Review,ed Health Status:        Yes

Administrative Note encounter performed at Dental Clinic.
Administrative Notes:
       ADMINISTRATIVE NOTE             1         Provider: Flowers, Joe DDS
             die meds


Copay Required: No           It ( \          Cosign Required: No
TelephoneNerbal Order~,&_,,
Completed by Flowers, Joe DD_-~022 10:11




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                                                                 ·~~·




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                                                                                        ~,
                                                                                    -~               •




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                                         Bureau of Prisons
                                          Health Services
                                          See Amendment
Inmate Name:    AGUILAR LOPEZ, JOSE LUIS                              Reg#:       02007-104
Date of Birth:  06/25/1972                   Sex:          M          Race:       WHITE
Encounter Date: 06/28/2022 10: 15                                     Facility:   POM

Amendment made to this note by Flowers, Joe DDS on 06/28/202210:17.




                                           Bureau of Prisons - POM
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                                                       Bureau of Prisons
                                                        Health Services
                                                 Dental Soap/Admin Encounter
Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                          Reg#: 02007-104
Date of Birth: 06/25/1972                                  Sex: M                Race: WHITE   Facility: POM
Encounter Date: 06/28/2022 10:04                           Provider:    Flowers, Joe DDS       Unit:     E04

Reviewed Health Status:         Yes
Sick Call Visit encounter performed at Dental Clinic.
SUBJECTIVE:
   COMPLAINT 1                    Provider:      Flowers, Joe DDS
          Chief Complaint:        Pain
          Subjective:     Inmate presented to Dental with pain in the upper right quadrant.
          Pain Location: Tooth/Teeth
          Pain Scale:      7
          Pain Qualities: Aching I Throbbing I Pressure
          History of Trauma:
          Onset:
          Duration:
          Exacerbating Factors:
          Relieving Factors:
          Comments:


OBJECTIVE:
Dental Findings:
   Tooth
        #1
               Abnormal Finding(s) Noted (Clinical Observation/Findings)(yes)
               Caries (Clinical Observation/Findings)(yes)
               Caries (Radiological Observation/Findings )(yes)
ASSESSMENTS:

Dental caries on pit and fissure surface penetrat into pulp, K0253 - Current

PLAN:·



Copay Required:Yes                            Cosign Required: No
TelephoneNerbal Order:          No
Completed by Flowers, Joe DDS on 06/28/2022 10:05




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                                                       Bureau of Prisons
                                                        Health Services
                                                 Dental Soap/Admin Encounter
Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                                              Reg #: 02007-104
Date of Birth: 06/25/1972                                         Sex: M                Race: WHITE                Facility: POM
Encounter Date: 06/24/2022 14:00                                  Provider:    Flowers, Joe DDS                    Unit:     E04

Reviewed Health Status:           Yes
Sick Call Visit encounter performed at Dental Clinic.
SUBJECTIVE:
   COMPLAINT 1                     Provider:     Flowers, Joe DDS
            Chief Complaint:       Pain
            Subjective:     lnm~teted to Dental with pain in the upper right quadrant.
            Pain Location:          t       h
            Pain Scale:       7         ~

            Pain Qualities:       Aching·~! Pressure
            History of Trauma:                  ~

            Onset:                                      ~
            Dtiration:                                  _   '7'_...
            ~:: ~,:,: a~:ra:                                      ~~
OBJECTIVE:                                                                    \.~

Den~!:;~dings:                                                                     ...,, ~~

          #1
                Abnormal Finding(s) Noted (Clinical Observation/Findings)(yes                  ~
                Caries (Clinical Observation/Findings)(yes)
                Caries (Radiological Observation/Findings)(yes)                                         ~

ASSESSMENTS:                                                                                            \.~~
Dental caries on pit and fissure surface penetrat into pulp, K0253 - Current                                       ?
Temperature:
     Date            Time               Fahrenheit      Celsius Location                     Provider
    06/24/2022       14:01 POX                   98.6            37.0                        Flowers, Joe DDS

Pulse:
     Date            Time                 Rate Per Minute          Location                  Rhythm     Provider
     06/24/2022 14:01 POX                                   65                                          Flowers, Joe DDS
Blood Pressure:
     Date       Time      Value                  Location               Position            Cuff Size   Provider
     06/24/2022 14:01 POX 127/78                                                                        Flowers, Joe DDS

PLAN:
New Medication Orders:
Rx#          Medication                                                                                                Order Date
                  Ibuprofen Tablet                                                                                     06/24/2022 14:00
Generated 06/24/2022 14:07 by Flowers, Joe DDS                    Bureau of Prisons - POM                                       Page 1 of 2
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• Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                                Reg#: 02007-104
  Date of Birth: 06/25/1972                                  Sex: M               • Race: WHITE        Facility: POM
  Encounter Date: 06/24/2022 14:00 •                         Provider:    Flowers, Joe DDS             Unit:      E04
 New Medication Orders:
 Rx#          Medication                                                                                Order Date
                         Prescriber Order:        800 mg Orally Mouth - three times a day x 3 day(s)
                         Indication: Dental caries on pit and fissure surface penetrat into pulp
                         Start Now: Yes
                             Night Stock Rx#:     356430-CP1
                             Source: Night Stock
                             Admin Method: Self Administration
                             Stop Date:
                             MA             800 mg Orally Mouth - three times a day x 3 day(s)
                             On     i      ose Given: No
                  Amoxicillin Caps                                                         .            06/24/2022 14:00
                         Prescriber         ~ 0 MG Orally Mouth - three times a day x 7 day(s)
                         Indication: Dent~~ on pit and fissure surface penetrat into pulp
                         Start Now: Yes
                             Night Stock Rx#:     3      -
                             Souri:;e: Night Stock


                             Stop Date: 07/01/2022 13:59
                             MAR Label: day(s)



 Disposition:
      Follow-up at Sick Call as Needed

 Patient Education Topics:
      Date Initiated Format                           Handout/Topic                                                  Outcome
      06/24/2022     Counseling                       Post-operative Care              ~c,jJoe                       Verbalizes


 Copay Required:Yes
 TelephoneNerbal Order:           No
                                              Cosign Required: No


 Completed by Flowers, Joe DDS on 06/24/2022 14:07
                                                                                                   ~,                Understanding




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                                                       Bureau of Prisons
                                                        Health Services
                                                 Dental Soap/Admin Encounter
Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                                             Reg#: 02007-104
Date of Birth: 06/25/1972                                       Sex: M                 Race: WHITE                Facility: POM
Encounter Date: 06/24/2022 14:00                                Provider:     Flowers, Joe DDS                    Unit:     E04

Reviewed Health Status:         Yes
Sick Call Visit encounter performed at Dental Clinic.
SUBJECTIVE:
   COMPLAINT 1                   Provider:       Flowers, Joe DDS
            Chief Complaint:     Pain
            Subjective:     lnm~teted to Dental with pain in the upper right quadrant.
            Pain Location:        t        h
            Pain Scale:     7         ~

            Pain Qualities: Aching~~! Pressure
            History of Trauma:
            Onset:                                   ,4llfl'I                 ·

            Duration:                                 _   'l'...i1111

          ~:: ~;: a~ra                                    .~~
OBJECTIVE:                                                                  ~~
Den~!::~dings:                                             •                       ~ ~~
          #1                                                -
                Abnormal Finding(s) Noted (Clinical Observation/Findings)(yes                ~
                Caries (Clinical Observation/Findings)(yes)
                Caries (Radiological Observation/Findings)(yes)                                       ~

ASSESSMENTS:                                                                                          ~~~
Dental caries on pit and fissure surface penetrat into pulp, K0253 - Current                                      ?
Temperature:
     Date            Time             Fahrenheit       Celsius Location                    Provider
     06/24/2022      14:01 POX              98.6               37.0                         Flowers, Joe DDS
Pulse:
     Date            Time              Rate Per Minute           Location                  Rhythm      Provider
     06/24/2022 14:01 POX                                 65                                           Flowers, Joe DDS
Blood Pressure:
     Date       Time      Value                  Location               Position          Cuff Size   Provider
     06/24/2022 14:01 POX 127/78                                                                      Flowers, Joe DDS

PLAN:
New Medication Orders:
Rx#          Medication                                                                                               Order Date
             Ibuprofen Tablet                                                                                         06/24/2022 14:00
Generated 06/24/2022 14:07 by Flowers, Joe DDS                  Bureau of Prisons - POM                                        Page 1 of 2
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• Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                                Reg #: 02007-104
  Date of Birth: 06/25/1972                                Sex: M                Race: WHITE           Facility: POM
  Encounter Date: 06/24/2022 14:00                         Provider:    Flowers, Joe DDS               Unit:     E04
 New Medication Orders:
 Rx#          Medication                                                                                Order Date
                         Prescriber Order:        800 mg Orally Mouth - three times a day x 3 day(s)
                         Indication: Dental caries on pit and fissure surface penetrat into pulp
                         Start Now: Yes
                             Night Stock Rx#:     356430-CP1
                             Source: Night Stock
                             A<;lmin Method: Self Administration
                             Stop Date:
                             MA             800 mg Orally Mouth - three times a day x 3 day(s)
                             On     i      ose Given: No
                  Amoxicillin Caps                                                        •             06/24/2022 14:00
                         Prescriber         ~ 0 MG Orally Mouth - three times a day x 7 day(s)
                         Indication: Dent~~ on pit and fissure surface penetrat into pulp
                         Start Now: Yes
                             Night Stock Rx#:     3
                             Source: Night Stock


                             Stop Date: 07/01/2022 13:59
                             MAR Label: day(s)                         ~
                             One Time Dose Given: No                    ~
                                                                       \.




                                                                                     ~
 Disposition:
      Follow-up at Sick Call as Needed

 Patient Education Topics:
      Date Initiated Format                           Handout/Topic                                                  Outcome
      06/24/2022     Counseling                       Post-operative Care            ~~Joe                           Verbalizes


 Copay Required:Yes
 TelephoneNerbal Order:           No
                                              Cosign Required: No


 Completed by Flowers, Joe DDS on 06/24/2022 14:07
                                                                                                   ~,                Understanding




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                                         Bureau of Prisons
                                          Health Services
                                          See Amendment
Inmate Name:    AGUILAR LOPEZ, JOSE LUIS                              Reg#:       02007-104
Date of Birth:  06/25/1972                   Sex:          M          Race:       WHITE
Encounter Date: 06/28/2022 10:04                                      Facility:   POM

Amendment made to this note by Flowers, Joe DDS on 06/28/202210:05.




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                                                       Bureau of Prisons
                                                        Health Services
                                                 Dental Soap/Admin Encounter
Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                                           Reg#: 02007-104
Date of Birth: 06/25/1972                                     Sex: M                Race: WHITE                 Facility: POM
Encounter Date: 06/24/2022 13:52                              Provider:    Flowers, Joe DDS                     Unit:     E04

Reviewed Health Status:            Yes
Sick Call Visit encounter performed at Dental Clinic.
SUBJECTIVE:
   COMPLAINT 1                      Provider:    Flowers, Joe DDS
            Chief Complaint:        Pain
            Subjective:     Inmate presented to Dental with pain in the upper right quadrant.
            Pain Location: Tooth/Teeth
            Pain Scale:       8
            Pain Qualities:       Aching I Throbbing I Pressure
            History of Trauma:
            Onset:
            Duration:
            Exacerbating Factors:
            Relieving Factors:
            Comments:


OBJECTIVE:
Dental Findings:
   Tooth
        #1
                Abnormal Finding(s) Noted (Clinical Observation/Findings)(yes)
                Bone Loss. (Radiological Observation/Findings)(yes)
                Mobility (Clinical Observation/Findings )(yes)
                Sensitive to Provoking Stimuli (Clinical Observation/Findings)(yes)
                Tenderness (Clinical Observation/Findings)(yes)
ASSESSMENTS:
Aggressive periodontitis, localized, K0521 - Current
Temperature:
     Date            Time                Fahrenheit     Celsius Location                 Provider
    06/24/2022       13:53 POX                   97.4        36.3                         Flowers, Joe DDS
Pulse:
     Date            Time                  Rate Per Minute     Location                  Rhythm      Provider
     06/24/2022 13:53 POX                               52                                           Flowers, Joe DDS
Blood Pressure:
     Date            Time            Value       Location           Position            Cuff Size   Provider
     06/24/2022 13:53 POX            128/71                                                         Flowers, Joe DDS




Generated 06/24/2022 14:00 by Flowers, Joe DDS                Bureau of Prisons - POM                                    Page 1 of 2
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• Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                                Reg #: 02007-104
  Date of Birth: 06/25/1;972                              Sex: M                 Race: WHITE           Facility: POM
  Encounter Date: 06/24/2022 13:52                        Provider:     Flowers, Joe DDS               Unit:     E04

  PROCEDURE:
  Dental Procedures

    Dental Procedures In Process/Completed During This Encounter
        Tooth/Area                                  Procedure                                                  Status
        #1                                          Oral Health Assessment                                     Completed
        #1                                          Treatment Plan Examination                                 Completed
        #1                                          Extraction, Erupted Tooth                                  Completed


 PLAN:
 New Medication Orders:
 Rx#          Medication                                                                                 Order Date
                  Ibuprofen Tablet                                                                       06/24/2022 13:52
                        Prescriber Order:         800 mg Orally Mouth - three times a dayx 3 day(s)
                         Indication: Aggressive periodontitis, localized
                         Start Now: Yes
                             Night Stock Rx#:     362464-CP1
                             Source: Night Stock
                             Admin Method: Self Administration
                             Stop Date:
                                 '
                             MAR Label: 800 mg Orally Mouth - three times a day x 3 day(s)
                             One Time Dose Given: No

 Disposition:
     Will Be Placed on Callout

 Patient Education Topics:
      Date Initiated Format                           Handout/Topic                            Provider               Outcome
      06/24/2022     Counseling                       Post-operative Care                      Flowers, Joe           Verbalizes
                                                                                                                      Understanding

 Copay Required:Yes                           Cosign Required: No
 TelephoneNerbal Order:          No
 Completed by Flowers, Joe DDS on 06/24/2022 14:00




 Generated 06/24/2022 14:00 by Flowers, Joe DDS            Bureau of Prisons - POM                                Page 2 of 2
                                                                                                                             \

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     Federal                                           FMC Butner
     Bureau of                                   1000 Old Highway NC 75
     Prisons                                        Butner, NC 27509
                                                   919-575-3900 x5707
                                                                                         *** Sensitive But Unclassified***
Name AGUILAR LOPEZ, JOSE                 Facility FCI Pollock                         Collected 03/09/2022 08:24 CST
Reg # 02007-104                          Order Unit E04-102U                          Received 03/10/2022 09:29 CST
DOB 06/25/1972                           Provider J. Smith                            Reported 03/10/2022 11 :28 CST
Sex   M                                                                               LIS ID     053222480


                                                    CHEMISTRY
Sodium                                                137                               • 136-145                mmol/L
Potassium                                              4.1                                 3.5-5.1               mmol/L
Chloride                                              105                                  98-107                mmol/L
Carbon Dioxide                                         23                                   21-32                mmol/L
Urea Nitrogen (BUN)                                    11                                   7-26                 mg/dl
Creatinine                                            0.80                               0.60-1.30               mg/dl
eGFR (IDMS)                                         · >60
  GFR units measured as mUmin/1.73 m"2. if African American, multiply by 1.210. A calculated GFR <60 suggests a chronic
  kidney disease if found over a 3 month period.
Calcium                                                9.0                                8.4-10.2               mg/dl
Glucose                             H                 112                                  70-109                mg/dl
AST                                                    19                                   5-34                   U/L
ALT                                                     8                                   8-55                   U/L
Alkaline Phosphatase                                   70                                  40-140                  U/L
Bilirubin, Total                                       0.2                                 0.2-1.0               mg/dl
Protein, Total                                         6.8                                 6.4-8.3                g/dl
Albumin                                               3.6                                  3.5-5.0                g/dl
Globulin                                              3.2                                                         g/dl
Albumin/Globulin Ratio                                1.13                               1.00-2.30
Anion Gap                                             9.0                                 9.0-19.0
BUN/Creatinine Ratio                                  13.9                                5.0-30.0
Cholesterol, Total                                    193                                <200                  mg/dl
Triglycerides                                         67                                 <150                  mg/dl
HDL Cholesterol                   H                   67                                40-60                  mg/dl
LDL-Cholesterol                                       113                                <130                  mg/dl
Chol/HDLC Ratio                                       2.9                               0.0-4.0

                                                  HEMATOLOGY
White Blood Cell Count                                 7.2                            3.6-11.0                  K/ul
Red Blood Cell Count                                  4.76                            4.30-6.20                 M/ul
Hemoglobin                        L                   13.2                            13.5-18.0                 g/dl
Hematocrit                                            40.7                            38.0-54.0                  %
MCV                                                   85.5                            80.0-96.0                  fl
MCH                                                   27.7                            26.0-34.0                  pg
MCHC                                                  32.4                            30.0-37.0                 g/dl
ROW-CV                                                12.5                            10.8-15.6                  %
Platelet Count                                        140                              140-440                  K/ul
MPV                               H                   14.2                             8.3-12.8                  fl

   FLAG LEGEND           L=Low L!=Low Critical     H=High H!=High Critical     A=Abnormal A! =Abnormal Critical
                                                                                             Page 1 of 2
Case 1:13-cr-20911-BB Document 312 Entered on FLSD Docket 11/07/2023 Page 74 of 263


     Federal                                  FMC Butner
     Bureau of                            1000 Old Highway NC 75
•    Prisons                                 Butner, NC 27509
                                            919-575-3900 x5707
                                                                             *** Sensitive But Unclassified ***
Name AGUILAR LOPEZ, JOSE        Facility FCI Pollock                      Collected 03/09/2022 08:24 CST
Reg # 02007-104                 Order Unit E04-102U                       Received 03/10/2022 09:29 CST
DOB 06/25/1972                  Provider J. Smith                         Reported 03/10/2022 11 :28 CST
Sex   M                                                                   LIS ID    053222480


                                           HEMATOLOGY




    FLAG LEGEND   L=Low L!=Low Critical    H=High H!=High Critical   A=Abnormal A! =Abnormal Critical
                                                                               • Page 2 of 2
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               \
                       Document 312 Entered on FLSD Docket 11/07/2023 Page 75 of 263
                                         Bureau of Prisons
                                          Health Services
                                          Cosign/Review
Inmate Name:    AGUILAR LOPEZ, JOSE LUIS                                         Reg#:       02007-104
Date of Birth:  06/25/1972                    Sex:          M                    Race:       WHITE
Encounter Date: 03/10/2022 11 :35             Provider:     Lab Result Receive   Facility:   POM

Reviewed by Smith, J NP on 03/10/202212:44.




                                              Bureau of Prisons - POM
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                                          Bureau of Prisons
                                           Health Services
                                           Cosign/Review
Inmate Name:    AGUILAR LOPEZ, JOSE LUIS                                         Reg#:       02007-104
Date of Birth:  06/25/1972                   Sex:           M                    Race:       WHITE
Encounter Date: 03/10/2022 11 :35            Provider:      Lab Result Receive   Facility:   POM

Cosigned by Markey, J. MD on 03/16/2022 15:46.




                                             Bureau of Prisons - POM
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                                                                                                                                            Report Status: Final
                                                                                                                                       AGUILAR LOPEZ, JOSE

 Patient Information                                                Specimen Information                                  Client Information
                                                                                                                   .                        SP0lMAIL
                                                                    Specimen: DL598963S                                   Client#: 53569
 AGUILAR LOPEZ, JOSE
                                                                    Requisition: 3595383                                  LYONS, TRACY
 DOB: 06/25/1972           AGE: 49                                  Lab Ref#: 349212558                                   FCI POLLOCK-POM
 Gender:     M                                                                                                            1000 AIR BASE RD
                                                                    Collected:   12/20/2021 / 08:22 CST
 Phone:      NG                                                                                                           POLLOCK, LA 71467
                                                                    Received:    12/21/2021 / 03:33 CST
 Patient ID: 02007-104                                              Reported:    12/21/2021 / 23:40 CST            .


      SARS CeV 2 (C0'7ID'-19) Tests                    ,
                                                        /


                          irest Name                                             Result              Reference Range                                      Lab
                ;.~:W- ,a>;.~,k~.,._l!lt   i-   ,,   ,__;;.,:'!;_                _!:; ~
 SARS CoV 2 RNA(COVID 19), QUALITATIVE NMT                                                                                                                IG
  SARS CoV 2 RNA                           I                               NOT DETECTED            I NOT DETECTED
 A Not Detected result means that SARS-CoV-2 RNA was not present in the specimen above the limit of detection.
 A Not Detected result does not rule out the possibility of COVID-19 and should not be used as the sole basis for treatment or patient
 management decisions. If COVID-19 is still suspected, based on exposure history together with other clinical findings, re-testing should be
 considered in the context of clinical observations and epidemiological data for patient management decisi.ons.
 Test Method: Nucleic Acid Amplification Test including reverse transcription polymerase chain reaction (RT-PCR) and transcription mediated
 amplification (TMA). The test method meets the US Centers for Disease Control and prevention· (CDC) pre departure and arrival requirement
 for viral test for COVID-19 dated January 28, 2021. Testing requirements for traveling may change with time. The patient is responsible for
 determining the test requirements for each nation while they are traveling.
 This test has been authorized by the FDA under an Emergency Use Authorization (EUA) for use by authorized laboratories.
 Please review the "Fact Sheets" and FDA authorized labeling available for health care providers and patients using the following websites:
 https://www.questdiagnostics.com/home/Covid-19/HCP/QuestlVD/fact- sheet.html https://www.questdiagnostics.com/home/Covid-19/Patients/
 QuestlVD/fact-sheet.html
 Due to the current public health emergency, Quest Diagnostics is accepting samples from appropriate clinical sources collected using
 wide variety of swabs and transport media for COVID-19. Not detected test results derived from specimens received in non- commercially
 manufactured viral collection kits or those not yet authorized by FDA for COVID-19 testing should be cautiously evaluated and take extra
 precautions such as additional clinical monitoring, including collection of an additional specimen.
 Additional information about COVID-19 can be found at the Quest Diagnostics website: www.QuestDiagnostics.com/Covid19.
 Physician Comments:




PERFORMING SITE:
IG    QUEST DIAGNOSTICS-IRVING, 4770 REGENT BLVD., IRVING, TX 75063-2445 Laboratory Director: ROBERT L BRECKENRIDGE,MD, CLIA: '45D0697943




CLIENT SERVICES: 866.697.8378                                             SPECIMEN: DL598963S                                                     PAGE 1 OF 1
Quest, Quest Diagnostics, the associated logo and all associated Quest Diagnostics marks are the trademarks of Quest Diagnostics.
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                                          Bureau of Prisons
                                           Health Services
                                           Cosign/Review
Inmate Name:    AGUILAR LOPEZ, JOSE LUIS                                        Reg#:       02007-104
Date of Birth:  06/25/1972                   Sex:          M                    Race:       WHITE
Encounter Date: 12/21/2021 23:45             Provider:     Lab Result Receive   Facility:   POM

Cosigned by Markey, J. MD on 12/22/2021 21:34.




                                             Bureau of Prisons - POM
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                                          Bureau of Prisons
                                           Health Services
                                           Cosign/Review
Inmate Name:    AGUILAR LOPEZ, JOSE LUIS                                        Reg#:       02007-104
Date of Birth:  06/25/1972                   Sex:          M                    Race:       WHITE
Encounter Date: 12/21/2021 23:45             Provider:     Lab Result Receive   Facility:   POM

Reviewed by Lyons, T. FNP-C on 12/23/2021 07:55.




                                             Bureau of Prisons - POL
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   Re: ***Request to Staff*** AGUILAR LOPEZ, JOSE, Reg# 02007104, POM-E-D
   POM-lnmateTo HealthSvcs (BOP) <POM-lnmateToHealthSvcs@bop.gov>
   Tue 10/4/2022 8:04 AM
   To·~"! AGUILAR LOPEZ, ~."!JOSE LUIS <02007104@inmatemessage.com>
   Your a e has been added to the list for medical records.




   From: tvh ! AGUILAR LOPEZ, "'11 1JOSE LUIS <02007104@inmatemessage.com>
   Sent: Monday, October 3, 2022 5:41 PM
   To: POM-lnmateToHealthS"'.cs (BOP) <POM-lnmateToHealthSvcs@bop.gov>
   Subject: ***Request to Staff*** AGUILAR LOPEZ, JOSE, Reg# 02007104, POM-E-D

   To: Medical
   Inmate Work Assignment: E-4 Orj:Jerly

   ***ATTENTION***

   Please cut and paste the message indicator below into the subject line; only this indicator can be in the
   subject line.                   .
   50adb8b0-8e1d-429b-91ff-b36e659b69f0
   Your response must come from the departmental mail box. Responses from personal mailboxes WILL
   NOT be delivered to the inmate.

   ***Inmate Message Below***




   I'm requesting a copy of medical records for compassionate release purposes only. I sent you a hard
   copy cop-out also

   Thank you,
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                                                      FEDERAL BUREAU OF PRISONS
                                                           DENTAL SERVICES
                                                     INVASIVE DENTAL PROCEDURES
Verified Patient Identification (two required) ..K_Full Pt Name ..K_Reg Number ...x.___Photo ID __Armband
Consent Form Explained in: _x_English __Spanish _Other Language _ _ _ _ _ _ _ __
You have a right to be informed about your diagnosis, the planned treatment, the possible risks involved, and alternatives to treatment so
that you may make an informed decision as to consenting to undergo the procedure(s) described below:

Procedure:
Extraction of tooth #1 due to periodontal disease.


Alternatives to Treatment:
l understand that if this procedure is not performed my condition may worsen resulting in complications including but not limited to:
 1. Infection                                                       4. Health complications beyond the present problem
~~~                                                                 ~0th~
3. Loss of function

Possible complications which have been explained to me (circle the number of all that apply):
 1. Continued or increased pain.                                  11. Bone/jaw fractures may rarely occur, particularly with lower
 2. Swelling and infection.                                           third molars.
 3. Bruising, which may be prolonged, as a result of the          12. Sharp ridges or bone splinters which may require additional
    procedure or from the injection of local anesthetic.              surgery to smoothen the area.
4. Injury to adjacent teeth, restorations, or soft tissues.       13. Temporomandibular joint disorder Gaw problem), muscle
 5. Scarring, tissue necrosis or alteration in appearance.            soreness or restricted opening of the mouth.
 6. Nerve injury, paresthesia, or residua! numbness which may     14. Loss of tooth or teeth and/or restorations.
    be of undeterminable duration or even permanent.              15. Fracture of tooth or root and/or restorations.
 7. Prolonged bleeding which could require further treatment      16. Discoloration of tooth.
    or intervention.                                              17. Perforation of the root or the floor of the pulp chamber.
 8. Dry socket (alveolitis-pain occuring for a few days after the 18. Endodontic file breaking or separating in root canal.
    extraction).                                                  19. Inability to locate, access or fill a canal or canals.
9. Decision to leave a small piece of tooth root in the jaw when  20. Adverse drug reactions or allergies.
    its removal would increase the risk of complications.         21. Rare complications may include nerve or blood vessel
10. Maxillary sinus involvement due to upper tooth roots, tooth       Injury, allergic or unexpected drug reactions, pneumonia,
    fragments, or instruments going into the sinus possibly           heart attack, stroke and/or death.
    resulting in a small opening (fistula).                       22. Other:

I JOSE AGUILAR LOPEZ                     Register Number 02007-104        , consent to the procedure described above.
I CERTIFY THAT I HAVE READ AND FULLY UNDERSTAND THIS DOCUMENT.
The above information has been explained to me in a language I can understand. Applicable alternative treatment approaches have
been explained to me. I am aware of the potential risks and complications associated with the procedure. I understand that the 8.0.P. is
not obligated ta replace any teeth extracted during or as a result of this procedure and that! should follow the dentist's Instructions as to
post-operative care taking medications as prescribed. I voluntarily give this consent and recognize that I can withdraw it at any time prior
to the beginning of the procedure. I have had the opportunity to discuss and ask questions about my treatment and have verified the



i,~;!~~;              LoPf_i               Dti ~~~_;Ct¼))                      D5,,~s~.►~, ~f;;~{ulr~a~
O 'loo                                                       :z_fo,~.,____F__lo__w"""er=s.__      =D□a. s
                                                                                         1 J=o"'--e    _ _ _ _ _ _ _ _ __
                                                 DatefTime                      Dentist's Name




                                                                                                       -iOOMOO~~
                                                                                                       3      4 5 6 7 &       ~ 10 II 1Z 13 14 15 16   Ei
                                                                                                           30 29 lB Z7 26 25 2~ 23 22 21 20 19 18 17 .:.j




                                  H. Falgout, EDDA
                                  Health Services
                                  FCC Pollock, LA

AGUILAR LOPEZ, JOSE LUIS                               02007-104                                 POM-POLLOCK MED FCI
    Case 1:13-cr-20911-BB Document 312 Entered on FLSD Docket 11/07/2023 Page 82 of 263




                                                   FCC POLLOCK

                     Dental Sick Call
         Na~e: ~~ ft~\ u ). l CA ·r ! -:}~!;~

         Register#:         G"l,:XJ7- j c> Lf
         Date:        &:,- z 3- 20'l-2..
         Unit/Cell: E t,.J --- ~ 0 9

                                                 Reason for Sick Call:
                                                    .I ,:-,
                                                     I   •
                                                                                         t



                                             Please check all that apply:
             -
            .,. '
      ~ Pain when eating                                       _::::-i>ain ,,,;hen brushing

      _-_ Bleeding gums                                        ____::'"Shooting Pain
         ~
     _Sharp Pain                                                    Tenderness

            Sensitive Teeth                                   ~Swelling
         ,,,,,---
     -      Pain keeps you from sleeping                           Other: _ _ _ _ _ _ _ _ _ _ __

/    How long have you had this pain? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                      Pain Scale: Please check your pain level


                                                                    =
                                                            A .,,.,,-- .
     ©
     ~
        _O-Nopain
                        .
                                                            'O' 6- Pain can't be ignored at all
     ~ - ' · 1- Some pain but OK                              @ 7- Pain Makes it hard to think and sleep
     ~
     \d          2- Mild pain, worse                          @_ 8- Pain limits activity, nausea with pain
     ®-
     A
                    3-Annoying Pain                           @_9-1 cry out in pain
                                                              @·                              Added to sick call.
     'C>'
        4- Distracting Pain                                   \el       10- Passed out        Watch the callouts.
     ~        .
     ~ - 5- Pain too bad to ignore for long
                                                                                                  f?!t-0 ~llIDtt lP/13\7.,z.
                                                                                                  ~~~~;~DA
                                                                                                    Health Services
                                                                                                     FCC Pollock, LA
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                                                          FCC Pollock

                                                        Health Services

                                                Receipt of Prescription Glasses




  Inmate Name:      ~Vl\&: lop~,J.O~~                 Registry Number:        Q20()1...-to4

  I acknowledge that I am in receipt of one pair of prescription eyeglasses that were
  prescribed to me by the Optometrist/Ophthalmologist. I understand that these
  ey_eglasses are my responsibility and will be the only glasses issued to me for the
 next two (~)-years. FCC Pollock will not assume responsibility for replacing any
 lost, stolen, or broken eyeglasses.

 I acknowledge that I have read and understand the above statement and I accept
 -- -    ------ --   - ··--- -- - - - ---- --      - .,. -    -
 the BOP policy regarding the issuance of the eyeglasses.

 Inmate signature A ~                                 D;1te issued \ l   \'2.-'3 \1,12.,
 Issuer Signature   hJ~""- B. Holston, PBT(ASCP)
                               Health Services
                            FCC Pollock, LA

 Attention R & D·Staff:

 These eyeglasses are part of this inmate's personal property and should be sent
 with the inmate when transferred or released.




                                      ••   ✓,   ;".
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  Re: ***R~quest to StaW** AGUILAR LOPEZ, JOSE, Reg# 02007104, POM-E-D
  POM-lnmateToHealthSvcs (BOP) <POM-lnmateToHealthSvcs@bop.gov>
  Mon 6/13/2022 2:02 PM
  To:-"! AGUILAR LOPEZ, -"!JOSE LUIS <02007104@inmatemessage.corri>
  If you are having emergency pain and/or swelling, you may report to sick call for a referral to Dental.

~                                                                      •



  Health Services
  FCC POLLOCK, LA
  06/13/22




 • From: ""11 ! AGUILAR LOPEZ, ~11 !JOSE LUIS <02007104@inmatemessage.com>
   Sent: Monday, June 13, 2022 12:49 PM
 To: POM-lnmateToHealthSvcs (BOP) <POM-lnmateToHealthSvcs@bop.gov>
 Subject: ***Request to Staff*** AGUILAR LOPEZ, JOSE, Reg# 02007104~ POM-E-D

 To: Dental
 Inmate Work Assignment: E-4 Orderly

 ***ATTENTION***

 Please cut and paste the message indicator below into the subject line; only this indicator can be in the
 subject line.
 11 dc6cca-5a9a-4943-9715-0b7cf9204374
 Your response must come from the departmental mail box. Responses from personal mailboxes WILL
 NOT be delivered to the inmate.

 ***Inmate Message Below***




 God bless you!
 Hello Good morning! I have a two teeth that I would like to get pulled out as soon as possible. Thank
 you! God bless you!
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                                                                        Page 1 of 1



  POM-lnmateToHealthSvcs - 0ea8468c-ad6f-4d5a-adc7-7f20bef343f9


  From:      POM-lnmateToHealthSvcs
  To:      , ~"!AGUILAR LOPEZ, ~"!JOSE LUIS
  Subject: 0ea8468c-ad6f-4d5a-adc7-7f20bef343f9



  Sick call is everyday except Wednesday, Federal Holidays, and weekends. You can report at the AM sick call move
  to sign up for dental sick call or you can give a written sick call to the nurse when they make their rounds
  everyday. Electronic cop out cannot be used for dental sick call to be added to the list. Sick call is for pain,
     el ·ng, and infection. If you are not having these issues, you need to sign up for the routine treatment list.

    I             Ur.
           t, E
  Health Services
  FCC POLLOCK, LA
  02/18/22

  >>> ~"!"AGUILAR LOPEZ, ~"!JOSE LUIS" <02007104@inmatemessage.com> 2/18/2022 9:56 AM>>>
  To: Dental                    •
  Inmate Work Assignment: E4 orderly

  ***ATTENTION*tt

  Please cut and paste the message indicator below into the subject line; only this indicator can be in the subject
  line.

  Your response must come from the departmental mail box. Responses from personal mailboxes WILL NOT be
  delivered to the inmate.   •

  ***Inmate Message Below***




  I would like to have 2 molars pulled out, because they hurt. I was told to put in a Via cop out threw turlinks on 2-
  15-21. Thank you




  about:blank                                                                                              2/18/2022
   Case 1:13-cr-20911-BB Document 312 Entered on FLSD Docket 11/07/2023 Page 86 of 263

BP-A1136                              COVID-19 VACCINE CONSENT -INMATE
OCT21

U.S. DEPARTMENT OF JUSTICE                                                            FEDERAL BUREAU OF PRISONS

                                                               Register Number                       Institution



I have been provided a copy of the FDA COVID-19 fact sheet dated _ _ _ _. I have had the opportunity to ask
questions about the benefits and risks of vaccination, including if I am pregnant, breastfeeding, have dermal fillers, or have
a weakened immune system to include taking immunosuppresslve drugs.
Health Questions Prior to COVID-19 Vaccination Check es or no


  □

  □              you have a bleeding disorder or take a blood thinner?
             Have you ever had a severe allergy (i.e., anaphylaxis) OR an immediate allergic reaction of any severity to
             a y component of this vaccine (i.e., PEG, polysorbate), a previous dose of this vaccine, or any other
              accine/in·ectable thera ?
  □            ave you received monoclonal antibody therapy for COVID-19 in the last 90 days?
  □            ave you ever had myocarditis or pericarditis (inflammation of the heart muscle or its lining)?
  □          Have you ever had multisystem inflammatory syndrome (persistent fever and severe inflammation) due to
             COVID-19?
             For the Janssen (Johnson & Johnson) vaccine only:
               Have you ever had Guillain-Barre syndrome (progressive paralysis)?
               Have ou had thrombosis blood clottin with thromboc o enia low latelets in the last 90 da s?
             Haye you ever received a dose of COVID-19 vaccine? If yes, which one?                         •
             li!"Pfizer-BioNTech □ oderna □ Janssen (Johnsor. & Johnson) □ Another product
             How many doses?               Date of last dose:            ,a\
      consent to receive the COVID-19 vaccination.

 Inmate Signature:



 (PRINT) Administered by Name/Credentials:


□ I decline to receive the COVID-19 vaccination.                         FCC POLLOCK, LA
      □ I have already been vaccinated with □ Pfizer-BioNTech □ Moderna D Janssen (Johnson & Johnson)
                                             □ Another product       How many doses? _ _           Date of last dose:
      D Other reason·
 Inmate Signature:                                                                                  ·Date:

 Witness Signature/Credentials:                                                                      Date:

 (PRINT) Witness Name/Credentials:


                                             COVID-19 Vaccine Information

       Dose#                                                                                        Route           Deltoid
                        Vaccine Manufacturer           Lot Number              Expiration Date
 1, 2, 3, or booster
                                                                                                                   D Left
                                                                                                      IM
                                                                                                                     Right



one
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                                                Bureau of Prisons
                                                 Health Services
                                     Clinical Encounter - Administrative Note
Inmate Name:         AGUILAR LOPEZ, JOSE LUIS                                            Reg#:       02007-104
Date of Birth:       06/25/1972                            Sex:      M   . Race:WHITE    Facility:   POM
Note Date:           04/21/2021 12:06                      Provider: Mitchell, B. NP-C   Unit:       E04


Review Note - Consultation Report Review encounter performed at Health Services.
Administrative Notes:
       ADMINISTRATIVE NOTE 1            Provider: Mitchell, B. NP-C
           Seen by ortho 4/16/21. Recommended activity as tolerated and f/u pm.


Copay Required: No                                Cosign Required: No
TelephoneNerbal Order:            No
Completed by Mitchell, B. NP-Con 04/21/2021 12:06




Generated 04/21/2021 12:06 by Mitchell, B. NP-C            Bureau of Prisons - POM                       Page 1 of 1
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                                                Bureau of Prisons
                                                 Health Services
                                     Clinical Encounter - Administrative Note
Inmate Name:         AGUILAR LOPEZ, JOSE LUIS                                           Reg#:       02007-104
Date of Birth:       06/25/1972                         Sex:      M     Race:WHITE      Facility:   POM
Note Date:           04/16/2021 14:16                   Provider: Derrick, M. Health    Unit:       E04


Admin Note - Consultation encounter performed at Health Services.
Administrative Notes:
       ADMINISTRATIVE NOTE 1                Provider: Derrick, M. Health Services Assistant
           Seen by orthopedic specialist Sadler 4/16/2021.


Copay Required: No                             Cosign Required: No
TelephoneNerbal Order:            No
Completed by Derrick, M. Health Services Assistant on 04/20/2021 14:17




Generated 04/20/2021 14:17 by Derrick, M. Health        Bureau of Prisons - POL                         Page 1 of 1
   Case 1:13-cr-20911-BB Document 312 Entered on FLSD Docket 11/07/2023 Page 89 of 263
                                                           Bureau of Prisons
                                                            Health Services
                                                           Clinical Encounter
Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                                    Reg#: 02007-104
Date of Birth: 06/25/1972                                    Sex:      M    Race: WHITE                  Facility: POM
Encounter Date: 04/09/2021 12:51                             Provider: Smith, J NP                       Unit:     E04

Mid Level Provider - Sick Call Note encounter performed at Health Services.
SUBJECTIVE:
     COMPLAINT 1                    Provider: Smith, J NP
         Chief Complaint: ORTHOPEDIC/RHEUMATOLOGY
         Subjective:   48 y/o male presents to sick call with c/o left wrisUforearm pain and swelling s/p ORTHO
                       injection for De Quervain's tenosynovitis on 3/5/21. Inmate reports he rested for one day after
                       the injection and then continued on with his normal work and daily activities. Pain 6/10, no
                       improvement with PRN Ibuprofen.
         Pain:         Yes
         Pain Assessment
           Date:                         04/09/2021 12:54
            Location:                    Forearm-Left
            Quality of Pain:             Aching
            Pain Scale:                  6
            Intervention:                ORTHO referral for follow-up
            Trauma Date/Year:
            Injury:
            Mechanism:
           Onset:                       3-4 Weeks
            Duration:                   3-4 Weeks
            Exacerbating Factors:       palpation/movement
            Relieving Factors:          none
            Reason Not Done:
           Comments:

OBJECTIVE:
Temperature:
     Date               Time           Fahrenheit       Celsius Location                 Provider
     04/09/2021         12:55 POX              97.3          36.3 ,                      Smith, J NP
Pulse:
     Date             Time             Rate Per Minute         Location                  Rhythm        Provider
     04/09/2021 12:55 POX                             67                                               Smith, J NP
Respirations:
     Date                    Time              Rate Per Minute Provider
     04/09/2021              12:55 POX                         18 Smith, J NP
Blood Pressure:
     Date             Time          Value         Location         Position             Cuff Size      Provider
     04/09/2021 12:55 POX           114/70                                                             Smith, J NP
Sa02:
     Date               Time            Value(%) Air                          Provider
Generated 04/09/2021 13:07 by Smith, J NP                     Bureau of Prisons - POM                                      Page 1 of 3
        Case 1:13-cr-20911-BB Document 312 Entered on FLSD Docket 11/07/2023 Page 90 of 263
•.
     Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                         Reg#: 02007-104
     Date of Birth: 06/25/1972                              Sex:      M    Race: WHITE             Facility: POM
     Encounter Date: 04/09/2021 12:51                       Provider: Smith, J NP                  Unit:     E04

          Date              Time             Value(%) Air                    Provider
          04/09/2021        12:55 POX              98                        Smith, J NP

     Exam:
          General
             Affect
                      Yes: Pleasant, Cooperative
               Appearance
                      Yes: Appears Well, Alert and Oriented x 3
               Nutrition
                      Yes: Within Normal Limits
          Head
               General
                      Yes: Symmetry of Motor Function, Atraumatic/Normocephalic
          Pulmonary
               Observation/Inspection
                      Yes: Within Normal Limits
          Cardiovascular
               Observation
                      Yes: Within Normal Limits
          Musculoskeletal
             Wrist/Hand/Fingers
                      Yes: Full Range of Motion L, Normal Bony Landmarks L, Symmetric L, Neurovascular Intact L, Swelling L,
                      Tenderness L
                      No: Erythema L
               Gait
                      Yes: Normal Gait

      ROS Comments
        See HPI
      Exam Comments
         Mild. swelling/tenderness to radial aspect of left wrist and forearm. No redness or limitation in ROM. Neurovascular
         status intact.
     ASSESSMENT:

     Pain in unspecified joint, M2550 - Current

     PLAN:

     New Consultation Requests:
       Consultation/Procedure                      Target Date Scheduled Target Date Priority              Translator     Language
       Orthopedist                                 04/16/2021 04/16/2021             Routine               No
               Subtype:
                  Onsite Eval, NOS
               Reason for Request:
                    48 y/o male presents to sick call with c/o left wrist/forearm pain and swelling s/p ORTHO injection for De
                    Quervain's tenosynovitis on 3/5/21. Inmate reports he rested for one day after the injection and then
                    continued on with his normal work and daily activities. Pain currently 6/10, no improvement with PRN
     Generated 04/09/2021 13:07 by Smith, J NP               Bureau of Prisons - POM                                    Page 2 of 3
        .. 1:13-cr-20911-BB Document 312 Entered on FLSD Docket 11/07/2023 Page 91 of 263
       Case
~                                                                                                     -
    Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                          Reg #: 02007-104
    Date of Birth: 06/25/1972                             Sex:      M    Race: WHITE               Facility: POM
    Encounter Date: 04/09/2021 12:51                      Provider: Smith, J NP                    Unit:     E04

                     Ibuprofen. On exam, tenderness and mild swelling to radial aspect left wrist and forearm. Advised to rest,
                   . elevate extremity, pain meds for pain. Recommend follow up with ORTHO.
    Disposition:
         Follow-up at Sick Call as Needed
         Consultation Written

    Other:
         Pain meds refilled.

         ICE TIO/Elevate/Rest.

    Patient Education Topics:
         Date Initiated Format                         Handout/Topic                              Provider                Outcome
         04/09/2021     Counseling                     Access to Care                             Smith, J                Verbalizes
                                                                                                                          Understanding
         04/09/2021       Counseling                   Plan of Care                               Smith, J                Verbalizes
                                                                                                                          Understanding

    Copay Required:Yes                          Cosign Required: No
    TelephoneNerbal Order:           No
    Completed by Smith, J NP on 04/09/2021 13:07




    Generated 04/09/2021 13:07 by Smith, J NP               Bureau of Prisons - POM                                     Page 3 of 3
 Case
  •   1:13-cr-20911-BB Document 312 Entered on FLSD Docket 11/07/2023 Page 92 of 263

                                                Bureau of Prisons
                                                 Health Services
                                     Clinical Encounter - Administrative Note
Inmate Name:         AGUILAR LOPEZ, JOSE LUIS                                                  Reg#:       02007-104
Date of Birth:       06/25/1972                         Sex:      M     Race:WHITE             Facility:   POM
Note Date:           03/05/2021 13:42                   Provider: Derrick, M. Health           Unit:       E04


Admin Note - Consultation encounter performed at Health Services.
Administrative Notes:·
       ADMINISTRATIVE NOTE 1                 Provider:       Derrick, M. Health Services Assistant
           Seen by orthopedic specialist 3/5/2021.


Copay Required: No                             Cosign Required: No
TelephoneNerbal Order:             No
Completed by Derrick, M. Health Services Assistant on 03/08/2021 13:43




                               /




Generated 03/08/2021 13:43 by Derrick, M. Health        Bureau of Prisons - POM                                Page 1 of 1
 Case
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                                               Bureau of Prisons
                                                Health Services
                                    Clinical Encounter - Administrative Note
Inmate Name:        AGUILAR LOPEZ, JOSE LUIS                                           Reg#:       02007-104
Date of Birth:      06/25/1972                       Sex:      M    Race:WHITE         Facility:   POM
Note Date:          01/26/2021 10:54                 Provider: Smith, J NP             Unit:       E04


Admin Note - Orders encounter performed at Health Services.
Administrative Notes:
       ADMINISTRATIVE NOTE             1        Provider: Smith, J NP
              Inmate tested COVID (+) 1/13/21

              10 Day Isolation period completed 1/23/21. COVID Symptom Screen completed this AM, inmate denies
              symptoms.

              RECOMMEND D/C Isolation.

ASSESSMENTS:
Confirmed case COVID-19, U07.1 - Resolved

Copay Required: No                          Cosign Required: No
TelephoneNerbal Order:           No
Completed by Smith, J NP on 01/26/2021 10:55
Requested to be reviewed by Markey, J. MD.
Review documentation will be displayed on the following page.




Generated 01/26/2021 10:55 by Smith, J NP            Bureau of Prisons - POM                           Page 1 of 1
                                                                        )

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                                         Bureau of Prisons
                                          Health Services
                                          Cosign/Review
Inmate Name:    AGUILAR LOPEZ, JOSE LUIS                                    Reg#:       02007-104
Date of Birth:  06/25/1972                  Sex:          M                 Race:       WHITE
Encounter Date: 01/26/2021 10:54            Provider:     Smith, J NP       Facility:   POM

Reviewed by Markey, J. MD on 01/26/202112:15.




                                            Bureau of Prisons - POM
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                                                  Bureau of Prisons
                                                   Health Services
                                       Clinical Encounter - Administrative Note.
   Inmate Name:        AGUILAR LOPEZ, JOSE LUIS                                                Reg#:       02007-104
   Date of Birth:      06/25/1972                             Sex:      M    Race:WHITE        Facility:   POM
   Note Date:          01/13/2021 16:39                       Provider: Johnson, Jessica ROH   Unit:       E04


   POC Note - Default encounter performed at Housing Unit.
   Administrative Notes:
          ADMINISTRATIVE NOTE             1              Provider: Johnson, Jessica ROH
                COVID-19 AG point of care testing completed on AGUILAR LOPEZ, JOSE LUIS, register number 02007-104
                at 01/13/202115:00
                COVID-19 AG: Positive
                Reference Range: Negative
                Critical Result: Positive
                Asymptomatic


   Copay Required: No                            Cosign Required: No
   TelephoneNerbal Order:           No
   Completed by Johnson, Jessica ROH on 01/13/2021 16:39
   Requested to be reviewed by Markey, J. MD.
   Review documentation will be displayed on the following page.




,,. Generated 01/13/2021 16:39 by Johnson, Jessica ROH        Bureau of Prisons - POM                          Page 1 of 1
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                                         Bureau of Prisons
                                          Health Services
                                          Cosign/Review
Inmate Name:    AGUILAR LOPEZ, JOSE LUIS                                        Reg#:       02007-104
Date of Birth:  06/25/1972                  Sex:         M                      Race:       WHITE
Encounter Date: 01/13/2021 16:39            Provider:    Johnson, Jessica ROH   Facility:   POM

Reviewed by Markey, J. MD on 01/13/202117:05.




                                           Bureau of Prisons - POM
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                                                      Bureau of Prisons
                                                       Health Services
                                                      Clinical Encounter
Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                              Reg#: 02007-104
Date of Birth: 06/25/1972                                 Sex:      M   Race: WHITE                Facility: POM
Encounter Date: 01/06/2021 09:18                          Provider: Markey, J. MD                  Unit:     E04


Chronic Care - Chronic Care Clinic encounter performed at Health Services.
SUBJECTIVE:
     COMPLAINT 1                 Provider: Markey, J. MD
         Chief Complaint: Chronic Care Clinic
         Subjective:   Mr. Aguilar Lopez is a 48 year old gentleman seen for chronic care. Spanish translation
                       provided by Maria ID # 206527 of language line solutions.

                        Ortho: At last visit he reported bilateral wrist pain. Tylenol helps the pain. ROM full, no right
                        wrist snuffbox tenderness. X ray showed right wrist scapholunate widening 5 mm concerning
                        for a scapholunate interosseous ligament tear. Will consult ortho for recommendations.

                        He experienced chest pain that has since resolved after treatment of Helicobacter pylori
                        infection was treated. He reports occasional acid reflux. May use PPI as needed.
         Pain:          Not Applicable
Seen for clinic(s): Gastrointestinal, Orthopedic/Rheumatology
Added to clinic(s): Orthopedic/Rheumatology

OBJECTIVE:
Temperature:
     Date             Time            Fahrenheit     Celsius Location                 Provider
     01/06/2021       09:47 POX               98.4        36.9                         Markey, J. MD
Pulse:
     Date                             Rate Per Minute       Location                  Rhythm      Provider
     01/06/2021 09:47 POX                            77                                           Markey, J. MD
Respirations:
     Date                 Time·               Rate Per Minute Provider
     01/06/2021            09:47 POX                        18 Markey, J. MD
Blood Pressure:
                   Time                        Location          Position            Cuff Size   Provider
     01/06/2021 09:47 POX          132/69                                                        Markey, J. MD
Sa02:
     Date             Time             Value(%) Air                         Provider
     01/06/2021       09:47 POX              99                             Markey, J. MD

 ROS Comments
    CONSTITUTIONAL: No weight loss, fever, chills, weakness or fatigue.
    HEENT: Eyes: No visual loss, blurred vision, double vision or yellow sclerae.
    ENT: No hearing loss, sneezing, congestion, runny nose or sore throat.
    SKIN: No rash or itching.
    CARDIOVASCULAR: No·chest pain, chest pressure or chest discomfort. No palpitations or edema.
    RESPIRATORY: No shortness of breath, cough or sputum.
    GASTROINTESTINAL: No anorexia, nausea, vomiting or diarrhea. No abdominal pain or blood.
    GENITOURINARY: No Burning on urination.
Generated 01/06/2021 09:56 by Markey, J. MD                Bureau of Prisons - POM                                    Page 1 of 3
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i Inmate Name:   AGUILAR LOPEZ, JOSE LUIS                                                           Reg #: 02007-104
  Date of Birth: 06/25/1972                               Sex:      M   Race: WHITE                 Facility: POM
  Encounter Date: 01/06/2021 09:18                        Provider: Markey, J. MD                   Unit:     E04

     NEUROLOGICAL: No headache, dizziness, syncope, paralysis, ataxia, numbness or tingling in the extremities. No
     change in bowel or bladder control.
     MUSCULOSKELETAL: No muscle or back pain,+ joint pain or stiffness.
     HEMATOLOGIC: No anemia, bleeding or bruising.
     ENDOCRINOLOGIC: No reports of sweating, cold or heat intolerance. No polyuria or polydipsia.
     ALLERGIES: No history of hives, eczema or rhinitis.
   Exam Comments
     PATIENT AAOX3, NO ACUTE DISTRESS.
     HEAD: NORMOCEPHALIC, ATRAUMATIC.
     EYES: PERRLA, EOMI.
     ENT: INTACTED TYMPANIC MEMBRANE BILATERALLY, NO BULGING OR EFFUSION.
     PATENT NARES, NO CONGESTION OR DISCHARGED NOTED.
     NECK: MIDLINE TRACHEA, FULL ROM, NO JVD, NO LYMPHADENOPATHY, NO THYROMEGALY, NO CAROTID
     MURMURS OR BRUITS.
     SKIN: NO RASH.
     CARDIO: RRR, S1S2, NO MURMURS, RUBS, OR GALLOPS.
     PULM: CTAB, NO CRACKLES, RONCHI OR WHEEZING.
     ABD: SOFT, NT, ND, BS+, NO RIGIDITY, NO GUARDING.
     UPPER EXT: FULL ROM, PALPABLE PULSES.
     LOWER EXT:FULL ROM, PALPABLE PULSES. NO PITTING EDEMA BILAT.
     NEURO: CN 2-12 GROSSLY INTACT, NO MOTOR DEFICIT, NO GAIT ABNORMALITIES.
 ASSESSMENT:

 Injury of wrist, hand and finger(s), unspecified, S6990XS - Current - concern for scapholunate interosseous ligament injury
 Pain in unspecified joint, M2550 - Current

 PLAN:
 New Medication Orders:
 Rx#          Medication                                                                                        Order Date
                  Acetaminophen 325 MG Tablet                                                                   01/06/2021 09:18
                         Prescriber Order:       325 mg Orally - daily PRN x 180 day(s) -- take two tablets by mouth daily
                                                 as needed for pain
                         Indication:   Injury of wrist, hand and finger(s), unspecified
 New Consultation Requests:
   Consultation/Procedure                      Target Date Scheduled Target Date Priority                      Translator    Language
   Orthopedist                                 01/22/2021     01/22/2021                  Routine              No
           Subtype:
              Onsite Eval, NOS
           Reason for Request:
                48M with three month history of right wrist pain that he noticed after working on the floor. ROM good, no
                snuffbox tenderness. X ray right wrist shows scapholunate widening 5 mm concerning for scapholunate
                interosseous ligament tear.
 Disposition:
     Follow-up at Sick Call as Needed
     Follow-up at Chronic Care Clinic as Needed

 Patient Education Topics:
     Date Initiated Format                            Handout/Topic                                 Provider                 Outcome


 Generated 01/06/2021 09:56 by Markey, J. MD                Bureau of Prisons - POM                                         Page 2 of 3
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►   Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                              Reg#: 02007-104
    Date of Birth: 06/25/1972                              Sex:      M   Race: WHITE   Facility: POM
    Encounter Date: 01/06/2021 09:18                       Provider: Markey, J. MD     Unit:     E04

         Date Initiated Format                          Handout/Topic                  Provider            Outcome
         01/06/2021     Counseling                      Plan of Care                   Markey, J.          Verbalizes
                                                                                                           Understanding

    Copay Required: No                            Cosign Required: No
    TelephoneNerbal Order:           No
    Completed by Markey, J. MD on 01/06/2021 09:56




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i                                                        Bureau of Prisons
                                                          Health Services
                                                             Vitals All
     Begin Date: 12/11/2020                                   End Date:    12/11/2021
     Reg#:       02007-1M                                     Inmate Name: AGUILAR LOPEZ, JOSE LUIS

    Temperature:
         Date             Time            Fahrenheit     Celsius Location                  Provider
         04/09/2021       12:55 POX               97.3        36.3                      Smith, J NP
                   Orig Entered: 04/09/2021 14:00 EST Smith, J NP
         01/14/2021     12:58 POX          97.6     36.4                                Mayeaux, Jarryd RN
                  Orig Entered: 01/14/2021 14:00 EST Mayeaux, Jarryd RN
         01/06/2021     09:47 POX          98.4     36.9                                Markey, J. MD
                  Orig Entered: 01/06/202110:48 EST Markey, J. MD

    Pulse:
         Date                            Rate Per Minute        Location                Rhythm        Provider
         04/09/2021 12:55 POX                    67                                                   Smith, J NP
                  Orig Entered: 04/09/2021 14:00 EST Smith, J NP
         01/14/2021 12:58 POX                    69                                                   Mayeaux, Jarryd RN
                  Orig Entered: 01/14/2021 14:00 EST Mayeaux, Jarryd RN
         01/06/2021 09:47 POX                    77                                                   Markey, J. MD
                   Orig Entered: 01/06/2021 10:48 EST Markey, J. MD

    Respirations:
         Date                 Time               Rate Per Minute Provider
         04/09/2021           12:55 POX                         18 Smith, J NP
                  Orig Entered: 04/09/2021 14:00 EST Smith, J NP
         01/06/2021        09:47 POX                 18 Markey, J. MD
                   Orig Entered: 01/06/2021 10:48 EST Markey, J. MD

    Blood Pressure:
         Date          Time           Value        Location          Position         Cuff Size       Provider
         04/09/2021 12:55 POX 114/70                                                                  Smith, J NP
                  Orig Entered: 04/09/2021 14:00 EST Smith, J NP
         01/06/2021 09:47 POX 132/69                                                                  Markey, J. MD
                   Orig Entered: 01/06/2021 10:48 EST Markey, J. MD

    SaO2:
         Date             Time             Value(%) Air                         Provider
         04/09/2021       12:55 POX                98                           Smith, J NP
                   Orig Entered: 04/09/2021 14:00 EST Smith, J NP
         01/14/2021      12:58 POX          98                    Mayeaux, Jarryd RN
                  Orig Entered: 01/14/2021 14:00 EST Mayeaux, Jarryd RN
         01/06/2021     09:47 POX          99                    Markey, J. MD
                   Orig Entered: 01/06/2021 10:48 EST Markey, J. MD




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                                                                       Bureau of Prisons
                                                                        Health Services
                                                                             PPDs
Reg#:     02007-104                                 Inmate Name: AGUILAR LOPEZ, JOSE LUIS

Admin:                   Location                   Provider                         Reading:                 lnduration        Provider
11/27/2013     17:50     Left Forearm               Reynaldo, A. MLP                 11/29/2013 21:43         21 mm             Varela, Ricardo RN
        Orig Entered:     11/27/2013 17:52 EST Reynaldo, A. MLP                         Orig Entered:   11/29/2013 21 :43 EST Varela, Ricardo RN
Total: 1




Generated 12/12/2022 12:31 by Nugent, Kim HIT/LPN                        Bureau of Prisons - POM                                                     Page 1 of 1
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02007-104       AGUILAR LOPEZ, JOSE                                    Medication Administration Record                                                                                             DECEMBER 2020
                 Medication Orders                              Time     1 2 3 4 5 6 -7 8 9 10 11 12 13 14 15 16 17 18 19 20 21 22 23 24 25 26 27 28 29 30 31
Ord. Date                                     Markey, J. MD              2      2        2       2       2       2       2
11/23/20                                                       0630    BAV     JLF      MD      BAV    DLW      GJB    JDK     X   X    X   X    X    X    X   X    X    X   X    X    X    X   X    X    X   X   X   X    X   X   X   X

08:10       Take two capsules (1000 MG) by mouth twice
                                                       '               07:51   07:29   07:4~   08:33   07:30   07:29   07:37


Exp. Date   daily for 14 days                                           2        2       2       2      2        2
12/07/20                                                       1930    GJB     GJB      GJB    GJB     DLW     GJB      X      X   X    X   X    X    X    X   X    X    X   X    X    X    X   X    X    X   X   X   X    X   X   X   X
                                                                       17:28   17:37   21:13   17:17   18:17   17:43
08:09



POX
140369-
CP1         Amoxicillin 500 MG Cap

Ord. Date                                     Markey, J. MD              1       1       1       1       1       1       1
11/23/20                                                       0630    BAV      JLF     MD     BAV     DLW     GJB     JDK     X   X    X   X    X    X    X   X    X    X   X    X    X    X   X    X    X   X   X   X    X   X   X   X
                                                                       07:51   07:29   D7:49   08:33   07:30   07:29   07:37
08:09       Take one tablet (500 MG) by mouth twice daily ••
Exp. Date   for 14 days                                                  1       1       1       1      1        1
12/07/20                                                       1930    GJB     GJB     GJB     GJB     DLW     GJB       X     X   X    X    X   X    X    X   X    X    X    X   X    X    X   X    X    X   X   X   X    X   X   X   X
                                                                       17:28   17:37   21:13   17:17   18:17   17:43
08:08



POX
140368-
CP1         Clarithromycin 500 MG Tab

Ord. Date                                     Markey, J. MD             1        1       1       1       1       1       1
11/23/20                                                       0630    BAV      JLF     MD     BAV     DLW     GJB     JDK     X   X    X    X   X    X    X   X    X    X    X   X    X    X   X    X    X   X   X   X    X   X   X   X
                                                                       07:51   07:29   07:49   08:33   07:30   07:29   07:37
08:10       Take one capsule (20 MG) by mouth twice daily
Exp. Date   for 14 days                                                 1        1      1        1       1       1
12/07/20                                                       1930    GJB      GJB    GJB     GJB     DLW      GJB      X     X   X    X    X   X    X    X   X    X    X    X   X    X    X   X     X   X   X   X   X    X   X   X   X
                                                                       17:28   17:37   21:13   17:17   18:17   17:43
08:09



POX
140371-
CP1         Omeprazole 20 MG Cap




Providers: BAV = Velotta, B. I JDK = Koon, J. I JLF = Fruge, J. I MD= Dunbar, M. I DLW = Walters, D. I GJB = Boone, G.

Documentation Codes: ORD = Order




Registration -n: 02007-104              Pt. Name: AGUILAR LOPEZ, JOSE                                                                                      DOB: 06/25/72
                                                                                                                               Report information is current as of the date and time of printing:   12/12/2022 13:31 EST
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                                                    Federal Bureau of Prisons
                                                         SCREENINGS
Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                     Reg#: 02007-104
Date of Birth: 06/25/1972                               Sex: M        Race: WHITE         Facility: POM
Encounter Date: 01/19/2021 11 :06                       Provider: Rhodes, Jo Anne RN      Unit:     E04


Screenings:
     COVID-19
          Quarantine
               No: Vital Signs w/O2 sat recorded in flowsheet, Cough, Shortness of Breath, Fatigue, Body aches



Cosign Required:No
Completed by Rhodes, Jo Anne RN on 01/19/2021 11 :07.




Generated 01/19/2021 11 :07 by Rhodes, Jo Anne RN         Bureau of Prisons - POM                                Page 1 of 1
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                                                   Federal Bureau of Prisons
                                                        SCREENINGS
Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                     Reg#: 02007-104
Date of Birth: 06/25/1972                              Sex: M        Race: WHITE          Facility: POM
Encounter Date: 01/15/2021 12:04                       Provider: Rhodes, Jo Anne RN       Unit:     E04


Screenings:
    COVID-19
         Quarantine
               No: Vital Signs w/O2 sat recorded in flowsheet, Cough, Shortness of Breath, Fatigue, Body aches



Cosign Required:No
Completed by Rhodes, Jo Anne RN on 01/15/2021 12:04.




Generated 01/15/2021 12:04 by Rhodes, Jo Anne RN         Bureau of Prisons - POM                                 Page 1 of 1
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                                                   Federal Bureau of Prisons
                                                        SCREENINGS
Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                              Reg#: 02007-104
Date of Birth: 06/25/1972      •                          Sex: M        Race: WHITE                Facility: POM
Encounter Date: 01/14/2021 12:59                          Provider: Mayeaux, Jarryd RN             Unit:     E04


Screenings:
    COVID-19
          Isolation
               Yes: Vital Signs w/O2 sat recorded in flowsheet
               No: Cough, Shortness of Breath, Fatigue, Body aches, Sore throat, Diarrhea, Headache, Loss of taste or
               smell, Nausea or vomiting
Temperature:
    Date              Time            Fahrenheit     Celsius Location                 Provider
    01/14/2021        12:58 POX               97.6         36.4                       Mayeaux, Jarryd RN

Pulse:
    Date          Time               Rate Per Minute         Location                 Rhythm      Provider
    01/14/2021 12:58 POX                             69                                           Mayeaux, Jarryd RN


Sa02:
    Date              Time            Value(%) Air                           Provider
    01/14/2021        12:58 POX             98                               Mayeaux, Jarryd RN

Cosign Required:No
Completed by Mayeaux, Jarryd RN on 01/14/2021 13:00.




Gen~rated 01/14/2021 13:00 by Mayeaux, Jarryd RN            Bureau of Prisons - POM                                    Page 1 of 1
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                                                                       Bureau of Prisons
                                                                        Health Services
                                                                     Devices and Equipment
Start Date:     12/11/2020                                           Stop Date:   12/11/2021
Reg#:           02007-104                                            Inmate Name: AGUILAR LOPEZ, JOSE LUIS

Device/Equipment                                    Start Date   Stop Date     Date Returned           Obtained From   Comments
Eye Glasses
 06/09/2018 14:45 EST Richmond, Erinn RN            06/09/2018                                         BOP

Total: 1




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                                                                   Bureau of Prisons
                                                                    Health Services
                                                                   Pain Management
Begin Date: 12/11/2020                                                                         End Date:    12/11/2021
Reg#:       02007-104                                                                          Inmate Name: AGUILAR LOPEZ, JOSE LUIS
Date                 ~                              Location       • Pre Intervention                                 Post   Provider
04/09/2021 12:54 POX Aching                         Forearm-Left      6 ORTHO referral for follow-up                         Smith, J NP
                  Orig Entered: 04/09/2021 13:56 EST Smith, J NP




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Case
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                                                     Bureau of Prisons
                                                      Health Services
                                                         Allergies
Reg#: 02007-104                                     Inmate Name: AGUILAR LOPEZ, JOSE LUIS

Allergy                                                 Date Noted               Reaction
No Known Allergies                                      11/27/2013
          Orig Entered:    11/27/2013 17:51 EST Reynaldo, A. MLP
Total: 1




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                           Case 1:13-cr-20911-BB Document 312 Entered on FLSD Docket 11/07/2023 Page 109 of 263
                                                                       Bureau of Prisons
                                                                        Health Services
                                                            Patient Education Assessments & Topics
Reg#: 02007-104                          Inmate Name: AGUILAR LOPEZ, JOSE LUIS

                                                                                  Assessments
    Assessment Date Learns Best By                  Primary Language    Years of Education       Barriers To Education              Provider
    Total: 0

                                                                                       Topics
    Date Initiated            Format                   Handout/Topic                                    Outcome                     Provider
    04/09/2021                Counseling               Access to Care                                   Verbalizes Understanding    Smith, J
                  Orig Entered:     04/09/2021 14:05 EST Smith, J
    04/09/2021                Counseling               Plan of Care                                     Verbalizes Understanding    Smith, J
                  Orig Entered:     04/09/2021 14:05 EST Smith, J
    01/06/2021                Medication               Acetaminophen 325 MG Tab                         Pharmacy No participation   Fruge, Jacinda
                  Orig Entered:     01/06/2021 19:14 EST Fruge, Jacinda
    01/06/2021                Counseling               Plan of Care                                     Verbalizes Understanding    Markey, J.
                  Orig Entered:     01/06/2021 10:53 EST Markey, J.
    12/12/2020                Medication               Omeprazole 20 MG Cap                             Pharmacy No participation   Boone, Glenda
                  Orig Entered:     12/12/2020 20:19 EST Boone, Glenda
    Total: 5




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  •.
                              Case 1:13-cr-20911-BB Document 312 Entered on FLSD Docket 11/07/2023 Page 110 of 263
                                                                           Bureau of Prisons
                                                                            Health Services
                                                                            Health Problems
 Reg#: 02007-104                                      Inmate Name: AGUILAR LOPEZ, JOSE LUIS

  Description                                                                               ~       Code Type    Code    Diag. Date Status     Status Date

                                                                             Current
  Retained dental root
   02/05/2014 13:42 EST Smith, W. DMD                                                           Ill ICD-9        525.3   01/30/2014 Current     01/30/2014
         #8 nonrestorable root tip.
  LTBI Prophy Refused
   03/12/2018 16:29 EST Bergmann, M RN                                                         Ill ICD-10       795.5D   04/20/2015 Current·    03/12/201~
   04/20/2015 13:55 EST Lee, S. MD                                                             Ill ICD-9        795.5D   04/20/2015 Resolved    04/20/2015
  Corneal degeneration, unspecified
  •02/15/2022 13:26 EST Barry, Timothy OD                                                           ICD-10      H1840    02/15/2022 Current
          KARCUS.
  Hypermetropia
   03/17/2020 16:02 EST Mitchell, 8. NP-C                                                           ICD-10      H5200    03/10/2020 Current

  Astigmatism
   03/17/2020 16:02 EST Mitchell, B. NP-C                                                           ICD-10      H52209   03/10/2020 Current

  Presbyopia
   03/17/2020 16:02 EST Mitchell, B. NP-C                                                           ICD-10       H524    03/10/2020 Current

  Dental caries on pit and fissure surface penetrat into pulp
   06/24/2022 15:04 EST Flowers, Joe DDS                                                            ICD-10       K0253   06/24/2022 Current

  Abrasion of teeth
   08/16/2016 10:55 EST Nieto, Jorge DMD                                                            ICD-10        K031   08/16/2016 Current

  Disease of hard tissues of teeth
   09/09/2019 12: 11 EST Flowers, Joe DDS                                                           ICD-10        K039   09/09/2019 Current

  Aggressive periodontitis, localized
   06/24/2022 14:56 EST Flowers, Joe DDS                                                            ICD-10       K0521   06/24/2022 Current

  Pain in unspecified joint
   12/08/2020 14:55 EST Markey, J. MD                                                               ICD-10      M2550    12/08/2020 Current
           bilateral wrists
• Injury of wrist, hand and finger(s), unspecified

 Ge11;rated 12/12/2022 12:31 by Nugent, Kim HIT/LPN                           Bureau of Prisons - POM                                          Page 1 of 3
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                                                                                                                                                         ~




Reg#: 02007-104                                     Inmate Name: AGUILAR LOPEZ, JOSE LUIS
                                                                                                                                                             .,
Description                                                                               Axis Code Type     Code    Diag. Date Status     Status Date
 01/11/2022 14:28 EST Smith, J NP                                                                 ICD-10    U07.1    01/11/2022 Current
Confirmed case COVID-19
 01/26/2021 11 :55 EST Smith, J NP                                                                ICD-10    U07.1    01/13/2021 Resolved    01/26/2021
 01/13/2021 18:05 EST Markey, J. MD                                                               ICD-10    U07.1    01/13/2021 Current


                                                                           Current
Disease ef hafd tissues ef teeth
 06/28/2022 11 :06 EST Fle·wefs, Jee DDS                                                          ICD 10     M39     06/24/2022 CUffeflt
 06/24/2022 15:14 EST Flowers, Joe DDS                                                            ICD-10     K039    06/24/2022 Current
Corofla'.tirus COVID 19 test fle§ati'.te
  01/12/2022 16:25 EST Sffiith, J NP                                                              ICD 10   203818    01/11/2022 CUfFeflt
        --error
  01/12/2022 16:24 EST Smith, J NP                                                                ICD-10   203818-   01/11/2022 Current


 Total: 22




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                                                     Bureau of Prisons
                                                      Health Services
                                                      Vision Screens
 Reg#: 02007-104                               Inmate Name: AGUILAR LOPEZ, JOSE LUIS

 Vision Screen on 02/15/2022 12:22
   Blindness:
   Distance Vision: OD: 20/100                                 OS: 20/100                        OU:
   Near Vision:          OD:                                   OS:                               OU:
   With Corrective
   Distance Vision: OD: 20/20                                  OS: 20/20                         OU:
   Near Vision:          OD:                                   OS:                               OU: 20/20
   Present Glasses - Distance                                          Refraction - Distance
        Sphere          Cylinder     Axis           Add                     Sphere    Cylinder     Axis      Add
   R:                                                                  R: +2.75       -0.25        80        +1.5
   L:                                                                  L: +3.00       -0.50        85        +1.5
   Color Test:
   Tonometry:       R: 12              L: 12
   Comments: TA AT: 12:24 PM
        Orig Entered:    02/15/2022 13:24 EST Barry, Timothy OD




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                                                    Bureau of Prisons
                                                     Health Services
                                                      COVID-19 AG
Begin Date: 12/11/2020                                   End Date:    12/11/2021
Reg#:       02007-104                                    Inmate Name: AGUILAR LOPEZ, JOSE LUIS
(Reference Range - Negative)
Effective Date           COVID-19 AG                                            Provider
12/06/2021 12:00 POX     Negative                           Asymptomatic        Holston, Bailey Phlebotomist
      Exposure.100%.
         Orig Entered:    12/07/2021 13:00 EST Holston, Bailey Phlebotomist
01/13/2021 15:00 POX           Positive                     Asymptomatic        Johnson, Jessica ROH

         Orig Entered:    01/13/2021 17:39 EST Johnson, Jessica RDH
Total: 2




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                                                                                                                                                      ..
                                                                       Bureau of Prisons
                                                                        Health Services                                                                    •
                                                                        Immunizations
Begin Date:    12/11/2020                                    End Date:        12/11/2021
Reg #:         02007-104                                     Inmate Name: AGUILAR LOPEZ, JOSE LUIS
Immunization                        Immunization Date   Administered     Location           Dosage Drug Mfg.   Lot#     Dose#   Exp Date
COVID-19 Pfizer-BioNTech            05/04/2021          Now              Left Deltoid       0.3mL Pfizer       EW0182   2       08/01/2021

         Orig Entered: 05/04/2021 10:01 EST Fruge, Jacinda RN
COVID-19 Pfizer-BioNTech    04/13/2021           Now                     Right Deltoid      0.3mL   Pfizer     EW0164   1       08/21/2021

            Orig Entered: 04/13/2021 17:15 EST Mayeaux, Jarryd RN
Total: 2




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                                                     Bureau of Prisons
                                                      Health Services
                                                    Medication Summary
                                                         Historical
Complex: POX--POLLOCK USP                                      Begin Date: 12/11/2020           End Date: 12/11/2021
Inmate:  AGUILAR LOPEZ, JOSE LUIS                               Reg#:             02007-104     Quarter:   E04-209L

Medications listed reflect prescribed medications from the begin date to end date on this report.
Allergies:                                    Denied


Active Prescriptions
   Acetaminophen 325 MG Tab
   Take two tablets (650 MG) by mouth each day as needed for pain -- o/r
   Rx#:    156121-CP1           Doctor: Markey, J. MD
   Start: 01/06/21              Exp: 07/05/21                              Pharmacy Dispensings: 120 TAB in 180 days

   Omeprazole 20 MG Cap
   Take one capsule (20 MG) by mouth each day "Chronic Care Verified"
   Rx#:    145818-CP1           Doctor: Markey, J. MD
   Start: 12/08/20              Exp: 06/06/21                              Pharmacy Dispensings: 30 CAP in 180 days




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                                                                                  .--    --   --------------
         /
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BP-A1136                                      COVID-19 VACCINE CONSENT - INMATE
FEB21
U.S. DEPARTMENT OF JUSTICE                                                                    FEDERAL BUREAU OF PRISONS
I have been provided a copy of the COVID-19 Vaccine Emergency Use Authorization (EUA) fact
sheet dated 0212021         . I have had the opportunity to ask questions about the benefits and
risks of vaccination, including if I am pregnant, breastfeeding or have a weakened immune system.
I will agree to complete the number of vaccine doses as appropriate and indicated by the
manufacturer.
Health Questions Prior to COVID-19 Vaccination (Check yes or no)
 Yes No Health Questions
      □    I;\]/ Are you sick today?.
      □
           k:      Have you ever had a severe allergy (i.e., anaphylaxis) or an immediate allergic reaction of any severity to
                  anv comoonent of this vaccine or to a previous dose of this vaccine?                                       •
      □    rtL    Have you ever had an immediate allergic reaction to any other vaccine/injectable therapy?
      □
           I~ Have you had any other vaccinations in the last 14 days?
      □    !~ ...., Have you received monoclonal antibody therapy for COVID-19 in the last 90 days?
~I consent to receive the COVID-1 ~ vaccination.
       Dose#           Vaccine Manufacturer                  Lot Number      Expiration       Route               Deltoid
       (1 or 2l                                                                Date
                                                                                                        J{'Left
                                                                                               IM
        2        Pfizer                                     EW0182            08/2021                   D Riaht
      Inmate Signature                                                                                 Date

      v~
      )\aministered by Signature
                                                     I
                                                                                   J. Fr,,,.~ DL\I
                                                                                                        r;; 4lll
                                                                                                       Datt
                                                                                                              I




                                                             "l ,
                                                                                 Health Services
                                                                                Fee-··                   )-ll--~\
      Administered bv (name/title}
                                                     ,
                                                              -                                  I A



                                                     ....

□ I decline to receive the COVID-19 vaccination.
      Inmate Signature                                                                                 Date


      Witness Signature                                                                                Date


      (PRINT) Witness Name



      (PRINT) Inmate Name (1,.ast, First}                   Register Number

        Ai:iuilar Lopez, Jose                                02007-104
      Institution                                           Unit                        Work Assignment

       FCI Pollock                                             E04-102U


                                   DOCUMENT VACCINE ADMINISTRATION IN BEMR FLOW SHEETS
                           SCAN VACCINE CONSENT IN BEMR DOCUMENT MANAGER-VACCINATION CONSENT
,,'    '



                                                      Prescribed by PS6190
r-------------------------
  Case 1:13-cr-20911-BB Document 312 Entered on FLSD Docket 11/07/2023 Page 117 of 263
        BP-A1136                                      COVID-19 VACCINE CONSENT-INMATE
        FEB 21
        U.S. DEPARTMENT OF JUSTICE                                                                FEDERAL BUREAU OF PRISONS
                                      •     El a   srz:rnrrs
      I have been proyided a copy of the COVID-19 Vaccine Emergency Use Authorization (EUA) fact
     sheet dated 1... f'l.01.-\ . I have had the opportunity to ask questions about the benefits and
     risks of vaccination, including if l am pregnant, brea·stfeeding or have a weakened immune system.
     I wfll agree to complete the number of vaccine doses as appropriate and indicated by the
     manufacturer.
     Hen Ith Questions Prior to COVID-19 Vaccination (Check yes or no)
        Yes      No       Health Questions


         Q                ave you ever had a severe allergy (i.e., anaphylaxis) or an immediate allergic reaction of any severity to
                      a     com anent of this vaccine or to a revious dose of this vaccine?




    "$ 1consent to receive the COVID-19 vaccination.
         Dose#              Vaccine Manufacturer                 Lot Number       Expiration    Route                   Deltoid
         1 or 2                                                                     Date
                                                                                                            D    Left
                                                                                                  IM
                                                                                                           o Ri ht
                      nature                                                                              Date


                                                                                                          Date

                                                                 x,RW




   □ J decline to receive the COVID-19 vaccination.
     Inmate Signature                                                                                    Date


                                                                                                         Date


        PRINT Witness Name



    (PRINT) Inmate Name (Last, First)                          Register Number


                                                                                        Work Assi nment




                                      DOCUMENT VACCINE ADMINISTRATION IN 8EMR FLOW SHEETS
                              SCAN VACCINE CONSENT IN BEMR DOCUMENT MANAGER - VACCINATION CONSENT


  PDF                                                     Prescribed by PS6190
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                                               Bureau of Prisons
                                                Health Services
                                    Clinical Encounter - Administrative Note
Inmate Name:        AGUILAR LOPEZ, JOSE LUIS                                          Reg#:       •02007-104
Date of Birth:      06/25/1972                            Sex:      M    Race:WHITE   Facility:    POM
Note Date:          10/18/2022 14:04                      Provider: Lyons, T. FNP-C   Unit:        E04


Admin Note - Orders encounter performed at Health Services.
Administrative Notes:
       ADMINISTRATIVE NOTE 1                         Provider: Lyons, T. FNP-C
           FOB screening order


New Non-Medication Orders:
Order                   Frequency                       Duration            Details               Ordered By
Fecal Occult Blood      One Time                                                                  Lyons, T. FNP-C
                        Order Date:                10/18/2022
Copay Required: No                              Cosign Required: •No
TelephoneNerbal Order:           No
Completed by Lyons, T. FNP-C on 10/18/2022 14:06




Generated 10/18/2022 14:06 by Lyons, T. FNP-C             Bureau of Prisons - POM                      Page 1 of 1
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                                              Bureau of Prisons
                                               Health Services
                                   Clinical Encounter - Administrative Note
Inmate Name:        AGUILAR LOPEZ, JOSE LUIS                                              Reg#:       ,02007-104
Date of Birth:      06/25/1972                           Sex:      M   Race:WHITE         Facility:   POM
Note Date:          10/06/2022 10:39                     Provider: Nugent, Kim HIT/LPN    Unit:       E04


Admin Note - Release of Information encounter performed at Health Services.
Administrative Notes:
      ADMINISTRATIVE NOTE             1             Provider: Nugent, Kim HIT/LPN
             Inmate Aguilar Lopez, Jose received the following copies from his medical record as requested on an Inmate
             Request to Staff dated 10-04-22:

             Complete medical record using the BEMR Print Chart Function dated 10-04-21 through 10-04-22, 62 pages. 3
             pages not issued containing HIV or mental health records.



Copay Required: No                           Cosign Required: No
TelephoneNerbal Order:          No
Completed by Nugent, Kim HIT/LPN on 10/06/2022 10:41




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..
                                                      Bureau of Prisons
                                                       Health Services
                                           Clinical Encounter - Administrative Note
     Inmate Name:        AGUILAR LOPEZ, JOSE LUIS                                                Reg#:       02007-104
     Date of Birth:      06/25/1972                       Sex:      M    Race:WHITE              Facility:   POM
     Note Date:          02/22/2022 13:43                 Provider: Smith, J NP                  Unit:       E04


     Review Note - Consultation Report Review encounter performed at Health Services.
     Administrative Notes:
           ADMINISTRATIVE NOTE          1·           Provider: Smith, J NP
                   Optometry Evaluation 2/15/22


     New Laboratory Requests:
         Details                                              Frequency                Due Date              Priority
         Lab Tests - Short List-General-CBC                   One Time                 03/22/2022 00:00      Routine
         Lab Tests - Short List-General-Lipid Profile
         Lab Tests - Short List-General-Comprehensive
         Metabolic Profile {CMP)
             Labs requested to be reviewed by:              Markey, J. MD
     Schedule:
          Activity                                            Date Scheduled        Scheduled Provider
          Optometry Exam                                      02/22/2024 00:00 Optometrist
              Optometry Recommendations 2/15/22

               1. RX. FOR SPECS ... STRESS COM PL. C/ WEAR VS. BCVA AND PROTECTION OF VA.
               2. STRESS WELLNESS PRACTICES AND COMPL. C/ TX. / MEDICAL REGIMENS VS. RISK OF LOV 2ND TO
               SYSTEMIC DZ.
               3. SCHEDULE OPTOMETRY EXAM FOR CEE IN 2 YRS. AS SCHEDULED BY HIT STAFF.
               4. K-ARCUS ... REC. CHOLESTEROL CHK AND MGMT. ACCORDINGLY Cl DIET AND EXERCISE
               COUNSELING
               DISCUSSED C/ PT. TODAY.
     Copay Required: No                          Cosign Requfred: No
     TelephoneNerbal Order:           No
     Completed by Smith, J NP on 02/22/2022 13:44




     Generated 02/22/2022 13:44 by Smith, J NP            Bureau of Prisons - POM                                Page 1 of 1
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                                                    Bureau of Prisons
                                                     Health Servi.ces
                                                    Clinical Encounter
Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                         Reg#: 02007-104
Date of Birth: 06/25/1972                               Sex:      M    Race: WHITE            Facility: POM
Encounter Date: 02/15/2022 12:21                        Provider: Barry, Timothy OD           Unit:     E04

Optometry - Optometry Exam encounter performed at Health Services.
SUBJECTIVE:
     COMPLAINT 1                  Provider: Barry, Timothy OD
        Chief Complaint: EyesNision Problems
        Subjective:   49 Y.O.H .. M. DENIES DIA/ HTN/ GLA PRESENTS FOR REFR. EXAM C/ BLURRED VAX
                      YRS.
        Pain:         No

Vision Screen on 02/15/2022 12:22
   Blindness:
   Distance Vision:       Right Eye: 20/100                    Left Eye: 20/100               Both Eyes:
   Near Vision:           Right Eye:                           Left Eye:                      Both Eyes:
   With Corrective Lenses
   Distance Vision:       Right Eye: 20/20                     Left Eye: 20/20                Both Eyes:
   Near Vision:           Right Eye:                           Left Eye:                      Both Eyes: 20/20
   Present Glasses - Distance                                     Refraction - Distance
        Sphere         Cylinder       Axis        Add                   Sphere     Cylinder   Axis         Add
   R:                                                             R:    +2.75      -0.25      80           +1.5
   L:                                                             L:   +3.00       -0.50      85           +1.5
   Color Test:
   Tonometry:       L: 12              R: 12
   Comments: TAAT: 12:24 PM



OBJECTIVE:

 Exam Comments
    EOM: F AND S/ VF: FTFC / P ERRLA
    SLE: ARCUS / PING. N /TI N.S. CAT OU
    DFE: RETINAL TISSUES CLEAR AND STABLE OD AND OS
    CID: .1/.1 OD AND OS S/ HEMES, EDEMA NOR OTHER SIGNS OF RETINOPATHY NOTED OU.
ASSESSMENT:

Astigmatism, H52209 - Current
Corneal degeneration, unspecified, H1840 - Current - K ARGUS.
Hypermetropia, H5200 - Current
Presbyopia, H524 - Current

PLAN:

Disposition:
    Return Immediately if Condition Worsens

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• Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                               Reg#: 02007-104
  Date of Birth: 06/25/1972                             Sex:      M    Race: WHITE    Facility: POM
  Encounter Date: 02/15/2022 12:21                      Provider: Barry, Timothy OD   Unit:     E04

      Return To Sick Call if Not Improved

 Other:
      1. RX. FOR SPECS ... STRESS COMPL. Cf WEAR VS. BCVAAND PROTECTION OF VA.
      2. STRESS WELLNESS PRACTICES AND COMPL. C/ TX. / MEDICAL REGIMENS VS. RISK OF LOV 2ND TO
      SYSTEMIC DZ.
      3. SCHEDULE OPTOMETRY EXAM FOR CEE IN 2 YRS. AS SCHEDULED BY HIT STAFF.
      4. K-ARCUS ... REC. CHOLESTEROL CHK AND MGMT. ACCORDINGLY C/ DIET AND EXERCISE COUNSELING
      DISCUSSED C/ PT. TODAY.

 Patient Education Topics:
      Date Initiated Format                          Handout/Topic                    Provider            Outcome
      02/15/2022     Counseling                      Access to Care                   Barry, Timothy      Verbalizes
                                                                                                          Understanding
 Spec Rx: Completed on            02/15/2022 12:27
     Sphere Right: +2.75
      Sphere Left: +3.00
      Cylinder Right: -0.25
      Cylinder Left: -0.50
      Axis Right: 80
      Axis Left: 85
      Bifocal Power Right: 1.50
      Bifocal Power Left: 1.50
      Segment Height Right: 12
      Segment Height Left: 12
      Segment Width: 28
      Pupillary Width Distance Right: 30
      Pupillary Width Distance Left: 30
      Pupillary Width Near Right: 29
      Pupillary Width Near Left: 29
      Frame Material: Polycarbonate
      Straight Top: X
            28: X
      Frame Style: NCT1
      Frame Color: BLK
      Eye Size: 51
      Bridge Size: 17
      Temple Length and Style: 140

 Copay Required: No                           Cosign Required: No
 TelephoneNerbal Order:           No
 Completed by Barry, Timothy OD on 02/15/2022 12:28
 Requested to be reviewed by Smith, J NP.
 Review documentation will be displayed on the following page.




 Generated 02/15/2022 12:28 by Barry, Timothy OD         Bureau of Prisons - POM                        Page 2 of 2
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                                               Bureau of Prisons
                                                Health Services
                                    Clinical Encounter - Administrative Note
Inmate Name:        AGUILAR LOPEZ, JOSE LUIS                                                Reg#:       02007-104
Date of Birth:      06/25/1972                         Sex:      M    Race:WHITE            Facility:   POM
Note Date:          01/24/2022 14:06                   Provider: Smith, J NP                Unit:       E04


Admin Note - Orders encounter performed at Health Services.
Administrative Notes:
       ADMINISTRATIVE NOTE 1               Provider: Smith, J NP
           Inmate tested COVID (+) 1/11/22

              Recommended Isolation period completed. Available symptoms screens reviewed. Final COVID Symptom
              Screen obtained 1/21/22 per Duty RN, inmate denies symptoms.

              RECOMMEND D/C Isolation.


Temperature:
     Date              Time            Fahrenheit   Celsius Location            Provider
     01/21/2022        13:45 POX             96.0      35.6 Forehead            Rhodes, Jo Anne RN

ASSESSMENTS:
Confirmed case COVID-19, U07.1 - Resolved
_Personal history of COVID-19, 28616 - Current

Copay Required: No                          Cosign Required: No
TelephoneNerbal Order: No
Completed by Smith, J NP on 01/24/2022 14:08




Generated 01/24/2022 14:08 by Smith, J NP             Bureau of Prisons - POM                               Page 1 of 1
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                                                 Bureau of Prisons
                                                  Health Services
                                      Clinical Encounter - Administrative Note
Inmate Name:        AGUILAR LOPEZ, JOSE LUIS                                                 Reg#:       02007-104
Date of Birth:      06/25/1972                        Sex:      M     ·Race:WHITE            Facility:   POM
Note Date:          01/11/202213:28                   Provider:  Smith, J NP                 Unit:       E04


Review Note - Report Review encounter performed at Health Services.
Administrative Notes:
       ADMINISTRATIVE NOTE             1         Provider: Smith, J NP
              COVID-19 AG point of care testing completed on AGUILAR LOPEZ, JOSE LUIS, register number 02007-104
              at 01/11/202210:50 COVID-19 AG: Positive


ASSESSMENTS:
Confirmed case COVID-19, U07.1 - Current
Schedule:
     Activity                                              Date Scheduled       Scheduled erovider
     Screenings                                            01/11/2022 00:00 Nurse 09
         COVID symptoms screen with temp check.
     Screenings                                           01/12/2022 00:00 Nurse 09
          COVID symptoms screen with temp check.
     Screenings                                           01/13/2022 00:00 Nurse 09
         COVID symptoms screen with temp check.
     Screenings                                           01/14/2022 00:00 Nurse 09
          COVID symptoms screen with temp check.
     Screenings                                           01/15/2022 00:00 Nurse 09
         COVID symptoms screen with temp check.
     Screenings                                           01/16/2022 00:00 Nurse 09
         COVID symptoms screen with te!TIP check.
     Screenings                                           01/17/2022- 00:00 Nurse 09
          COVID symptoms screen with temp check.
     Screenings                                           01/18/2022 00:00 Nurse 09
          COVID symptoms screen with temp check.
     Screenings                                           01/19/2022 00:00 Nurse 09
         COVID symptoms screen with temp check.
     Screenings                                           01/20/2022 00:00 Nurse 09
         COVID symptoms screen with temp check.
     Screenings                                           01/21/2022 00:00 Nurse 09
        COVID symptoms screen with temp check.
Disposition:
     Placed In Isolation


Copay Required: No                          Cosign Required: No
TelephoneNerbal Order:           No
Completed by Smith, J NP on 01/11/2022 13:29

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                                               Bureau of Prisons
                                                Health Services
                                    Clinical Encounter - Administrative Note
Inmate Name:        AGUILAR LOPEZ, JOSE LUIS                                                Reg#:       02007-104
Date of Birth:      06/25/1972                             Sex:      M    Race:WHITE        Facility:   POM
Note Date:          01/11/2022 11 :02                      Provider: Johnson, Jessica ROH   Unit:       E04


POC Note - Default encounter performed at Housing Unit.
Administrative Notes:
      ADMINISTRATIVE NOTE              1              Provider: Johnson, Jessica ROH
             COVID-19 AG point of care testing completed on AGUILAR LOPEZ, JOSE LUIS, register number 02007-104
             at 01/11/2022 10:50
             COVID-19 AG: Positive
             Reference Range: Negative
             Critical Result: Positive
             Asymptomatic
             Comments: E-4 EXPOSURE



Copay Required: No                            Cosign Required: No
TelephoneNerbal Order:           No
Completed by Johnson, Jessica ROH on 01/11/2022 11 :03
Requested to be reviewed by Smith, J NP.
Review documentation will be displayed on the following page.




Generated 01/11/2022 11 :03 by Johnson, Jessica ROH        Bureau of Prisons - POM                          Page 1 of 1
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                                         Bureau of Prisons
                                          Health Services
                                          Cosign/Review
Inmate Name:    AGUILAR LOPEZ, JOSE LUIS                                         Reg#:       02007-104
Date of Birth:  06/25/1972                   Sex:         M                      Race:       WHITE
Encounter Date: 01/11/2022 11 :02            Provider:    Johnson, Jessica ROH   Facility:   POM

Reviewed with New Encounter Note by Smith, J NP on 01/11/2022 13:28.




                                            Bureau of Prisons - POM
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                                                   Bureau of Prisons
                                                    Health Services
                                                   Clinical Encounter
Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                        Reg#: 02007-104
Date of Birth: 06/25/1972                            Sex:      M   Race: WHITE               Facility: POM
Encounter Date: 12/26/202116:02                      Provider: Markey, J. MD                 Unit:     E04


Chronic Care - Chronic Care Clinic encounter performed at Housing Unit.
SUBJECTIVE:
     COMPLAINT 1                 Provider: Markey, J. MD
       Chief Complaint: Chronic Care Clinic
       Subjective:   Pt with history of resolved h pylori infection, resolved dequervains tenosynovitis. States he is
                     no longer having abdominal pain or wrist pain. Wants the covid booster. Refused vitals.
       Pain:         Not Applicable
Seen for clinic{s): Gastrointestinal, Orthopedic/Rheumatology
Removed from clinic{s): Gastrointestinal, Orthopedic/Rheumatology



OBJECTIVE:

 ROS Comments
   CONSTITUTIONAL: No weight loss, fever, chills, weakness or fatigue.
   HEENT: Eyes: No visual loss, blurred vision, double vision or yellow sclerae.
   ENT: No hearing loss, sneezing, congestion, runny nose or sore throat.
   SKIN: No rash or itching.
   CARDIOVASCULAR: No chest pain, chest pressure or chest discomfort. No palpitations or edema.
   RESPIRATORY: No shortness of breath, cough or sputum.
   GASTROINTESTINAL: No anorexia, nausea, vomiting or diarrhea. No abdominal pain or blood.
                                                               1
   GENITOURINARY: No Burning on urination.
   NEUROLOGICAL: No headache, dizziness, syncope, paralysis, ataxia, numbness or tingling in the extremities. No
   change in bowel or bladder control.
   MUSCULOSKELETAL: No muscle or back pain, joint pain or stiffness.
   HEMATOLOGIC: No anemia, bleeding or bruising.
   ENDOCRINOLOGIC: No reports of sweating, cold or heat intolerance. No polyuria or polydipsia.
   ALLERGIES: No history of hives, eczema or rhinitis.
 Exam Comments
    PATIENT MOX3, NO ACUTE DISTRESS.
    HEAD: NORMOCEPHALIC, ATRAUMATIC.
    EYES: PERRLA, EOMI.
    ENT: INTACTED TYMPANIC MEMBRANE BILATERALLY, NO BULGING OR EFFUSION.
    PATENT NARES, NO CONGESTION OR DISCHARGED NOTED.
    NECK: MIDLINE TRACHEA, FULL ROM, NO JVD, NO LYMPHADENOPATHY, NO THYROMEGALY, NO CAROTID
    MURMURS OR BRUITS.
    SKIN: NO RASH.
    CARDIO: RRR, S1S2, NO MURMURS, RUBS, OR GALLOPS.
    PULM: CTAB, NO CRACKLES, RONCHI OR WHEEZING.
    ABO: SOFT, NT, ND, BS+, NO RIGIDITY, NO GUARDING.
    UPPER EXT: FULL ROM, PALPABLE PULSES.
    LOWER EXT:FULL ROM, PALPABLE PULSES. NO PITTING EDEMA BILAT.
    NEURO: CN 2-12 GROSSLY INTACT, NO MOTOR DEFICIT, NO GAIT ABNORMALITIES.
ASSESSMENT:

Helicobacter pylori [H. pylori] as the cause of diseases classified elsewhere, B9681 - Resolved

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Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                           Reg#: 02007-104
Date of Birth: 06/25/1972                              Sex:      M   Race: WHITE                Facility: POM
Encounter Date: 12/26/2021 16:02                       Provider: Markey, J. MD                  Unit:     E04

PLAN:

Schedule:
     Activity                                              Date Scheduled          Scheduled Provider
    COVID-19 Pfizer-BioNTech Vaccine                  12/27/2021 00:00 Admin 01
        wants booster, got 1st dose Pfizer 4/13/2021 and 2nd dose Pfizer 5/4/2021
Disposition:
     Follow-up at Sick Call as Needed

Patient Education Topics:
   • Date Initiated Format                          Handout/Topic                               Provider            Outcome
     12/27/2021     Counseling                      Access to Care                              Markey, J.          Verbalizes
                                                                                                                    Understanding

Copay Required: No                            Cosign Required: No
TelephoneNerbal Order:           No
Completed by Markey, J. MD on 12/27/2021 16:06




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                                               Bureau of Prisons
                                                Health Services
                                    Clinical Encounter - Administrative Note
Inmate Name:        AGUILAR LOPEZ, JOSE LUIS                                                   Reg#:       02007-104
Date of Birth:      06/25/1972 •                         Sex:      M    Race:WHITE             Facility:   POM
Note Date:          12/15/202113:31                      Provider: Lyons, T. FNP-C             Unit:       E04


Admin Note - Orders encounter performed at Health Services.
Administrative Notes:
       ADMINISTRATIVE NOTE 1                        Provider: Lyons, T. FNP-C
           Send out PCR COVID order


New Laboratory Requests:
     Details                                                Frequency              • Due Date              Priority
     Lab Tests-C-COVID-19 Novel Coronavirus                 One Time                 12/20/2021 00:00      Routine
         Labs requested to be reviewed by:                 Markey, J. MD
Copay Required: No                              Cosign Required: No
TelephoneNerbal Order:           No
Completed by Lyons, T. FNP-C on 12/15/2021 13:32




Generated 12/15/2021 13:32 by Lyons, T. FNP-C            Bureau of Prison~ - POL                               Page 1 of 1
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                                                     Bureau of Prisons
                                                      Health Services
                                                         Vitals All
 Begin Date: 12/12/2021                                     End Date:    12/12/2022
 Reg#:       02007-104                                      Inmate Name: AGUILAR LOPEZ, JOSE LUIS

Temperature:
     Date                             Fahrenheit     Celsius Location               Provider
     10/06/2022        10:51 POX              97.2         36.2                     Flowers, Joe DDS
             Orig Entered: 10/06/2022 11 :53 EST Flowers, Joe DDS
     06/24/2022    14:01 POX          98.6      37.0                                Flowers, Joe DDS
             Orig Entered: 06/24/2022 15:03 EST Flowers, Joe DDS
     06/24/2022    13:53 POX          97.4     36.3                                 Flowers, Joe DDS
              Orig Entered: 06/24/2022 14:54 EST Flowers, Joe DDS
     01/21/2022     13:45 POX          96.0     35.6 Forehead                       Rhodes, Jo Anne RN
               Orig Entered: 01/21/2022 14:46 EST Rhodes, Jo Anne RN
     01/20/2022        11 :48 POX             96.0         35.6 Forehead            Rhodes, Jo Anne RN
             Orig Entered: 01/20/2022 12:49 EST Rhodes, Jo Anne RN
     01/19/2022    07:10 POX          97.0     36.1 Forehead       Rhodes, Jo Anne RN
             Orig Entered: 01/19/2022 08:12 EST Rhodes, Jo Anne RN
     01/18/2022    10:38 POX          96.0     35.6 Forehead       Rhodes, Jo Anne RN
              Orig Entered: 01/18/2022 11 :39 EST Rhodes, Jo Anne RN
     01/17/2022     08:41 POX          96.0      35.6 Forehead •     Rhodes, Jo Anne RN
              Orig Entered: 01/17/2022 09:42 EST Rhodes, Jo Anne RN
     01/16/2022     10:31 POX          93.0      33.9 Forehead       Fruge, Jacinda RN
             . Orig Entered: 01/16/2022 11 :32 EST Fruge, Jacinda RN
     01/15/2022      10:35 POX          96.0      35.6 Forehead                     Rhodes, Jo Anne RN
             Orig Entered: 01/15/202211:54 EST Rhodes, Jo Anne RN
     01/14/2022    12:34 POX         96.0     35.6 Forehead       Rhodes, Jo Anne RN
              Orig Entered: 01/14/2022 13:35 EST Rhodes, Jo Anne RN
     01/13/2022     09:00 POX          97.4     36.3 Forehead       Fruge, Jacinda RN
              Orig Entered: 01/13/2022 10:02 EST Fruge, Jacinda RN
     01/12/2022     15:29 POX          95.9     35.5                Lyons, T. FNP-C
                   '
               Orig Entered: 01/12/2022 16:30 EST Lyons, T. FNP-C
     01/11/2022        17:20 POX              98.1         36.7                     Parker, Chance RN
               Orig Entered: 01/11/2022 18:21 EST Parker, Chance RN

Pulse:
     Date                            Rate Per Minute          Location              Rhythm     Provider
     10/06/2022 10:51 POX                            55                                        Flowers, Joe DDS
             Orig Entered: 10/06/2022 11 :53 EST Flowers, Joe DDS
     06/24/2022 14:01 POX                    65                                                Flowers, Joe DDS
             Orig Entered: 06/24/2022 15:03 EST Flowers, Joe DDS
     06/24/2022 13:53 POX                   52                                                 Flowers, Joe DDS
               Orig Entered: 06/24/2022 14:54 EST Flowers, Joe DDS
     01/15/2022 10:35 POX                            58       Via Machine                      Rhodes, Jo Anne RN
            Orig Entered: 01/15/2022 11 :54 EST Rhodes, Jo Anne RN
    01/14/2022 12:34.POX                    52  Via Machine                                    Rhodes, Jo Anne RN
Generated 12/12/2022 12:32 by Nugent, Kim HIT/LPN         Bureau of Prisons - POM                             Page 1 of 2
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Begin Date: 12/12/2021                                    • End Date:    12/12/2022
Reg #:      02007-104                                       Inmate Name: AGUILAR LOPEZ, JOSE LUIS

     Date          Time              Rate Per Minute        Location              Rhythm        Provider
              Orig Entered: 01/14/2022 13:35 EST Rhodes, Jo Anne RN
     01/12/2022 15:29 POX                    69                                                 Lyons, T. FNP-C
               Orig Entered: 01/12/2022 1q:30 EST Lyons, T. FNP-C

Respirations:
     Date                 Time               Rate Per Minute Provider
     01/15/2022           10:35 POX                         20 Rhodes, Jo Anne RN
             Orig Entered: 01/15/2022 11 :54 EST Rhodes, Jo Anne RN
     01/14/2022       12:34 POX                  20 Rhodes, Jo Anne RN
               Orig Entered: 01/14/2022 13:35 EST Rhodes, Jo Anne RN

Blood Pressure:
                   Time                        Location        Position          Cuff Size      Provider
     10/06/2022 10:51 POX         112/74                                                        Flowers, Joe DDS
             Orig Entered: 10/06/2022 11 :53 EST Flowers, Joe DDS
     06/24/2022 14:01 POX 127/78                                                                Flowers, Joe DDS
              Orig Entered: 06/24/2022 15:03 EST Flowers, Joe DDS
     06/24/2022 13:53 POX 128/71                                                             Flowers, Joe DDS
               Orig Entered: 06/24/2022 14:54 EST Flowers, Joe DDS

SaO2:
     Date             Time             Value(%) Air                       Provider
     01/15/2022       10:35 POX                98 Room Air                 Rhodes, Jo Anne RN
              Orig Entered: 01/15/2022 11 :54 EST Rhodes, Jo Anne RN
     01/14/2022     12:34 POX          99 Room Air            Rhodes, Jo Anne RN
             Orig Entered: 01/14/2022 13:35 EST Rhodes, Jo Anne RN
     01/12/2022    15:29 POX          98                    Lyons, T. FNP-C
               Orig Entered: 01/12/2022 16:30 EST Lyons, T. FNP-C




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                                                                       Bureau of Prisons
                                                                        Health Services
                                                                             PPDs
Reg#:     02007-104                                 Inmate Name: AGUILAR LOPEZ, JOSE LUIS

Admin:                   Location                   Provider                         Reading:                 lnduration        Provider
11/27/2013     17:50     Left Forearm               Reynaldo, A. MLP                 11/29/2013 21 :43        21 mm             Varela, Ricardo RN
        Orig Entered:     11/27/2013 17:52 EST Reynaldo, A. MLP                         Orig Entered:   11/29/2013 21 :43 EST Varela, Ricardo RN
Total: 1




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                                                   Federal Bureau of Prisons
                                                        SCREENINGS
Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                          Reg#: 02007-104
Date of Birth: 06/25/1972                              Sex: M •      Race: WHITE               Facility: POM
Encounter Date: 01/21/2022 13:46                       Provider: Rhodes, Jo Anne RN            Unit:     E04


Screenings:
     COVID-19
          Quarantine
               Yes: Vital Signs w/O2 sat recorded in flowsheet
               No: Cough, Shortness of Breath, Fatigue, Body aches
Temperature:
     Date             Time            Fahrenheit     Celsius Location              Provider
     01/21/2022       13:45 POX               96.0      35.6 Forehead              Rhodes, Jo Anne RN



Cosign Required:No
Completed by Rhodes, Jo Anne RN on 01/21/2022 13:46.




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                                                    Federal Bureau of Prisons
                                                         SCREENINGS
Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                           Reg #: 02007 -104
Date of Birth: 06/25/1972                               Sex: M        Race: WHITE               Facility: POM
Encounter Date: 01/20/2022 11 :48                       Provider: Rhodes, Jo Anne RN            Unit:     E04


Screenings:
    COVID-19
         Quarantine
            Yes: Vital Signs w/O2 sat recorded in flowsheet
               No: Cough, Shortness of Breath, Fatigue, Body aches
Temperature:
    Date              Time            Fahrenheit      Celsius Location              Provider
    01/20/2022        11 :48 POX              96.0       35.6 Forehead              Rhodes, Jo Anne RN



Cosign Required:No
Completed by Rhodes, Jo Anne RN on 01/20/2022 -11 :49.




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                                                   Federal Bureau of Prisons
                                                        SCREENINGS
Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                          Reg #: 02007-104
Date of Birth: 06/25/1972                             Sex: M        Race: WHITE                Facility: POM
Encounter Date: 01/19/2022 07:11                      Provider: Rhodes, Jo Anne RN             Unit:     E04


Screenings:
    COVID-19
         Quarantine
              Yes: Vital Signs w/O2 sat recorded in flowsheet
              No: Cough, Shortness of Breath, Fatigue, Body aches
Temperature:
    Date             Time            Fahrenheit      Celsius Location              Provider
    01/19/2022       07:10 POX               97.0       36.1 Forehead              Rhodes, Jo Anne RN



Cosign Required:No
Completed by Rhodes, Jo Anne RN on 01/19/2022 07:12.




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                                                   Federal Bureau of Prisons
                                                        SCREENINGS
Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                          Reg #: 02007-104
Date of Birth: 06/25/1972                              Sex: M        Race: WHITE               Facility: POM
Encounter Date: 01/18/2022 10:34                       Provider: Rhodes, Jo Anne RN            Unit:     E04


Screenings:
    COVID-19
         Intake screening
              Yes: Vital Signs w/O2 sat recorded in flowsheet
              No: Cough, Shortness of Breath, Fatigue, Body aches
Temperature:
    Date             Time            Fahrenheit      Celsius Location              Provider
    01/18/2022       10:38 POX               96.0       35.6 Forehead              Rhodes, Jo Anne RN



Cosign Required:No
Completed by Rhodes, Jo Anne RN on 01/18/2022 10:39.




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                                                   Federal Bureau of Prisons
                                                        SCREENINGS
Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                          Reg#: 02007-104
Date of Birth: 06/25/1972                              Sex: M        Race: WHITE               Facility: POM
Encounter Date: 01/17/2022 08:42                       Provider: Rhodes, Jo Anne RN            Unit:     E04


Screenings:
     COVID-19
          Quarantine
               Yes: Vital Signs w/O2 sat recorded in flowsheet
               No: Cough, Shortness of Breath, Fatigue, Body aches
Temperature:
     Date             Time            Fahrenheit     Celsius Location              Provider
     01/17/2022       08:41 POX               96.0      35.6 Forehead              Rhodes, Jo Anne RN



Cosign Required:No
Completed by Rhodes, Jo Anne RN on 01/17/2022 08:42.




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                                                  Federal Bureau of Prisons
                                                       SCREENINGS
Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                           Reg#: 02007-104
Date of Birth: 06/25/1972                             Sex: M         Race: WHITE                Facility: POM
Encounter Date: 01/16/2022 10:32                      Provider: Fruge, Jacinda RN               Unit:     E04


Screenings:
    COVID-19
         Isolation
               No: Cough, Shortness of Breath, Fatigue, Body aches, Sore throat, Diarrhea, Headache, Loss of taste or
               smell, Nausea or vomiting
Temperature:
    Date              Time            Fahrenheit     Celsius Location              Provider
    01/16/2022        10:31 POX               93.0      33.9 Forehead              Fruge, Jacinda RN



Cosign Required:No
Completed by Fruge, Jacinda RN on 01/16/2022 10:32.




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                                                   Federal Bureau of Prisons
                                                        SCREENINGS
Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                             Reg#: 02007-104
Date of Birth: 06/25/1972                                 Sex: M        Race: WHITE               Facility: POM
Encounter Date: 01/15/2022 10:36                          Provider: Rhodes, Jo Anne RN            Unit:     E04


Screenings:
    COVID-19
         Quarantine
              Yes: Vital Signs w/O2 sat recorded in flowsheet
             . No: Cough, Shortness of Breath, Fatigue, Body aches
Temperature:
    Date             Time            Fahrenheit      Celsius Location                 Provider
    01/15/2022        10:35 POX              96.0       35.6 Forehead                 Rhodes, Jo Anne RN

Pulse:
    Date          Time              Rate Per Minute          Location                 Rhythm     Provider
    01/15/2022 10:35 POX                             58      Via Machine                         Rhodes, Jo Anne RN

Respirations:
    Date                 Time               Rate Per Minute Provider
    01/15/2022           10:35 POX                           20 Rhodes, Jo Anne RN


Sa02:
    Date             Time             Value(%) Air                          Provider
    01/15/2022       10:35 POX                98 Room Air                   Rhodes, Jo Anne RN

Cosign Required:No
Completed by Rhodes, Jo Anne RN on 01/15/2022 10:54.




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                                                   Federal Bureau of Prisons
                                                        SCREENINGS
Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                             Reg#: 02007-104
Date of Birth: 06/25/1972                                 Sex: M        Race: WHITE               Facility: POM
Encounter Date: 01/14/2022 12:35                          Provider: Rhodes, Jo Anne RN            Unit:     E04


Screenings:
    COVID-19
         Intake screening
              Yes: Vital Signs w/O2 sat recorded in flowsheet
              No: Cough, Shortness of Breath, Fatigue, Body aches
Temperature:
    Date_            Time            Fahrenheit      Celsius Location                 Provider
    01/14/2022        12:34 POX              96.0          35.6 Forehead              Rhodes, Jo Anne RN

Pulse:
    Date          Time              Rate Per Minute          Location                 Rhythm     Provider;
    01/14/2022 12:34 POX                             52      Via Machine                         Rhodes, Jo Anne RN

Respirations:
    Date                 Time               Rate Per Minute Provider
    01/14/2022           12:34 POX                           20 Rhodes, Jo Anne RN


Sa02:
    Date             Time             Value(%) Air                          Provider
    01/14/2022       12:34 POX              99 Room Air                     Rhodes, Jo Anne RN

Cosign Required:No
Completed by Rhodes, Jo Anne RN on 01/14/2022 12:35.




Generated 01/14/2022 12:35 by Rhodes, Jo Anne.RN            Bureau of Prisons - POM                                   Page 1 of 1
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                                                    Federal Bureau of Prisons
                                                         SCREENINGS
Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                              Reg#: 02007-104
Date of Birth: 06/25/1972                                 Sex: M         Race: WHITE               Facility: POM
Encounter Date: 01/13/2022 09:01                          Provider: Fruge, Jacinda RN              Unit:     E04


Screenings:
     COVID-19
          Quarantine
               No: Cough, Shortness of Breath, Fatigue, Body aches, Sore throat, Diarrhea, Headache, Loss of taste or
               smell, Nausea or vomiting
Temperature:
     Date                              Fahrenheit        Celsius Location             Provider
     01/13/2022       09:00 POX                   97.4      36.3 Forehead             Fruge, Jacinda RN



Cosign Required:No
Completed by Fruge, Jacinda RN on 01/13/2022 09:02.




Generated 01/13/2022 09:02 by Fruge, Jacinda RN             Bureau of Prisons - POM                                  Page 1 of 1
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                                                  Federal Bureau of Prisons
                                                       SCREENINGS
Inmate Name: . AGUILAR LOPEZ, JOSE LUIS                                                              Reg#: 02007-104
Date of Birth: 06/25/1972                                   Sex: M          Race: WHITE              Facility: POM
Encounter Date: 01/12/2022 15:30                            Provider:· Lyons, T. FNP-C               Unit:     E04


Screenings:
     COVID-19
          Isolation
               No: Cough, Shortness of Breath, Fatigue, Body aches, Sore throat, Diarrhea, Headache, Loss of taste or
               smell, Nausea or vomiting
Temperature:
    Date              Time            Fahrenheit       Celsius Location                 Provider
    01/12/2022        15:29 POX                 95.9         35.5                       Lyons, T. FNP-C

Pulse:
    Date           Time              Rate Per Minute           Location                 Rhythm     Provider
    01/12/2022 15:29 POX                               69                                          Lyons, T. FNP-C


Sa02:
    Date              Time             Value(%) Air                            Provider
    01/12/2022        15:29 POX              98                                Lyons, T. FNP-C

Cosign Required:No
Completed by Lyons, T. FNP-C on 01/12/2022 15:30.




Generated 01/12/2022 15:30 by Lyons, T. FNP-C                 Bureau of Prisons - POL                                  Page 1 of 1
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                                                  Federal Bureau of Prisons
                                                       SCREENINGS
Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                          Reg#: 02007-104
Date of Birth: 06/25/1972                             Sex: M         Race: WHITE               Facility: POM
Encounter Date: 01/11/2022 17:20                      Provider: Parker, Chance RN              Unit:     E04


Screenings:
    COVID-19
         Quarantine
              Yes: Vital Signs w/O2 sat recorded in flowsheet
              No: Cough, Shortness of Breath, Fatigue, Body aches, Sore throat, Diarrhea, Headache, Loss of taste or
              smell, Nausea or vomiting
Temperature:
    Date             Time             Fahrenheit     Celsius Location              Provider
    01/11/2022        17:20 POX               98.1      36.7                       Parker, Chance RN



Cosign Required:No
Completed by Parker, Chance RN on 01/11/2022 17:21.




Generated 01/11/2022 17:21 by Parker, Chance RN          Bureau of Prisons - POM                                 Page 1 of 1
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                                                                      Bureau of Prisons
                                                                       Health Services
                                                                    Devices and Equipment
Start Date:     12/12/2021                                           Stop Date:   12/12/2022
Reg#:           02007-104                                            Inmate Name: AGUILAR LOPEZ, JOSE LUIS

Device/Equipment                                    Start Date   Stop Date     Date Returned           Obtained From   Comments
Eye Glasses
 06/09/201814:45 EST Richmond, Erinn RN             06/09/2018                                         BOP

Total: 1




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                                                         Bureau of Prisons
                                                          Health Services
                                                         Fecal Occult Blood
 Begin Date: 12/12/2021                                       End Date:    12/12/2022
 Reg#:       02007-104                                        Inmate Name: AGUILAR LOPEZ, JOSE LUIS
 (Reference Range - Negative)                        ,
 Effective Date -               Fecal Occult Blood                                   Provider
 10/23/2022 13:19 POX          Negative Guaiac Test                                  Holston, Bailey Phlebotomist
          Orig Entered: 10/25/2022 14:20 EST Holston, Bailey Phlebotomist
 10/22/2022 13:19 POX          Negative Guaiac Test                                  Holston, Bailey Phlebotomist
          Orig Entered: 10/25/2022 14:20 EST Holston, Bailey Phlebotomist
 10/21/2022 13:18 POX          Negative Guaiac Test                                  Holston, Bailey Phlebotomist
          Orig Entered: 10/25/2022 14:19 EST Holston, Bailey Phlebotomist
 Total: 3




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                                                     Bureau of Prisons
                                                      Health Services
                                                           Allergies
 Reg#: 02007-104                                    Inmate Name: AGUILAR LOPEZ, JOSE LUIS

 Allergy                                                Date Noted               Reaction
 No Known Allergies                                     11/27/2013
           Orig Entered:    11/27/201317:51 EST Reynaldo, A. MLP
 Total: 1




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                                                                       Bureau of Prisons
                                                                        Health Services                                                                             .,


                                                            Patient Education Assessments & Topics
Reg#: 02007-104                          Inmate Name: AGUILAR LOPEZ, JOSE LUIS

                                                                                     Assessments
    Assessment Date Learns Best By                  Primary Language         Years of Education      Barriers To Education             Provider
    Total: 0

                                                                                           Topics
    Date Initiated            Format                   Handout/Topic                                        Outcome                    Provider
    12/08/2022            Counseling             Access to Care                                             Verbalizes Understanding   Johnson, Jessica
             advised inmate to report to sick call for dental pain and/or swelling
               Orig Entered: 12/08/2022 14:57 EST Johnson, Jessica
    12/08/2022             Counseling           Oral Hygiene Instructions                                   Verbalizes Understanding   Johnson, Jessica
             proper brushing and flossing instructions given
                Orig Entered: 12/08/2022 14:57 EST Johnson, Jessica
    10/06/2022                Counseling               Pre-op Instructions                                  Verbalizes Understanding   Flowers, Joe
                  Orig Entered:     10/06/2022 11 :57 EST Flowers, Joe
    06/24/2022                Counseling               Post-operative Care                                  Verbalizes Understanding   Flowers, Joe
                  Orig Entered:     06/24/2022 14:57 EST Flowers, Joe
    06/24/2022                Counseling               Post-operative Care                                  Verbalizes Understanding   Flowers, Joe
                  Orig Entered:     06/24/2022 15:05 EST Flowers, Joe
    06/24/2022                Counseling               Access to Care                                       Verbalizes Understanding   Flowers, Joe
                  Orig Entered:     06/24/2022 15:16 EST Flowers, Joe
    02/15/2022                Counseling               Access to Care                                       Verbalizes Understanding   Barry, Timothy
                  Orig Entered:     02/15/2022 13:26 EST Barry, Timothy
    12/27/2021                Counseling               Access to Care                                       Verbalizes Understanding   Markey, J.
                  Orig Entered:     12/27/2021 17:05 EST Markey, J.
    Total: 8




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                             Case 1:13-cr-20911-BB Document 312 Entered on FLSD Docket 11/07/2023 Page 148 of 263
                                                                         Bureau of Prisons
                                                                          Health Services
                                                                         Health Problems
Reg #: 02007-104                                    Inmate Name: AGUILAR LOPEZ, JOSE LUIS

 Description                                                                              ~       CodeType             Diag. Date Status     Status Date

                                                                           Current
 Retained dental root
  02/05/2014 13:42 EST Smith, W. DMD                                                          Ill ICD-9       525.3    01/30/2014 Current     01/30/2014
        #8 nonrestorable root tip.
 LTBI Prophy Refused
  03/12/2018 16:29 EST Bergmann, M RN                                                         Ill ICD-10     795.5D    04/20/2015 Current     03/12/2018
  04/20/2015 13:55 EST Lee, S. MD                                                             Ill ICD-9      795.5D    04/20/2015 Resolved    04/20/2015
 Corneal degeneration, unspecified
  02/15/2022 13:26 EST Barry, Timothy OD                                                          ICD-10      H1840    02/15/2022 Current
        KARCUS.
 Hypermetropia
  03/17/2020 16:02 EST Mitchell, B. NP-C                                                          ICD-10      H5200    03/10/2020 Current
Astigmatism
  03/17/2020 16:02 EST Mitchell, B. NP-C                                                          ICD-10     H52209.   03/10/2020 Current
 Presbyopia
  03/17/2020 16:02 EST Mitchell, B. NP-C                                                          ICD-10       H524    03/10/2020 Current
 Dental caries on pit and fissure surface penetrat into pulp
  06/24/2022 15:04 EST Flowers, Joe DDS                                                           ICD-10      K0253    06/24/2022 Current

 Abrasion of teeth
  08/16/2016 10:55 EST Nieto, Jorge DMD                                                           lCD-10       K031    08/16/2016 Current
 Disease of hard tissues of teeth
  09/09/2019 12:11 EST Flowers, Joe DDS                                                           ICD-10       K039    09/09/2019 Current
 Aggressive periodontitis, localized
  06/24/2022 14:56 EST Flowers, Joe DDS                                                           ICD-10      K0521    06/24/2022 Current
 Pain in unspecified joint
  12/08/2020 14:55 EST Markey, J. MD                                                              ICD-10     M2550     12/08/2020 Current
        bilateral wrists
 Injury of wrist, hand and finger(s), unspecified

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Reg #: 02007-104                                    Inmate Name: AGUILAR LOPEZ, JOSE LUIS

Description                                                                               Axis Code Type      Code     Diag. Date Status     Status Date
  01/11/2022 14:28 EST Smith, J NP                                                                ICD-10      U07.1    01/11/2022 Current
Confirmed case COVID-19
 01/26/202111:55 EST Smith, J NP                                                                  ICD-10      U07 .1   01/13/2021 Resolved    01/26/2021
 01/13/2021 18:05 EST Markey, J. MD                                                               ICD-10      U07.1    01/13/2021 Current


                                                                           Current
Disease ef hare tissues ef teeth
 06/28/2022 11 :06 EST Flowers, dee DDS                                                           ICD 10      ¾039     0612412022 Current
 06/24/2022 15:14 EST Flowers, Joe DDS                                                            ICD-10      K039     06/24/2022 Current
Cernna·viirus COVID 19 test negati've
  0111212022 16:25 EST Smith, d NP                                                               . ICD 10   203818     01/1112022 Current
        --error
  01/12/2022 16:24 EST Smith, J NP                                                                ICD-10    Z03818-    01/11/2022 Current


 Total: 22




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                                                     Bureau of Prisons
                                                      Health Services
                                                      Vision Screens
 Reg #: 02007-104                             . Inmate Name: AGUILAR LOPEZ, JOSE LUIS

 Vision Screen on 02/15/2022 12:22
    Blindness:
    Distance Vision: OD: 20/100                                OS: 20/100                        OU:
    Near Vision:          OD:                                  OS:                               OU:
   With Corrective
    Distance Vision: OD: 20/20                                 OS: 20/20                         OU:
   Near Vision:           OD:                                  OS:                               OU: 20/20
    Present Glasses - Distance                                         Refraction - Distance
          Sphere         Cylinder    Axis           Add                     Sphere    Cylinder     Axis      Add
    R:                                                                 R: +2.75       -0.25        80        +1.5
    L:                                                                 L: +3.00       -0.50        85        +1.5
   Color Test:
   Tonometry:       R: 12              L: 12
   Comments: TA AT: 12:24 PM
         Orig Entered:    02/15/2022 13:24 EST Barry, Timothy OD




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Case 1:13-cr-20911-BB Document 312 Entered on FLSD Docket 11/07/2023 Page 151 of 263
                                                    Bureau of Prisons
                                                     Health Services
                                                      COVID-19 AG
 Begin Date: 12/12/2021                                  End Date:    12/12/2022
 Reg #:      02007-104                                   Inmate Name: AGUILAR LOPEZ, JOSE LUIS
(Reference Range - Negative)
Effective Date           COVID-19 AG                                            Provider
01/11/2022 10:50 POX     Positive                           Asymptomatic        Johnson, Jessica ROH
      E-4 EXPOSURE
                     01/11/2022 12:02 EST Johnson, Jessica ROH
         Orig Entered:
12/13/2021 12:15 POX     Negative                Asymptomatic                   Holston, Bailey Phlebotomist
            '
     7 day testing. 100%
        Orig Entered: 12/13/2021 14:09 EST Holston, Bailey Phlebotomist

Total: 2




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                     UNICOR, Federal Prison Industries, Inc.
                     Federal Correctional Institution
                     Box 767 Old NC 75                                               UNICOR USE ONLY
                     Butner, NC 27509
                     919-575-2050 FAX (919) 575-6280

 Method of Payment:             D Credit Card                          Job Number:

                                D Purchase Order                       Tray Number:

 Agency: BOP, POLLOCK MED FCI                                          Phone: 318-765-4400

            Pollock, Louisiana 71467
 Cost Breakdown                                                        Patient Name/No:                                   '
 Lenses                                                                AGUILAR LOPEZ, JOSE
                                                                       02007-104
 Frame
                                                                       Ship To:
 Extra
                                                                       POLLOCK MED FCI
 Extra                                                                 3000 Air Base Road
                                                                       Pollock, Louisiana 71467
 Extra

 Total

            Sphere                    Cylinder            Axis             Prism       Direction                 Tint
            R         +2.75            -0.25             80                                          0#1
Distance
            L         +3.00            -0.50             85                                          0#2
                                        Segment Instructions              Pupillary Width (PD)       0#3
            R           1.50
Bifocal                                Height         Width                Dist          Near       Color of Tint:
Power                                R       12                          R I 30        R I 29
            L          1.50
                                     L       12
                                                        28
                                                                         L I 30        L I 29        □       Transition

                                    Straight Top    Executive             Round         Trifocal
  _[R] Polycarbonate                                  Type                           I 17 x 28       □        UV Coat
                                          [R]              □               □         08x35
   □ Plastic                                                                                         □      Scratch Coat
                                     0          □                                    Progressive
                                                                                      0Noline
                 -                   28         35
           Frame Style                            Color                  Eye Size     Bridge Size    Tempie Length and Style
              NCT1                                 BLK                     51              17                 140
 SPECIAL INSTRUCTIONS
                                    0Lens only                                        D Sideshields (Safety Frame only)
                                    0Frameonly                                            OClip-on

                                                                                          □ Permanent




  Completed by Barry, Timothy OD on 02/15/2022 12:27




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                             Case 1:13-cr-20911-BB Document 312 Entered on FLSD Docket 11/07/2023 Page 153 of 263
                                                                     Bureau of Prisons
                                                                      Health Services
                                                                      Immunizations
Begin Date:    12/12/2021                                    End Date:       12/12/2022
Reg#:          02007-104                                     Inmate Name: AGUILAR LOPEZ, JOSE LUIS
Immunization                        Immunization Date   Administered . Location            Dosage Drug Mfg.   Lot#      Dose#   Exp Date
COVI D-19 Pfizer-BioNTech           02/15/2022          Now            Right Deltoid       0.3mL Pfizer       330368D   3       02/28/2022

            Orig Entered: 02/15/2022 12:38 EST Nugent, Kim HIT/LPN
Total: 1




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                                                     Bureau of Prisons
                                                      Health Services
                                                    Medication Summary
                                                         Historical
 Complex: POX--POLLOCK USP                                     Begin Date: 12/12/2021           End Date: 12/12/2022
 Inmate:  AGUILAR LOPEZ, JOSE LUIS                             Reg #:            02007 -104     Quarter:   E04-209L

 Medications listed reflect prescribed medications from the begin date to end date on this report.
Allergies:                                    Denied


Active Prescriptions
   Amoxicillin 500 MG Cap
   POM - Take one capsule (500 MG) by mouth three times daily for 7 days
   Rx#:    352192-CP1           Doctor: Flowers, Joe DDS
   Start: 06/24/22              Exp: 07/01/22                              Pharmacy Dispensings: 21 CAP in 7 days

   Ibuprofen 800 MG Tab
   POM- Take one tablet (800 MG) by mouth three times daily with food
   Rx#:    356430-CP1           Doctor: Flowers, Joe DDS
   Start: 06/24/22              Exp: 06/27/22                              Pharmacy Dispensings: 9 TAB in 3 days

   Ibuprofen 800 MG Tab
   POM - Take one tablet (800 MG) by mouth three times daily with food
   Rx#:    362464-CP1           Doctor: Flowers, Joe DDS
   Start: 06/24/22              Exp: 06/27/22                              Pharmacy Dispensings: 9 TAB in 3 days

   Ibuprofen 800 MG Tab
   Take one tablet (800 MG) by mouth three times daily
   Rx#:    402965-CP1           Doctor: Flowers, Joe DDS
   Start: 10/06/22              Exp: 10/09/22                             Pharmacy Dispensings: 9 TAB in 3 days




Generated 12/12/2022 12:32 by Nugent, Kim HIT/LPN      Bureau of Prisons - POM                               Page 1 of 1
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 Inmate Name:    AGUILAR LOPEZ, JOSE LUIS                                                  Reg#:       02007-104
 Date of Birth:  06/25/1972                             Sex: M        Race: WHITE        , Facility:   POM
 Encounter Date: 06/24/2022 14:28                       Provider:     Flowers, Joe DDS     Unit:       E04


 Medications as of Dental Health History Encounter date:   06/24/2022 14:28
 Medications:
  Amoxicillin 500 MG Cap Exp: 07/01/2022 SIG: POM - Take one capsule (500 MG) by mouth three times daily for 7
  days
  Ibuprofen 800 MG Tab Exp: 06/27/2022 SIG: POM- Take one tablet (800 MG) by mouth three times daily with food
  Ibuprofen 800 MG Tab Exp: 06/27/2022 SIG: POM - Take one tablet (800 MG) by mouth three times daily with food

 OTCs: Listing of all known OTCs this inmate is currently taking.



    Instructed inmate how to obtain medical, dental, and mental health care.

    Copay Required: No                           Cosign Required: No
    TelephoneNerbal Order:          No
    Completed by Flowers, Joe DDS on 06/24/2022 14:29




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                                                       Bureau of Prisons
                                                        Health Services
                                                 Dental Soap/Admin Encounter
Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                                               Reg #: 02007-104
Date of Birth: 06/25/1972                                        Sex: M                Race: WHITE                  Facility: PCM
Encounter Date: 10/06/2022 10:50                                 Provider:    Flowers, Joe DDS                      Unit:     E04

Reviewed Health Status:         Yes
Sick Call Visit encounter performed at Dental Clinic.
SUBJECTIVE:
   COMPLAINT 1                    Provider: Flowers, Joe DDS
            Chief Complaint:  Pain
            Subjective: Inmate presented to Dental with pain in the upper left quadrant.
            Pain Location: Tooth/Teeth
            Pain Scale:    7
            Pain Qualities:  Aching I Throbbing I Pressure
            History of Trauma:
           Onset:
            Duration:
           Exacerbating Factors:
           Relieving Factors:
           Comments:


OBJECTIVE:
Dental Findings:
   Tooth
        #12
                Abnormal Finding(s) Noted (Clinical Observation/Findings)(yes)
                Caries (Clinical Observation/Findings)(yes)
                Caries (Radiological Observation/Findings )(yes)
ASSESSMENTS:
Dental caries on pit and fissure surface penetrat into pulp, K0253 - Current
Temperature:
    Date            Time              Fahrenheit          Celsius Location                  Provider
     10/06/2022     10:51 POX                    97.2           36.2                        Flowers, Joe DDS
Pulse:
     Date           Time               Rate Per Minute            Location                  Rhythm       Provider
     10/06/2022 10:51 POX                                  55                                            Flowers; Joe DDS
Blood Pressure:
     Date       Time      Value                  Location              Position            Cuff Size    Provider
     10/06/2022 10:51 POX 112/74                                                                        Flowers, Joe DDS

                                                        Dental Anesthesia
 Type                                                    Location                              Amount
 Articaine 4% 1:100,000 epinephrine                      Maxillary                             3 Cartridges


Generated 10/06/2022 10:57 by Flowers, Joe DDS                   Bureau of Prisons - POM                                     Page 1 of 2
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Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                                   Reg#: 02007-104
Date of Birth: 06/25/1972                                 Sex: M                Race: WHITE             Facility: POM
Encounter Date: 10/06/2022 10:50                          Provider:    Flowers, Joe DDS                 Unit:     E04

 PROCEDURE:
 Dental Procedures

   Dental Procedures In Process/Completed During This Encounter
         Tooth/Area                                Procedure                                                    Status
         #12                                       Periapical Radiograph                                        Completed
         #12                                       Examination, Limited                                         Completed
         #12                                       Extraction, Erupted Tooth                                    Completed

   Procedures Added or Updated on the Dental Treatment Plan During This Encounter
         Tooth/Area                                Procedure                                                    Status
         #12-L                                     Composite Restoration                                        Cancelled


PLAN:
New Medication Orders:
jg#_         Medication                                                                                   Order Date
                 Ibuprofen Tablet                                                                         10/06/2022 10:50
                        Prescriber Order:        800 mg Orally Mouth - three times a day x 3 day(s)
                        Indication:   Dental caries on pit and fissure surface penetrat into pulp

Disposition:
       Will Be Placed on Callout

Patient Education Topics:
       Date Initiated Format                         Handout/Topic                              Provider               Outcome
       10/06/2022     Counseling                     Pre-op Instructions                        Flowers, Joe           Verbalizes
                                                                                                                       Understanding

Copay Required:Yes                           Cosign Required: No
TelephoneNerbal Order:          No
Completed by Flowers, Joe DDS on 10/06/2022 10:57




Generated 10/06/2022 10:57 by Flowers, Joe DDS            Bureau of Prisons - POM                                  Page 2of 2
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                                        Bureau of Prisons
                                         Health Services
                         Dental Soap/Admin Encounter -Administrative Note
Inmate Name:        AGUILAR LOPEZ, JOSE LUIS                                                  Reg#:       02007-104
Date of Birth:      06/25/1972                       Sex:          M     Race:WHITE           Facility:   POM
Note Date:          06/28/2022 10: 15                Provider:     Flowers, Joe DDS           Unit:       E04

Reviewed Health Status:         Yes

Administrative Note encounter performed at Dental Clinic.
Administrative Notes:
       ADMINISTRATIVE NOTE            1         Provider: Flowers, Joe DDS
             Inmate was seen in dental for sick call on Friday, 6/24/22. Inmate only received I_BU 362464-CP1 from night
             stock. Inmate Rasas, Amosa 47963-044 was given the IBU 356430-CP1 and AMOX 352192-CP1.

Copay Required: No                          Cosign Required: No
TelephoneNerbal Order:          No
Completed by Flowers, Joe DDS on 06/28/2022 10:17




Generated 06/28/202210:17 by Flowers, Joe DDS      Bureau of Prisons - POM                                Page 1 of 1
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                                         Bureau of Prisons
                                          Health Services
                          Dental Soap/Admin Encounter - Administrative Note
Inmate Name:        AGUILAR LOPEZ, JOSE LUIS                                            Reg#:       02007-104
Date of Birth:      06/25/1972                        Sex:          M     Race:WHITE    Facility:   POM
Note Date:          06/28/2022 1O:10                  Provider:     Flowers, Joe DDS    Unit:       E04

Reviewed Health Status:          Yes

Administrative Note encounter performed at Dental Clinic.
Administrative Notes: •
       ADMINISTRATIVE NOTE             1         Provider: Flowers, Joe DDS
              d/c meds


Copay Required: No           •   (\          Cosign Required: No
TelephoneNerbal Order~,&_,,
Completed by Flowers, Joe DD - - ~ 0 2 2 10:11




                                                                6)~
                                                                     · ~




                                                                                       6)~,




Generated 06/28/2022 10:11 by Flowers, Joe DDS      Bureau of Prisons - POM                         Page 1 of 1
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                                         Bureau of Prisons
                                          Health Services
                          Dental Soap/Admin Encounter - Administrative Note
Inmate Name:        AGUILAR LOPEZ, JOSE LUIS                                             Reg#:       02007-104
Date of Birth:      06/25/1972                        Sex:          M     Race: WHITE    Facility:   POM
Note Date:          06/28/2022 10:10                  Provider:     Flowers, Joe DDS     Unit:       E04

Reviewed Health Status:          Yes

Administrative Note encounter performed at Dental Clinic.
Administrative Notes:
       ADMINISTRATIVE NOTE             1         Provider: Flowers, Joe DDS
              d/c meds


Copay Required:No            II,(\           Cosign Required: No
TelephoneNerbal Order'IQ_,,
Completed by Flowers, Joe DD_-~02210:11




                                                                CS)~

                                                                              ~
                                                                                        $~,




Generated 06/28/2022 10:11 by Flowers, Joe DDS      Bureau of Prisons - POM                          Page 1 of 1
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                                         Bureau of Prisons
                                          Health Services
                                          See Amendment
Inmate Name:    AGUILAR LOPEZ, JOSE LUIS                              Reg#:       02007-104
Date of Birth:  06/25/1972                   Sex:          M          Race:       WHITE
Encounter Date: 06/28/2022 10:15                                      Facility:   POM

Amendment made to this note by Flowers, Joe DDS on 06/28/202210:17.




                                           Bureau of Prisons - POM
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                                                       Bureau of Prisons
                                                        Health Services
                                                 Dental Soap/Admin Encounter
Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                          Reg#: 02007-104
Date of Birth: 06/25/1972                                  Sex: M                Race: WHITE   Facility: POM
Encounter Date: 06/28/2022 10:04                           Provider:    Flowers, Joe DDS       Unit:     E04

Reviewed Health Status:          Yes
Sick Call Visit encounter performed at Dental Clinic.
SUBJECTIVE:
   COMPLAINT 1                    Provider:      Flowers, Joe DDS
           Chief Complaint:       Pain
          Subjective:     Inmate presented to Dental with pain in the upper right quadrant.
          Pain Location: Tooth/Teeth
           Pain Scale:     7
          Pain Qualities:  Aching I Throbbing I Pressure
          History of Trauma:
          Onset:
          Duration:
          Exacerbating Factors:
          Relieving Factors:
          Comments:


OBJECTIVE:
Dental Findings:
   Tooth
        #1
               Abnormal Finding(s) Noted (Clinical Observation/Findings)(yes)-
               Caries (Clinical Observation/Findings)(yes)
               Caries (Radiological Observation/Findings)(yes)
ASSESSMENTS:

Dental caries on pit and fissure surface penetrat into pulp, K0253 - Current

PLAN:



Copay Required:Yes                            Cosign Required: No
TelephoneNerbal Order:          No
Completed by Flowers, Joe DDS on 06/28/2022 10:05




Generated 06/28/2022 10:05 by Flowers, Joe DDS             Bureau of Prisons - POM                     Page 1 of 1
  Case 1:13-cr-20911-BB Document 312 Entered on FLSD Docket 11/07/2023 Page 163 of 263
                                                       Bureau of Prisons
                                                        Health Services
                                                 Dental Soap/Admin Encounter
Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                                           Reg#: 02007-104
Date of Birth: 06/25/1972                                     Sex: M                Race: WHITE                 Facility: POM
Encounter Date: 06/24/2022 14:00                              Provider:    Flowers, Joe DDS                     Unit:     E04

Reviewed Health Status:            Yes
Sick Call Visit encounter performed at Dental Clinic.
SUBJECTIVE:
   COMPLAINT 1                     Provider: Flowers, Joe DDS
            Chief Complaint:       Pain
            Subjective: lnm~teted to Dental with pain in the upper right quadrant.
            Pain Location: t  h
            Pain Scale:       7          ~

            Pain Qualities:       AchingV>A I Pressure
            History of Trauma:               ~

            Onset:                                      ~
            Duration:
            Exacerbating Factors:                             ~
            Relieving Factors:                      .
            Comments:


OBJECTIVE:                                                                CS>A
Den~!=~~dings:                                                      .          "f"   ~~
          #1
                Abnormal Finding(s) Noted (Clinical Observation/Findings)(yes               ~
                Caries (Clinical Observation/Findings)(yes)
                Caries (Radiological Observation/Findings)(yes)                                     ~

ASSESSMENTS:                                                                                        \._~
Dental caries on pit and fissure surface penetrat into pulp, K0253 - Current                           ~?
Temperature:                                                                                            "f"   ~
     Date           Time                 Fahrenheit     Celsius Location                 Provider
    06/24/2022      14:01 POX                    98.6        37.0                         Flowers, Joe DDS
Pulse:
                                          Rate Per Minute      Location                  Rhythm      Provider
     06/24/2022 14:01 POX                               65                                           Flowers, Joe DDS
Blood Pressure:
     Date       Time      Value                  Location           Position            Cuff Size   Provider
     06/24/2022 14:01 POX 127/78                                                                    Flowers, Joe DDS

PLAN:
New Medication Orders:
Rx#          Medication                                                                                          Order Date
             Ibuprofen Tablet                                                                                    06/24/2022 14:00
Generated 06/24/2022 14:07 by Flowers, Joe DDS                Bureau of Prisons - POM                                     Page 1 of 2
  Case 1:13-cr-20911-BB Document 312 Entered on FLSD Docket 11/07/2023 Page 164 of 263

Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                                 Reg #: 02007 -104
Date of Birth: 06/25/1972                                   Sex: M                Race: WHITE         Facility: POM
Encounter Date: 06/24/2022 14:00                            Provider:    Flowers, Joe DDS             Unit:     E04
New Medication Orders:
Rx#          Medication                                                                                Order Date
                        Prescriber Order:        800 mg Orally Mouth - three times a day x 3 day(s)
                        Indication: Dental caries on pit and fissure surface penetrat into pulp
                        Start Now: Yes
                            Night Stock Rx#:     356430-CP1
                            Source: Night Stock
                            Admin Method: Self Administration
                            Stop Date:
                            MA             800 mg Orally Mouth - three times a day x 3 day(s)
                            On     i      ose Given: No
                 Amoxicillin Caps                                                                      06/24/2022 14:00
                        Prescriber         tl"~0 MG Orally Mouth - three times a day x 7 day(s)
                        Indication: Den~~ on pit and fissure surface penetrat into pulp
                        Start Now: Yes
                            Night Stock Rx#:     3      -
                            Source: Night Stock


                            Stop Date: 07/01/2022 13:59
                            MAR Label: day(s)                           ~
                            OneTimeDoseGiven: No                        ~~
Disposition:
     Follow-up at Sick Call as Needed

Patient Education Topics:
                                                                                      ~
     Date Initiated Format                           Handout/Topic                                                  Outcome
     06/24/2022     Counseling                       Post-operative Care              ~(fjJoe                       Verbalizes


Copay Required:Yes
TelephoneNerbal Order:           No
                                             Cosign Required: No


Completed by Flowers, Joe DDS on 06/24/2022 14:07
                                                                                                  ~,                Understanding




Generated 06/24/2022 14:07 by Flowers, Joe DDS              Bureau of Prisons - POM                            Page 2 of 2
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                                                       Bureau of Prisons
                                                        Health Services
                                                 Dental Soap/Admin Encounter
Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                                          Reg#: 02007-104 •
Date of Birth: 06/25/1972                                     Sex: M                Race: WH-ITE               Facility: POM
Encounter Date: 06/24/2022 14:00                              Provider:    Flowers, Joe DDS                    Unit:     E04

Reviewed Health Status:         Yes
Sick Call Visit encounter performed at Dental Clinic.
SUBJECTIVE:
   COMPLAINT 1                    Provider:      Flowers, Joe DDS




            Relieving
            Comm


OBJECTIVE:
Dental Findings:
   Tooth
        #1




ASSESSMENTS:
Dental caries on pit and fissure surface penetrat into pulp, K0253 - Current
Temperature:
     Date                             Fahrenheit        Celsius Location                 Provider
    06/24/2022      14:01 POX                    98.6        37.0                        Flowers, Joe DDS
Pulse:
     Date          Time                Rate Per Minute         Location                  Rhythm     Provider
     06/24/2022 14:01 POX                               65                                          Flowers, Joe DDS
Blood Pressure:
     Date       Time              Value          Location           Position            Cuff Size   Provider
     06/24/2022 14:01 POX         127/78                                                            Flowers, Joe DDS

PLAN:
New Medication Orders:
Rx#          Medication                                                                                         Order Date
                 Ibuprofen Tablet                                                                               06/24/2022 14:00
Generated 06/24/2022 14:07 by Flowers, Joe DDS                Bureau of Prisons - POM                                    Page 1 of 2
  Case 1:13-cr-20911-BB Document 312 Entered on FLSD Docket 11/07/2023 Page 166 of 263

Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                                 Reg #: 02007-104
Date of Birth: 06/25/1972                                    Sex: M               Race: WHITE         Facility: POM
Encounter Date: 06/24/2022 14:00                             Provider:   Flowers, Joe DDS             Unit:     E04
New Medication Orders:
Rx#          Medication                                                                                Order Date
                       Prescriber Order:         800 mg Orally.Mouth - three times a day x 3 day(s)
                       Indication:     Dental caries on pit and fissure surface penetrat into pulp
                       Start Now: Yes
                           Night Stock Rx#:      356430-CP1
                           Source: Night Stock
                           Admin Method: Self Administration
                           Stop Date:
                           MA              800 mg Orally Mouth - three times a day x 3 day(s)
                           On      i      ose Given: No
                Amoxicillin Capsu                                                                      06/24/2022 14:00
                       Prescriber          ~~0 MG Orally Mouth - three times a day x 7 day(s)

                       Indication: Den,~ on pit and fissure surface penetrat into pulp
                       Start Now: Yes
                           Night Stock Rx#:      3       -
                           Source: Night Stock


                           Stop Date: 07/01/2022 13:59
                           MAR Label: day(s)                             ~
                           One Time Dose Given: No                       ~~


                                                                                       ~
Disposition:
    Follow-up at Sick Call as Needed

Patient Education Topics:
    Date Initiated Format                             Handout/Topic                                                 Outcome
    06/24/2022     Counseling                         Post-operative Care              ~~Joe                        Verbalizes
                                                                                                                    Understanding

Copay Required:Yes
TelephoneNerbal Order:          No
                                             Cosign Required: No


Completed by Flowers, Joe DDS on 06/24/2022 14:07
                                                                                                     ~I'



Generated 06/24/2022 14:07 by Flowers, Joe DDS               Bureau of Prisons - POM                            Page 2 of 2
Case 1:13-cr-20911-BB Document 312 Entered on FLSD Docket 11/07/2023 Page 167 of 263
                                         Bureau of Prisons
                                          Health Services
                                          See Amendment
Inmate Name:    AGUILAR LOPEZ, JOSE LUIS                               Reg#:       02007-104
Date of Birth:  06/25/1972                  Sex:          M            Race:       WHITE
Encounter Date: 06/28/2022 10:04                                       Facility:   POM

Amendment made to this note by Flowers, Joe DDS on 06/28/2022 10:05.




                                           Bureau of Prisons - POM
/


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                                                           Bureau of Prisons
                                                            Health Services
                                                     Dental Soap/Admin Encounter
    Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                                          Reg#: 02007-104
    Date of Birth: 06/25/1972                                     Sex: M               Race: WHITE                 Facility: POM
    Encounter Date: 06/24/2022 13:52                              Provider:   Flowers, Joe DDS                     Unit:     E04

    Reviewed Health Status: Yes
    Sick Call Visit encounter performed at Dental Clinic.
    SUBJECTIVE:
       COMPLAINT 1                    Provider:      Flowers, Joe DDS
              Chief Complaint:  Pain
              Subjective: Inmate presented to Dental with pain in the upper right quadrant.
              Pain Location: Tooth/Teeth
              Pain Scale:       8
              Pain Qualities:       Aching I Throbbing I Pressure
              History of Trauma:
              Onset:
              Duration:
              Exacerbating Factors:
              Relieving Factors:
              Comments:


    OBJECTIVE:
    Dental Findings:
       Tooth
            #1
                   Abnormal Finding(s) Noted (Clinical Observation/Findings)(yes)
                   Bone Loss (Radiological Observation/Findings)(yes)
                   Mobility (Clinical Observation/Findings)(yes)
                  Sensitive to Provoking Stimuli (Clinical Observation/Findings)(yes)
                  Tenderness (Clinical Observation/Findings)(yes)
    ASSESSMENTS:
    Aggressive periodontitis, localized, K0521 - Current
    Temperature:
        Date            Time              Fahrenheit        Celsius Location                 Provider
        06/24/2022      13:53 POX                    97.4        36.3                        Flowers, Joe DDS
    Pulse:
         Date          Time                Rate Per Minute         Location                  Rhythm     Provider
        06/24/2022 13:53 POX                                52                                          Flowers, Joe DDS
    Blood Pressure:
         Date       Time      Value                  Location           Position            Cuff Size   Provider
         06/24/2022 13:53 POX 128/71                                                                    Flowers, Joe DDS




    Generated 06/24/2022 14:00 by Flowers, Joe DDS                Bureau of Prisons - POM                                   Page 1 of 2
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Inmate Name: AGUILAR LOPEZ, JOSE LUIS                                                                 Reg #: 02007 -104
Date of Birth: 06/25/1972                                Sex: M                Race: WHITE            Facility: POM
Encounter Date: 06/24/2022 13:52                         Provider:    Flowers, Joe DDS                Unit:     E04

PROCEDURE:
Dental Procedures

   Dental Procedures In Process/Completed During This Encounter
       Tooth/Area                                  Procedure                                                  Status
       #1                                          Oral Health Assessment                                     Completed
       #1                                          Treatment Plan Examination                                 Completed
       #1                                          Extraction, Erupted Tooth                                  Completed


PLAN:
New Medication Orders:
Rx#          Medication                                                                                Order Date
                 Ibuprofen Tablet                                                                      06/24/2022 13:52
                       Prescriber Order:         800 mg Orally Mouth - three times a day x 3 day(s)
                       Indication: Aggressive periodontitis·, localized
                       Start Now: Yes
                           Night Stock Rx#:      362464-CP1 .
                           Source: Night Stock
                           Admin Method: Self Administration
                           Stop Date:
                           MAR Label: 800 mg Orally Mouth - three times a day x 3 day(s)
                           One Time Dose Given: No

Disposition:
    Will Be Placed on Callout

Patient Education Topics:
    Date Initiated Format                            Handout/Topic                            Provider            Outcome
    06/24/2022     Counseling                        Post-operative Care                      Flowers, Joe        Verbalizes
                                                                                                                  Understanding

Copay Required:Yes                           Cosign Required: No
TelephoneNerbal Order:          No
Completed by Flowers, Joe DDS on 06/24/2022 14:00




Generated 06/24/2022 14:00 by Flowers, Joe DDS            Bureau of Prisons - POM                               Page 2 of 2
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                                                        Bureau of Prisons
                                                         Health Services
                                                       Dental Routine Care
                                                          Hygiene Appt
Inmate Name:    AGUILAR LOPEZ, JOSE LUIS                                                      Reg#:       02007-104
Date of Birth:  06/25/1972                                Sex: M       Race: WHITE            Facility:   POM
Encounter Date: 12/08/2022 13:55                          Provider:    Johnson, Jessica ROH   Unit:       E04

Reviewed Health Status:         Yes

ASSESSMENTS:
Health Problems Newly Identified During This Encounter:
  Health Problem
Allergies:                                    Denied

 Oral Hygiene: Fair
 Oral Hygiene Comments:          mild plaque and calculus; generalized attrition
 CPITN:           2         x         2
                  2         2         2

 Hygiene examination performed and documented:                   No
 Head & Neck/Soft Tissue within normal limits?
 Comments:

 Comments:
Additional Findings and Procedures




PROCEDURE:
Dental Procedures

   Dental Procedures In Process/Completed During This Encounter
       Tooth/Area                                    Procedure                                                   Status
       General                                       Bitewings Vertical (7)                                      Completed
       General                                Prophylaxis                                                      Completed
       completed by cavitron, hand scale, polish and floss; inmate released from dental clinic in good condition.
       General                                 Topical Fluoride Application                                    Completed
       fluoride application x 60 seconds - advised inmate no eating, drinking, or rinsing for 20 minutes - inmate verbalized
       understanding.

Medication Reconciliation.
The patient's known medication list including OTC items was compiled and compared to new and changed BOP
orders.

Reconciled Medications:
Source                                                            Medication                      Order Detail
   No Medication or OTC items to be Reconciled.

Other Active Medications
                       Medication                                        Stop Date    SIG
   No Medications to be Reconciled.
Generated 12/08/2022 13:57 by Johnson, Jessica ROH          Bureau of Prisons - POM                                Page 1 of 2
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Inmate Name:    AGUILAR LOPEZ, JOSE LUIS                                                        Reg#:       02007-104
Date of Birth:  06/25/1972                              Sex: M        Race: WHITE               Facility:   POM
Encounter Date: 12/08/2022 13:55                        Provider:     Johnson, Jessica ROH      Unit:       E04

Other Active IVs:
                        Medication                                     Stop Date    SIG
    No IVs to be Reconciled.
Other Active OTCs:
   Medication                                        OTC Source                    Start Date               Stop Date
    No OTCs to be Reconciled.

Disposition:
     Discharged to Housing Unit-No Restrictions

Patient Education Topics:
     Date Initiated Format                           Handout/Topic                              Provider                Outcome
     12/08/2022     Counseling                       Access to Care                             Johnson, Jessica        Verbalizes
                                                                                                                        Understanding
          advised inmate to report to sick call for dental pain and/or swelling
     12/08/2022       Counseling                     Oral Hygiene Instructions                  Johnson, Jessica        Verbalizes
                                                                                                                        Understanding
          proper brushing and flossing instructions given

   Instructed inmate how to obtain medical, dental, and mental health care.

   Copay Required: No                           Cosign Required: No
   TelephoneNerbal Order:           No
   Completed by Johnson, Jessica ROH on 12/08/2022 13:57




Generated 12/08/2022 13:57 by Johnson, Jessica ROH       Bureau of Prisons - POM                                   Page 2 of 2
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                 Federal                                           FMC Butner
                 B'qreau of                                    1000 Old Highway NC 75
        •        Prisons                                          Butner, NC 27509
                                                                 919-575-3900 x5707
                                                                                                     *"* Sensitive But Unclassified ,.,,,.
         Name AGUILAR LOPEZ, JOSE                    Facility • FCI Pollock                       Collected 03/09/2022 08:24 CST
         Reg # 02007-104                             Order Unit E04-102U                          Received 03/10/2022 09:29 CST
         DOB 06/25/1972                              Provider J. Smith                            Reported 03/10/2022 11 :28 CST
         Sex   M                                                                                  LIS ID     053222480


                                                                 CHEMISTRY
            Sodium                                               137                                  136-145                mmol/L
            Potassium                                            4.1                                  3.5-5.1               mmol/L
            Chloride                                             105                                  98-107                mmol/L
            Carbon Dioxide                                        23                                    21-32                mmol/L
            Urea Nitrogen (BUN)                                   11                                    7-26                 mg/dL
            Creatinine                                           0.80                                0.60-1.30               mg/dL
            eGFR (IDMS)                                          >60
              GFR units measured as mUmin/1.73 mA2. if African American, multiply by 1.210. A calculated GFR <60 suggests a chronic
              kidney disease if found over a 3 month period.
            Calcium                                               9.0                                 8.4-10.2               mg/dL
            Glucose                             H                112                                   70-109                mg/dL
            AST                                                   19                                     5-34                  U/L
            ALT                                                    8                                    8-55                   U/L
            Alkaline Phosphatase                             \    70                                   40-140                  U/L
\
    I       Bilirubin, Total                                      0.2                                  0.2-1.0               mg/dL
            Protein, Total                                        6.8                                  6.4-8.3                g/dL
            Albumin                                               3.6                                  3.5-5.0                g/dL
            Globulin                                              3.2                                                         g/dL
            Albumin/Globulin Ratio                               1.13                                1.00-2.30
            Anion Gap                                             9.0                                 9.0-19.0
            BUN/Creatinine Ratio                                 13.9                               • 5.0-30.0
            Cholesterol, Total                                     193                               <200                     mg/dL
            Triglycerides                                          67                                <150                     mg/dL
            HDL Cholesterol                   H                    67                               40-60                     mg/dL
            LDL-Cholesterol                                        113                               <130                     mg/dL
            Chol/HDLC Ratio                                        2.9                              0.0-4.0

                                                                HEMATOLOGY
            White Blood Cell Count                                 7.2                            3.6-11.0                     K/uL
            Red Blood Cell Count                                  4.76                            4.30-6.20                    M/uL
            Hemoglobin                        L                   13.2                            13.5-18.0                    g/dL
            Hematocrit                                            40.7                            38.0-54.0                     %
            MCV                                                   85.5                            80.0-96.0                     fl
            MCH                                                   27.7                            26.0-34.0                     pg
            MCHC                                                  32.4                            30.0-37.0                    g/dL
            ROW-CV                                                12.5                            10.8-15.6                     %
            Platelet Count                                        140                              140-440                     K/uL
            MPV                               H                   14.2                             8.3-12.8                     fl

               FLAG LEGEND           L==Low L!==Low Critical    H==High H!==High Critical   A==Abnormal A! ==Abnormal Critical
                                                                                                          Page 1 of 2
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     Federal                                   FMC Butner
     Bqreau of                             1000 Old Highway' NC 75
•    Pnsons                                   Butner, NC 27509
                                             919-575-3900 x5707
                                                                              __,, Sensitive But Unclassified *""
 Name AGUILAR LOPEZ, JOSE        Facility FCI Pollock                      Collected 03/09/2022 08:24 CST
 Reg # 02007-104                 Order Unit E04-102U                       Received 03/10/2022 09:29 CST
 DOB 06/25/1972                  Provider J. Smith                         Reported 03/10/2022 11 :28 CST
 Sex   M                                                                   LIS ID     053222480


                                            HEMATOLOGY




    FLAG LEGEND    L=Low L!=Low Critical    H=High H!=High Critical   A=Abnormal A! =Abnormal Critical
                                                                                   Page 2 of 2
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                                          Bureau of Prisons
                                           Health Services
                                           Cosign/Review
Inmate Name:    AGUILAR LOPEZ, JOSE LUIS                                           Reg#:       02007-104
Date of Birth:  06/25/1972                      Sex:          M                    Race:       WHITE
Encounter Date: 03/10/2022 11 :35               Provider:     Lab Result Receive   Facility:   POM

Reviewed by Smith, J NP on 03/10/2022 12:44.




                                               Bureau of Prisons - POM
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                                          Bureau of Prisons
                                           Health Services
                                           Cosign/Review
Inmate Name:    AGUILAR LOPEZ, JOSE LUIS                                        Reg#:       02007-104
Date of Birth:  06/25/1972                   Sex:          M                    Race:       WHITE
Encounter Date: 03/10/2022 11 :35            Provider:     Lab Result Receive   Facility:   POM

Cosigned by Markey, J. MD on 03/16/2022 15:46.




                                             Bureau of Prisons - POM
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                                                                                                                                           Report Status: Final
                                                                                                                                      AGUILAR LOPEZ, JOSE

 Patient Information                                          Specimen Information                                       Client Information
                                                              Specimen: DL598963S                                        Client#: 53569    SP0lMAIL
 AGUILAR LOPEZ, JOSE
                                                              Requisition: 3595383                                       LYONS, TRACY
 DOB: 06/25/1972      AGE: 49                                 Lab Ref#: 349212558                                        FCI POLLOCK-POM
 Gender:     M                                                                                                           1000 AIR BASE RD
                                                              Collected:      12/20/2021 / 08:22 CST
 Phone:      NG                                                                                                          POLLOCK, LA 71467
                                                              Received:       12/21/2021 / 03:33 CST
 Patient ID: 02007-104                                        Reported:       12/21/2021 /23:40 CST
                                                                                  ,-




      SARS CoV 2 (COVID-19) Tests

                         Test Name                                            Result                Reference Range                                      Lab
SARS CoV 2 RNA(COVID 19), QUALITATIVE NAAT                                                                                                               IG
 SARS CoV 2 RNA                            I                           NOT DETECTED               I NOT DETECTED

 A Not Detected result means that SARS-CoV-2 RNA was not present in the specimen above the limit of detection.
 A Not Detected result does not rule out the possibility of COVID-19 and should not be used as the sole basis for treatment or patient
 management decisions. If COVID-19 is still suspected, based on exposure history together with other clinical findings, re-testing should be
 considered in the context of clinical observations and epidemiological data for patient management decisions.
 Test Method: Nucleic Acid Amplification Test including reverse transcription polymerase chain reaction (RT-PCR) and transcription mediated
 amplification (TMA). The test method meets the US Centers for Disease Control and prevention (CDC) pre departure and arrival requirement
 for viral test for COVID-19 dated January 28, 2021. Testing requirements for traveling may change with time. The patient is responsible for
 determining the test requirements for each nation while they are traveling.
 This test has been authorized by the FDA under an Emergency Use Authorization (EUA) for use by authorized laboratories.
 Please review the "Fact Sheets" and FDA authorized labeling available for health care providers and patients using the following websites:
 https://www.questdiagnostics.com/home/Covid-19/HCP/QuestlVD/fact- sheet.html https ://www.questdiagnostics.com/home/Covid-19/Patients/
 QuestlVD/fact-sheet.html
 Due to the current public health emergency, Quest Diagnostics is accepting samples from appropriate clinical sources collected using
 wide variety of swabs and transport media for COVID-19. Not detected test results derived from specimens received in non- commercially
 manufactured viral collection kits or those not yet authorized by FDA for COVID-19 testing should be cautiously evaluated and take extra
 precautions such as additional clinical monitoring, including collection of an additional specimen.
 Additional information about COVID-19 can be found at the Quest Diagnostics website: www.QuestDiagnostics.com/Covid19.

 Physician Comments:




PERFORMING SITE:
IG    QUEST DIAGNOSTICS-IRVING, 4770 REGENT BLVD., IRVING, TX 75063-2445 Laboratory Director: ROBERT L BRECKENRIDGE,MD, CLIA: 45D0697943




CLIENT SERVICES: 866.697.8378                                         SPECIMEN: DL598963S                                                         PAGE 1 OF 1
Quest, Quest Diagnostics, the associated logo and all associated Quest Diagnostics marks are the trademarks of Quest Diagnostics.
Case 1:13-cr-20911-BB Document 312 Entered on FLSD Docket 11/07/2023 Page 177 of 263
                                            Bureau of Prisons
                                             Health Services
                                             Cosign/Review
 Inmate Name:    AGUILAR LOPEZ, JOSE Luis                                         Reg#:       02007-104
 Date of Birth:  06/25/1972                    Sex:          M                    Race:       WHITE
 Encounter Date: 12/21/2021 23:45              Provider:     Lab Result Receive   Facility:   POM

 Cosigned by Markey, J. MD on 12/22/2021 21 :34.




                                               Bureau of Prisons - POM
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                                          Bureau of Prisons
                                           Health Services
                                           Cosign/Review
Inmate Name:    AGUILAR LOPEZ, JOSE LUIS                                        Reg#:       02007-104
Date of Birth:  06/25/1972                   Sex:          M                    Race:       WHITE
Encounter Date: 12/21/2021 23:45             Provider:     Lab Result Receive   Facility:   POM

Reviewed by Lyons, T. FNP-C on 12/23/2021 07:55.




                                             Bureau of Prisons - POL
r
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      BP-AH8. 055                                                              U.S. DEPARTMENT OF JUSTICE
      SEP 98                                                                    FEDERAL BUREAU OF PRISONS
      INMATE REQUEST TO STAFF


                                  e of staff Member)
                                                              DA TE:   "9-etift..a
                                                              REGISTER NO. :


       WORK A/JIGNMENT:                                       UNIT:


      SUBJECT: (Briefly state your question or concern and the solution you are requesting.
      Continue on back, if necessary. Your failure to be specific may result in no action being
      taken.  If necessary, you will be interviewed in order to successfully respond to your

     • requtt:     ;te ( Ct..~/ (JUf.. "J"'f.!.I 7'1.R..1'1.t.a.. f    At.~"J-·tr:~ 1 ,-/{(:i-•{   &~a.rU-d-~vd;
       .,.AIJA..                      'l/.,       ()                                   •'.           ,
      ✓~Q -r.'iM44..t1.f 4 "
                     i        t




                         V




                                              (Do not write below this line)

       DISPOSITION:




                                                              Your name ht.s been added to the
                                                              waiting list for Medical Records.


                             K. NUGiNT, HIT
                             MEDICAL RECORDS
                             FCC POLLOCK, LA
                                                              Date
                                                                                         yy
                                                              This form replaces BP-148.070 dated Oct 86
                                                              and BP-S148.070 APR 94


      FILE IN SECTION 6 UNLESS APPROPRIATE FOR PRIVACY FOLDER                                 SECTION 6
Case 1:13-cr-20911-BB Document 312 Entered on FLSD Docket 11/07/2023 Page 180 of 263

                                                         FEDERAL BUREAU OF PRISONS
                                                              DENTAL SERVICES
                                                        INVASIVE DENTAL PROCEDURES
 Verified Patient Identification {two requi~ed) ..x__Full Pt Name· _x__Reg Number .lL_Photo ID __Armband
 Consent Form Explained in: ...x.....English __Spanish _Other Language _ _ _ _ _ _ _ __
                  1
 You have a right to be informed about your diagnosis, the planned treatment, the possible risks involved, and alternatives to treatment so
 that you may make an informed decision as to consenting to undergo the procedure{s) described below:
                  I
. Procedure:
  Extraction of tooth #12 due decay into the pulp.


 Alternatives tci Treatment:
 I understand that if this procedure is not performed my condition may worsen resulting in complications including but not limited to:
  1. Infection ,                                                     4. Health complications beyond the present problem
  2. Pain       '                                                    5. Other:
 3. Loss of function

  osslble complications which have been explained to me (circle the number of all that apply):
  1 Continued or increased pain.                                   11. Bone/jaw fractures may rarely occur, particularly with lower
 2 Swelling and infection.                                             third molars.
 3 Bruising, which may be prolonged, as a result of the                Sharp ridges or bone splinters which may require additional
     procedure or from the injection of local anesthetic.              surgery to smoothen the area.
 4 Injury to adjacent teeth, restorations, or soft tissues.            Temporomandibular joint disorder Qaw problem), muscle
 5 Scarring, tissue necrosis or alteration in appearance.            ' soreness or restricted opening of the mouth.
 6 Nerve injury, paresthesia, or residual numbness which may       14. Loss of tooth or teeth and/or restorations.
    be of undeterminable duration or even permanent.               16. Fracture of tooth or root and/or restorations.
     Prolonged bleeding which could require further treatment      16. Discoloration of tooth.
    or interven_tion.                                              17. Perforation of-the root or the floor of the pulp chamber.
 8 Dry socket (alveoli tis-pain occuring for a few days after the  18. Endodontic file breaking or separating In root canal.
    extraction)!                                                  19. Inability to locate, access or fill a canal or canals.
 9 Decision to leave a small piece of tooth root in the jaw when j?O\Adverse drug reactions or allergies.
    its removal would increase the risk of complicatlons.         ~ Rare complications may Include nerve or blood vessel
   . Maxillary sinus involvement due to upper tooth roots, tooth       injury, allergic or unexpected drug reactions, pneumonia,
    fragments: or Instruments going into the sinus possibly            heart attack, stroke and/or death.
    resulting in a small opening (fistula).                       22. Other:

I JOSE AGUILAR LOPEZ                      Register Number 02007-104        consent to the procedure described above.
 I CERTIFY THAT I HAVE READ AND FULLY UNDERSTAND THIS DOCUMENT.
The above information has been explained to me in a language I can understand. Applicable altematlve treatment approaches have
been explained to me. I am aware of the potential risks and complications associated with the procedure. I understand that the B.O.P. is
not obligated to replace any teeth extracted during or as a result of this procedure and that I should follow the dentist's instructions as to
post-operative care taking medications as prescribed. I voluntarily give this consent and recognize that I can withdraw it at any time prior
to the beginning of the procedure. I have had the opportunity to discuss and ask questions about my treatment and have verified the


pv:t~;-
 ati nt's Signature
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                                                  Datemme
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                                                                                                                           Datemme


                                         JOflPh:i D ~                              Flowers Joe DDS
                                                     Date/Time                 Dentist's Name
              I
TIME OUT TAKEN TO VERIFY TOOTH/TEETH AND/OR TREATMENT AREA
Patient asked to Indicate in the mouth and on the chart which tooth/teeth
to be treated and/or to verify oral area as stated above.
Pmrew••~~,'i
Patient I., Date l lo "2-"2... the Tome Dul v,as ..rifled,
                                TimeaOU
Dentist                 ~ Date   f.        Time                                              ~11S45678910
Witnes                    Date             Time                                              ~ l2 JI   30 lt U Z7 iH52H3




                      H. Falgout, EDDA
                       Health Services
                      FCC Pollock, LA
              i
 AGUILAR LQPEZ, JOSE LUIS                                 02007-104                             POM-POLLOCK MED FCI
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                                        .FCC. Po·lfock
                                             .                            .


         i
         '·
                                            .·Den.taf Sick Call
         ! •

    ·Name:           -Yo.¼-




             r                                                   -
                                                  Reason For Sick Call:
                                                  m "(1.)..t..• t'~ (:·       ,,\.1~.1     P.'l4 {'ld t.a~-tr-J_-r




 Please check all that apply:
IE(-'Pai n v_.,hen eating                                                       f!f"Pain when brushing
         . I                   •
           i
o Bf~ed~ng .Gums                                                               B"shooting -Pain
              I
~Sh.arp Pain
              1
                                                                                □        Tenderness.

□   Sensitive Teeth                                                           o Sw~lling
□   Pain keeps you from sleeping                                         - D Othe~------
                 ....
How long have you had this pain?_-_ _ _ _ _ __
                 l
                  1


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                                                                                                                             H. Falgout, EDDA
                                            . Pain Scale                                                                      Health Services
                                                                                                                             FCC Pollock, LA
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    Re: ***Request to Staff*** AGUILAR LOPEZ, JOSE, Reg# 02007104, POM-E-O

    POM-lnmateToHealthSvcs (BOP) <POM-lnmateToHealthSvcs@bop.gov>
    Tue 10/4/2022 8:04 AM
    To·-"! AGUILAR LOPEZ, .... "!JOSE LUIS <02007104@inmatemessage.com>
    Your a e has been added to the list for medical records.




    From:"'"! AGUllAR LOPEZ, "'"!JOSE LUIS <02007104@inmatemessage.com>
    Sent: Monday, October 3, 2022 5:41 PM
    To: POM-lnmateToHealthS"'.cs (BOP) <POM-lnmateToHealthSvcs@bop.gov>
    Subject: ***Request to Staff*** AGUIIAR LOPEZ, JOSE, Reg# 02007104, POM-E-D


    To: Medical
    Inmate Work Assignment: E-4 Orperly

    ***ATTENTION***

    Please cut and paste the message indicator below into the subject line; only this indicator can be in the
    subject line.                   _
    50adb8b0-8e1d-429b-91ff-b36e659b69f0
    Your response must come from the departmental mail box. Responses from personal mailboxes WILL
    NOT be delivered to the inmate.

    ***Inmate Message Below***




    I'm requesting a copy of medical records for compassionate release purposes only. I sent you a hard
    copy cop-out also

    Thank you,
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                                                          FEDERAL BUREAU OF PRISONS
                                                               DENTAL SERVICES
                                                         INVASIVE DENTAL PROCEDURES
    Verified Patient Identification (two required) __K_Full Pt Name L_Reg Number .2L..._Photo ID _ _Armband
    Consent Form Explained in: __x__English _ _Spanish _Other Language                                           J


    You have a right to be informed about your diagnosis, the planned treatment, the possible risks involved, and alternatives to treatment so
(   that you may make an informed decision as to consenting to undergo the procedure(s) described below:

    Procedure:
    Extraction of tooth #1 due to periodontal disease.


    Alternatives to Treatment:
    I understand that if this procedure is not performed my condition may worsen resulting in complications including but not limited to:
    1. Infection                                                        4. Health compfica~ons beyond the present problem
    2. Pain                                                             5. Other:
    3. Loss of function
    Possible complications which have been explained to me (circle the number of all that apply):
     1. Continued or increased pain.                                  11. Bone/jaw fractures may rarely occur, particularly with lower
     2. Swelling Imd infection.                                           third molars.
     3, Bruising, which may be prolonged, as a result of the          12. Sharp ridges or bone splinters which may require additional
        procedure or from the injection of local anesthetic.              surgery to smoothen the area.
     4. Injury to adjacent teeth, restorations, or soft tissues.      13. Temporomandibular joint disorder (jaw problem), muscle
    5. Scarring, tissue necrosis or alteration in appearance.             soreness or restricted opening of the mouth.
     6. Nerve Injury, paresthesia, or residua! numbness which may     14. Loss of tooth or teeth and/or restorations.
        be of undeterminable duration or even permanent.              15. Fracture of tooth or root and/or restorations.
     7. Prolonged bleeding which could require further treatment      16. Discoloration of tooth.
        or intervention.                                              17. Perforation of the root or the floor of the pulp chamber.
     8. Dry socket (alveolitis-pain occuring for a few days after the 18. Endodontic file breaking or separating in root canal.
        extraction).                                                  19. Inability to locate, access or fill a canal or canals.
     9. Decision to leave a small piece of tooth root in the jaw when 20. Adverse drug reactions or allergies.
        its removal would Increase the risk of complications.         21. Rare complications may include nerve or blood vessel
    10. Maxillary sinus involvement due to upper tooth roots, tooth •     injury, allergic or unexpected drug reactions, pneumonia,
        fragments, or instruments going into the sinus possibly           heart attack, stroke and/or death.
        resulting in a small opening (fistula).                       22. Other: _ _ _ _        • _ _ _ _ _ _ _ _ _ _ _ _ __

    I JOSE AGUILAR LOPEZ                     Register Number 02007-104        , consent to the procedure described above.
    I CERTIFY THAT I HAVE READ AND FULLY UNDERSTAND THIS DOCUMENT.
    The above information has been explained to me in a language I can understand. Applicable alternative treatment approaches have
    been explained to me. I am aware of the potential risks and complications associated with the procedure. I understand that the B.O.P. is
    not obligated to replace any teeth extracted during or as a result of this procedure and that I should follow the dentist's instructions as to
    post-operative care taking medications as prescribed. I voluntarily give this consent and recognize that I can withdraw it at any time prior
    to the beginning of the procedure. I have had the opportunity to discuss and ask questions about my treatment and have verified the



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    o 'too                                                       2,[[?~+----F.....
                                                                              lo=we__rs_,_1...a..Jo__e_D'""'D_S_ _ _ _ _ _ __
                                                     Date/Time                     Dentist's Name




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                                                                                                                  JG 29 28 Z7 Z6ZiZ•Zl 2Z ZI ZO 19 18 17   :!J


                                      H. Falgout, EDDA
                                       Health Services
                                      FCC Pollock, LA

    AGUILAR LOPEZ, JOSE LUIS                                02007-104                                     POM-POLLOCK MED FCI
    Case 1:13-cr-20911-BB Document 312 Entered on FLSD Docket 11/07/2023 Page 184 of 263




                                                 FCC POLLOCK

                                         Dental Sick Call
       Na~e:   ~IPA f±t) u ). l. CA ·r ) -:J~s~
        Register#: (J)(;oj7- IC) ~

       Date: ~ - z_ 3 - 2o'l- 2.

       Unit/Cell: E. (.,./ ._ '2- 0     c1
                                             Reason for Sick Call:
                                                 .I u"
                                                 I   •




                                        Please check all that apply:
        ,...,, '
       ~ Pain when eating                                _::::i:>ain vJhen brushing

       _·_ Bleeding gums                                 _:'"Shooting Pain
        ~
       _Sharp Pain                                             Tenderness

         Sensitive Teeth                                 _swelling
        ✓-
      -  Pain keeps you from sleeping                        Other: _ _ _ _ _ _ _ _ _ _ __

/      How long have you had this pain? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                 Pain Scale: Please check your pain level
       A                                                 A _,,,,,-- .            .
      ~_0-Nopain                                         \CY_ 6- Pain can't be ignored at all
      ~             .
      ~ - - 1-Some pain but OK                           @_ 7- Pain Makes it hard to think and sleep
      r.";\
      \d      2- Mifd pain, worse                        @_ 8- Pain limits activity, nausea with pain
      ®_·3-Annoying Pain                                 @_ 9-1 cry out in pain Added to sick call.
      A                                                  @
      'cY      4- Distracting Pain                       "8'      10- Passed out          Watch the callouts.
      ~
      V:=J_ s- Pain too bad to ignore for long
                                                                                                ~ ~ltmt-\- lP/i3l1-2
                                                                                                ¼~~~;~DA
                                                                                                 Health Services
                                                                                                 FCC Pollock, LA
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                                                               FCC Pollock

                                                            Health Services

                                                    Receipt of Prescription Glasses




   Inmate Name: f\:@Vl\At: lopt:1;,<lo~~                  Registry Number:        O2tJ01...-l04

   I acknowledge that I am in receipt of one pair of prescription eyeglasses that were
   prescribed to me by the Optometrist/Ophthalmologist. I understand that these
   ey_eglasses are my responsibility and will be the only glasses issued to me for the
   next two {?)-years. FCC Pollock will not assume responsibility for replacing any
   lost, stolen, or broken eyeglasses.

   --   -
   I acknowledge that I have read and understand the above statement and I accept
            --...:_--- -       -      ---- -
                              .. ..._--_    -   -   - ..             -


   the BOP policy regarding the issuance of the eyeglasses.

   Inmate signature        A~                             Date issued \Jl \ '2,'3 \ 1,,-Z.-

   lssuer Signature      h ) <t\1).1"""\.
                                  B. Holston, PBT(ASCP)
                                      Health Services
                                     FCC Pollock. LA

  Attention R & D·Staff:

  These eyeglasses are part of this inmate's personal property and should be sent
  with the inmate whe.n transferred or released.
      Case 1:13-cr-20911-BB Document 312 Entered on FLSD Docket 11/07/2023 Page 186 of 263
.ii



         Re: ***R~quest to Staff*** AGUILAR LOPEZ, JOSE, Reg# 02007104, POM-E-D
         POM-lnmateToHealthSvcs (BOP) <POM-lnmateToHealthSvcs@bop.gov>
         Mon 6/13/2022 2:02 PM
         To: "'.A! AGUILAR LOPEZ, -A!JQSE LUIS <02007104@inmatemessage.com>
         If you are having emergency pain and/or swelling, you may report to sick call for a referral to Dental.



        ~Health Services
         FCC POLLOCK, LA
         06/13/22




         From: "'11 ! AGUILAR LOPEZ, ""11 !JOSE LUIS <02007104@inmatemessage.com>
         Sent: Monday, June 13, 2022 12:49 PM
         To: POM-lnmateToHealthSvcs (BOP) <POM-lnmateToHealthSvcs@bop.gov>
         Subject: ***Request to Staff*** AGUILAR LOPEZ, JOSE, Reg# 02007104, POM-E-D

         To: Dental
         Inmate Work Assignment: E-4 Orderly

         ***ATTENTION***

         Please cut and paste the message indicator below into the subject line; only this indicator can be in the
         subject line.
         11dc6cc'a-5a9a-4943-9715-0b7cf9204374
         Your response must come from the departmental mail box. Responses from personal mailboxes WILL
         NOT be delivered to the inmate.

         ***Inmate Message Below***




        God bless you!
        Hello Good morning! I have a two teeth that I would like to get pulled out as soon as possible. Thank
        you! God bless you!
Case 1:13-cr-20911-BB Document 312 Entered on FLSD Docket 11/07/2023 Page 187 of 263
                                                                         Page 1 of 1



    POM-lnmateToHealthSvcs - 0ea8468c-ad6f-4d5a-adc7-7f20bef343f9


    From:        POM~lnmateToHealthSvcs
    To:        , ~"!AGUILAR LOPEZ, ~"!JOSE LUIS
    Subject:     0ea8468c-ad6f-4d5a-adc7-7f20bef343f9



    Sick call is everyday except Wednesday, Federal Holidays, and weekends. You can report at the AM sick call move
    to sign up for dental sick call or you can give a written sick call to the nurse when they make their rounds
    everyday. Electronic cop out cannot be used for dental sick call to be added to the list. Sick call is for pain,
       el ·ng, and infection. If you are not having these issues, you need to sign up for the routine treatment list.


      I        ~El~
    Health Services
    FCC POLLOCK, LA
    02/18/22

    >>> ~"!"AGUILAR LOPEZ, ~"!JOSE LUIS" <02007104@inmatemessage.com> 2/18/2022 9:56 AM>>>
    To: Dental
    Inmate Work Assignment: E4 orderly

    ***ATTENTION*H

   Please cut and paste the message indicator below into the subject line; only this indicator can be in the subject
   line.

   Your response must come from the departmental mail box. Responses from personal mailboxes Will NOT be
   delivered to the inmate.

   ***Inmate Message Below***




   I would like to have 2 molars pulled out, because they hurt. I was told to put in a Via cop out threw turlinks on 2-
   15-21. Thank you




   about:blank                                                                                              2/18/2022
        Case 1:13-cr-20911-BB Document 312 Entered on FLSD Docket 11/07/2023 Page 188 of 263
_iii
       BP-A1136                              COVID-19 VACCINE CONSENT - INMATE
       OCT21

       U.S. DEPARTMENT OF JUSTICE                                                            FEDERAL BUREAU OF PRISONS

                                                                       Register Number                      Institution



       I have been provided a copy of the FDA COVID-19 fact Sheet dated ______. I have had the opportunity to ask
       questions about the benefits and risks of vaccination, including if I am pregnant, breastfeeding, have dermal fillers, or have
       a weakened immune system to include taking immunosuppressive drugs.
       Health Questions Prior to COVID-19 Vaccination Check                 or no


         □

         □              you have a bleeding disorder or take a blood thinner?
         □          Have you ever had a severe allergy {i.e., anaphylaxis) OR an immediate allergic reaction of any severity to
                    a y component of this vaccine (i.e., PEG, polysorbate), a previous dose of this vaccine, or any other
                      ccinerin·ectable thera ?
         □            ave you received monoclonal antibody therapy for COVID-19 In the last 90 days?
         □            ave you ever had myocarditis or pericarditis (inflammation of the heart muscle or its lining)?
         □          Have you ever had multisystem inflammatory syndrome (persistent fever and severe inflammation) due to
                    COVID-19?
                    For the Janssen (Johnson & Johnson) vaccine only:
                     Have you ever had Guillain-Barre syndrome (progressive paralysis)?
                     Have ou had thrombosis blood clottin with thromboc o enia low latelets in the last 90 da s?
                    Ha~ you ever received a dose of COVID-19 vaccine? If yes, which one?                   -
                    9'Pfizer-BioNTech □ edema □ Janssen (Johnso & Johnson)                 □ Another product
                    How many doses?              Date of last dose:             a\
             consent to receive the COVID-19 vaccination.

        Inmate Signature:




       □ I decline to receive the COVID-19 vaccination.                         FCC POLLOCK, LA
             □ I have already been vaccinated with □ Pfizer-BioNTech □ Medema D Janssen (Johnson & Johnson)
                                                    □ Another product       How many doses?__             Date of last dose:
             □ Other reason·

        Inmate Signature:                                                                                   Date:

        Witness Signature/Credentials:                                                                      Date:

        (PRINT) Witness Name/Credentials:


                                                     COVID-19 Vaccine Information

              Dose#                                                                  Expiration Date       Route            Deltoid
                               Vaccine Manufacturer           Lot Number
        1, 2, 3, or booster
                                                                                                                          D Left
                                                                                                             IM
                                                                                                                            Right



       one                                                                                                                n - - • _. •• z"'
              Case 1:13-cr-20911-BB Document 312 Entered on FLSD Docket 11/07/2023 Page 189 of 263
     .'_._.
               -
              •.,        ,).


--. -"·~r           ••




                               .   ..•




                                          EXHIBIT

                                                      B·
                                                    WARDEN'S RESPONSE
   U.S.Case  1:13-cr-20911-BB
        DEPARTlVIENT OF JUSTICE                    Document 312 EnteredREQU"EST
                                                                        on FLSD FOR
                                                                                Docket 11/07/2023 Page
                                                                                    ADMINISTRATIVE     190 of 263
                                                                                                     RENIBDY
          '
   Federal Bureau of Prisons


                      Type or use ball-point pen. If attachments are needed, submit four copies. Addirional -instnictions on reverse.

   From: Lopez            Jose Luis Aguilar                                           02007-104                          E-4                         F. C. I. Pollock
                   LA:SYNAME, FIRST, MIDDJLE INITIAL                                         REG. NO.                             UNIT                       INSTITUTION
    Part A- INMATE REQUEST Warden ~arr.et t: Please be advised that this is a relevant request for

   a motion to Reduce Sentence Pursuant to 18 U.S.C.                                                 §   3582(c)(l)(a)(i) under the First step

   Act for Extraordinary Circumstances and Compelling Reasons. In support of this request, I

   provide the relevant foll_o'wings:                               1)    I have medical conditions of                                              hypertension, and

   a lower back conditioµ_ that has been unable to fully provide self ca.re for my self without

   the help of my cell-mate on some occasions. On a few occasions, my cell-mate had to aid me

 •, to wipe my butt after my bathroom use here and there because of the severity-of the pain in

   my back, and I contracted Covid-19- twice (2) since I been here at F.C.I. Pollock;




                                                                                                                            SIGNATURE OF REQUESTER
   Part B- RESPONSE




                - DATE                                                                                                WARDEN OR REGIONAL DIRECTOR
 If dissatisfied with this response, yor, may appeal to the Regional Director. Your appeal must be received in the Regional Office witldn 20 calendar days of the-date of this response,

     ORIGiNAL: RETURN TO INMATE                                                  CASE NUMBER:---~-'-'--~~~~-
·- ·---.---...,:.._·..;..;.....,;.._ ______________ •• ·- • ----------------------------------------------- -
                                                                                                                         CASE NUMBER: _ _ _ _ _ _ _ _ __
   Part C- RECEIPT
  Return to:
                       LAST NAME, FIRST, MIDDLE INITIAL                                           REG. NO.                            UNIT                     INSTITUTION

 SUBJECT:-----------------------------------------------


                 DATE                                                                          RECIPIENT'S SIGNATURE (STAFF MEMBER)                                          BP-229(13) _
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2) I'm not a public safety factor;

3) ITve been incarcerated a little over ten (10) years now and have a fifteen (IS) year

sentence with three (3)~years left to do;

4) My release plans are: I plan to return back to Quatemala and provide for my family. My

family is poor and they need me back home. I have a daughter, mother, my father died

recently, and I have.a brother who have sugar diabetes real bad, and one of his legs just

got cut off recently. My brother is relying heavily on my ederly mother as a care giver. She

is struggling real hard to provide for my brother physically because he is a large person.

    I speak with my mother and occasionally when they can afford to keep the telephone bill

paid. Bills are real hard on my family right now because my brother can't work right now

because he just got his leg cut off. He was a major factor with providing for the family

after my father passed away last year.

     Upon my release, I plan to have two (2) jobs as long as my health allow me to work;

especially since my back incident. I plan on working at the Port, and on my off days I plan

to fish on the side as well to help provide for my family. The two (2) jobs will allow me

to get rid of any idle time that can lead to any criminal activity. I don't have a criminal

history in Gautemala, and I don't do crime. I'm a fisherman and a hard worker who

provides for his family. I pray that my medical condition gets better so I can provide for

my family;

5) I'm currently requesting three (3) years to be reduced off of my present sentence so I can

provide for my family.




                                            (2)
Case 1:13-cr-20911-BB Document 312 Entered on FLSD Docket 11/07/2023 Page 192 of 263




                                THE FACTOR UNDER 18 U.S.C. § 3553(a)
                                  SUPPORT A REDUCTION IN MR. LOPEZ'S
                                        TERM OF IMPRISONMENT.

              If this court finds that Lopez has establish'; "extraordinary and compelling

      reasons," this court must consider the factors set forth in 18 USC§ 3553(a). See

      18 U.S.C. 3582 (c) (1) (A). The court must consider the nature and circumstances-----

      [cite 3553(a) factors (1-6)]. The court at the time saw fit to impose a severe

     penalty for the non-drug offense. None the less, Mr. Lopez has been imprisoned

     now for nearly 11 years for a sentencing scheme that consisted of fifteen years.

              Futhermore, and most importantly, Lopez rehabilitation weighs in his favor

     of a reduction or immediately release. Despite his institutional sanctions, the

     court must equally give weight to his accomplishments while incarcerated. Mr.

     Lopez has accomplished more than - - - programs. Evidence of post s~ntencing

     rehabilitation sheds light on the "need for the sentence imposed ... "

             Despite the alleged severity of Mr. Lopez's sentence, a reduction would

     not short-change the government. Lopez asserts that his sentence is longer than

     ne~essary to achieve the goals of sentencing that is explained in 18 U.S.C. §

     3582.
             MOTION FOR REDUCTION OF SENTENCE PURSUANT TO 18 U.S,C. § 3582(C)(l)(A)(i),
             THE FIRST STEP ACT IN LIGHT OF GEOGRAPHIC DISPARITIES AND BOP DETERMINATION
              IN COMPASSIONATE RELEASE MOTIONS, IN COMBINATION WITH OTHER FACTORS, MAY
                 CONSTITUTE EXTRAORDINARY AND COMPELLING CIRCUMSTANCES WARRANTING A
                 REDUCTION OF sErTENCE.

     Second Point of Error:

             Based on the revelations, Petitioner Lopez' sentence is extraordinary for what

     has caused it. Lopez contends that the First Step Act inspired a lively debate about

     the BOP, and district court's discretion to reduce sentences under§ 3582(c)(l)(A).
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         Aiso in this instant matter, Mr. Lopez also subm1ttetl -fn hl-s comvassionate

    re+ease motion, was that the increase and severity of the pain in his back that has

    him unable to fully provide self care for his self without the help of his cell-mate.

    On a couple of occassion, Lopez's cell-mate had to help him wipe his butt after his

    bathroom use. On the date of the incident, Mr. Lopez was doing his orderly job while

    the facility was on lockdown. The housing unit Lopez lived in was being fed in

    styrofoam trays. The trays were affixed in a rubber made hot box. Mr. Lopez and

    another dorm orderly was trying to carry the hot box up the housing unit stairs to

    the top tier of the housing unit so they can feed the top tier housing unit.

         Some how the hot box became very unstabled and both orderlies lost control of

    the hot box while they were on the stair-way. Unfortunately:_Mr. Lopez was at the

    bottom end of the cart. When they lost control of the cart, Mr. Lopez fell on his

    back on the stair way and the food cart fell on him as well. Mr. Lopez went to the

    medical several days later because the pain became very sever on him. Mr. Lopez tried

    Icy Hot medicine on his on accord until the pain didn't allow him to self care of

    his self,any more without being seen by a doctor. Since then Mr. Lopez has being

    seeing the doctor about his back because the pain has been sever. The medical staff

    ordered that Mr. Lopez be placed on a light duty status until farther notice. Mr.

    Lopez has not been performing his unit orderly job since the incident because he has

    been in sever pain since the incident. Mr. Lopez is now seeking a back-brac.e, wheelchair.

         Mr. Lopez contends that his medical condition regarding his back should qualify

    him for review for compassionate release. Mr. Lopez's back::condition is ripe for

    relief.
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                                   MKNUFACTURTNG JURISDieTION-

                                                A.
    Boat location
          In an abundance of caution, Petitioner Lopez contends that he was still in

     Quatemala watenhwhen the vessel he was occupying was approached by the United

     States Coast Gaurd.

          The complaint ·charges that on or about No~ember 5, 2013, "while on routine

     patrole in the Eastern Pacific Ocean, a United States marine patrol aircraft

     sighted three (3) panga-style vessels approximately 120 miles Southwest of El

     Salvador-Guatemala land border." This however, is incosistent with the coast

     guard's report and statements. The Law Enforcement Case Package Checklist,

     prepared by the United States Coast Gaurd stated that the vessel, Cristiano

     Ronalda, was first noticed when it was 98 nautical miles from Guatemala. {See

     exhibit "C" of Law Enforcement Case Package Checklist, Part II page 7). Coast

     Guard Officer Ligsay's statement, Coast Guard Officer Justin Laragione's

     statements, and Coast Guard Officer Heriberto Arambula~s statement, all agreed

     that the vessel was spotted about 98 miles Southwest of the coast of Guatemala.

     (Witness Statements).

          Based on the revelations, t·o ,·the contrary, that means that the vessel Mr.

    Lopez was occupying was actually in Guatemala waters and not international waters.

    Here the government failed to prove that the vessel was in United States waters.

    The International Court of Justice (ICJ) recently found that nations exercise full

     sovereignty over waters within 200 nautical miles from their respective coasts.

    Yet, in this case, the Government did not establish that the alleged incident

    occurred on the high seas.,Here the Government's inconsistent reports do not allege

    that the cocaine/vessel was anywhere near 200 nautical miles. from Guatemala.
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          The fact that the district courtis assertion as to the jurisdictional aspect

     of this case as to wliere the vessel~s location was at, were all unverified. Require

     that those factual allegations be ignored in this case·. The Government however,

     relied exclusively on unsuporrted records to support their reason for jurisdiction

     to hear Mr. Lopez's case as to Lopez's vevvesle being anywhere near 200 nautical

    miles from Gua_temaia. This conduct indeed caused Mr" Lopez to be prejudice as to

     the allege offense that occurred in the territorial waters of Guatemala.

    Questions

          Petitioner   Lopez contends that this case in its scenario was true but all

     the events that occurred was really panga vessel#2 that got away from the coast

     guard.on November 5, 2013. So it was logic for the coast guard to place the events

     on Lopez and his crew members. Within Officer Lopez's report, he allegedly said

     that he questioned panga vessel/12 Cla_ra Luz, and that it had a 5 man crew on it.

     See exhibit "D" of highlighted portion.

                                               B.

    IONSCAN:SWIPE

         Also in this matter, the coast guard relied heavly on the Ionscan Swipes at

    the 11th hour after realizing that they were unsuccessful with their search of

    panga vessel#l Cristiano Ronaldo; in which the search was to no avail because no

    drugs were found on the vessel and no recording was submitted to verify that Mr.

    Lopez and his crew jettison any alleged packages off of their vessel that they

    were occupying. It was immature for the coast guard to make a pure factual determination

    that Lopez was engaging in criminal activity with panga vessel#2 because their
            ),,;t,{~

    report do esn' t indicate that they found drugs on Lopez vessel. ,>
             0




         The coast guard used the Ions can Swipes to link Lopez to the conspi.racy.
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     We must keep in mind that the vessel Lopez and his crew was occupying was indeed

     a boat rental. So any and anybody could have had drugs on the vessel prior to

     Lopez renting the boat for fishing purpose. So therefore, any trace. of cocaine that

     was detected could have came from any other person who rented the boat prior to

     Lopez; see exhibit "E" of Ionscan Recording Sheet, and Report of Investigation.

             In an abundance of caution, Mr. Lopez asserts that he was still in Guatemala

    waters when apprehended by coast guards. Petitioner Lopez contends that the coast
     '!ft
    uard's use of false statement,,omissions of material fact, and bad faith to actually

     gain jurisdiction was by way of manufacturing jurisdiction. Because there was no

     drugs found on the vessle that Petitioner Lopez was occupying at the moment'·of the

     coast guard's approach. The government failed:,,to prove that the vessel Lopez was

    on      was subjected to the jurisdiction of the United States, and that he possessed

    or conspired to posses a controlled substance, and/or in the United States water.

            At bar, to the contrary, the coast guard failed to provide proof of contact

    to the Guatemala authorities as to the registration of the vessel, and the drugs as

    well.that they found. This contact was never presented in record evidence form by

    radio, telephone, or similar oral, or electronic means as well. The coast guard

    knew that if they would have contacted the Guatemala authorities and would have

    notified them that they were 98 miles from their shorelines. The Guatemala

    authorities would have gotten involved, and this circumstance would have became

    a jurisdictional issue as to who water the crime occurred in.

    COAST GUARD'S PROOF OF CONTACT WITH GUATEMALA

            Here the coast guard alleged that they contacted Guatemala authorities to

    verify the registry of the vessel that Lopez was occupy~ng. In this particular

    matter there was no proof submitted on the record of such contact. There were no
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    recording, telephone records, or electronic means to show proof of that contact.

    There was no proof in this particular matter as to any contact with Guatemala

    authorities.

         In this matter, Officer Ligsay's report as to the position of each vessel

    clearly show that the drugs they found that was jetssoned off of the boat clearly

    points to Vessel Clara Luz; coast guard's position 12-37N, 091-SlW. ,::So~iwh~n,,eiJ:ara

    Luz have gotten away from the coast guard. Then the coast guard apprehended Vessel

    Cristiano Ronaldo and placed the drugs on Lopez and his crew members. See exhibit

    "D" page 36 and "F" not one bale but several bales of drugs.

         We must not ~orget that vessel #.2 Clara Luz fled the scene successfully and

    was never questioned by the coast guard. See exhibit "D'! page 49-50 of the United

    State Coast Guard Justin Brown. This indeed contradicted Officer Ligsay's

    statement as to questioning Vessel Clara Luz. The coast guard's use of false

    statements and false impression of material evidence gave them jurisdiction over

    the vessel Lopez was occupying. Here there are multiple inconsistencies with each

    coast guard's report as to the questioning of Vessel Clara Luz etc ..

         In a abundance of caution, this Court should take a hard look at exhibit "F"

    page 31. The report clearly states that Lopez's vessel was in Guatemala waters at

    the beginnigg an4 end of the incident.
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              MR. LOPEZ'S COMPASSIONATE RELEASE MOTION SHOULD BE CONSIDERED UNDER THE
              DEPARTMENT POLICIES REGARDING CHARGING, AND SENTENCING IN DRUG CASES BY
              THE BOP AND THE DISTRICT COURT.

     Second,:1?oint.-of-.. Krrot.:· ·, ..

          In a abundance of caution, This Court should consider this relevant matter for

     reasons of that thts policy applies with particular force in drug cases brought

     under Title 21 of "the United States Code, where mandatory minimum sentences based on

     drug type quantity have resulted in disproportionately severe sentences for certain

     defendants and perceived and actual racial disparities in the criminal justice system.

          This matter should be consider under the relevant doctrine of extraordinary and

     compelling reasons other than, or in combination with reasons discribed in sections

     A through C. Here the BOP and the district court should consider this relevant matter

     for reasons of:

     1) That Mr: Lopez's conduct does not involve the use of violence, the credible

     threat of violence, the possession of a weapon, the trafficking of drugs to or with

     minor, or the death or serious bodily injury to any person;

     2) That Mr. Lopez is not an organizer, leader, manager or supervisor of others

     within a criminal organization;

     3) That Mr. Lopez does not have significant ties to large-scale drug trafficking

     organizations, gangs, or cartel; and

     4) That Mr. Lopez does not have a significant criminal history at all.

          In short, Mr. Lopez asserts that his sole purpose of this argument is not attended

     to remove the BOP' s exclisive authority over filing section 3582 (c) (1) (A) motions·.

     Based on the relvelations, Mr. Lopez requests the BOP input on what reasons not

     expressly listed in lBl.13 can be considered extraordinary and compelling in his

     instant matter. In other words, Lopez request the BOP to use its discretionary
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    powers to determine if any of the relevant circumstances Mr. Lopez put before the

    BOP, and the district court for judical review has the potential to be considered

    extraordinary and compelling with reasons other than, or in combination with the

    reasons discribed in subsection (A) through (C).

         While the Bureau of Prisons (BOPJ is still given the first opportunity to

    decide a compassionate release motion, and may still bring a motion on a defendant's
           '
    behalf, under Congress' mandate a defendant now has recourse if BOP either declines to

    support of fails to act on that defendant's motion. As the First Step Act of 2018,

    Pub. L. 115-391, 132 Stat. 5194, states, a defendant may go to court after the

    defendant has fully exhausted all administrative rights to appeal a failure of the

    Bureau of Prisons to bring a motion on the defendant's behalf or the laspe of 30

    days from receipt of such a request by the Warden of the defendant's facility.

    Whichever is earlier, 18 U.S.C.   §   3582(c)(l)(A).

    Mr. Lopez.asserts that 994(t) is relevant in this matter; "The Commission; in

    promulgating general policy statement regarding the sentencing modification provisions

    in section 3582(c)(l)(A) of Title 18, shall describe what should be considered

    extraordinary and compelling reasons for sentence reduction; including the criteria

    to be applied and a list of specific examples. R~habilitation of the defendant alone

    shall not be considere an extraordinary and compelling reason.

         Based on the revelations, Mr. Lopez contends that his rehabilitaion, medical

    conditions, and sentence disparity, jurisdictional matter, and bad faith on the

    Government.indeed is ripe for judicial review by the BOP and the district court

    and that such a showing has been made by Mr. Lopez.

         Also in this matter, 28 U.S.C.     §   994(a)(2)(c) is also relevant in this matter

    as well; (a) The commission by affirmative vote of at least four members of
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    the Commission, and pursuant to its rules and regulations and consistent with all

    pertinent provisions of any Federal Statute shall promulgate and distribute to all

    courts of the United States and to the United states Probation System~-- (2) general

    policy statements regarding application of the guidelines or any other aspect of

    sentencing or sentence implementation that in the view of the Commission would

    further the purpose· set forth in section 3553(a)(2) of title 18, United States Code,

    including the appropriate use of---- (c) the sentence modification provision set

    forth in sections 3563(c), 3564, 3573, and 3582(c) of title 18.



   CA-'.fCH-AbL PROVISION ALLOW-ING FOR OTHER UN±DEN.':fIFIED --EX-TRAOR:D-INARY AND COMP-E-LLING -REASONS·
   'l{AJS ·DETERMINED BY THE DIRECTOR OF THE BUREAU OF PRISONS."

        Mr. Lopez request that the Warden, and Bureau of Prisons consider his

   compassionate release under the doctrine of 28 U.S.C.          §   994(t) when considering if

   Mr. Lopez 1 showed and meet the BOP's requirements as to extraordinary and compelling

   reasons. In other words, base its findings as to the 2007 guideline admendment also

   introduGed what.has come to be known as the catch-all clause: compassionate release

   is warranted if, "[a]s determined by the Director of the Bureau of Prisons, there

   exists in the defendant's case an extraordinary and compelling reason other than, or

   in combination with, the reasons described in [the other parts of the guidelines].

        Mr. Lopez humbly request that the Warden or the BOP involke the catch-all

   provision allowing for other unidentified extrordinary and compelling reasons

   "[a]s determined by the Director of the Bureau of Prisons.

   :PROPOSED AMENDMENT TO U.S. S. G. lBl. 13-REDUCTION IN TERM OF IMPRISONMENT UNDER 18 U.S. C.
   § 3582(C)(l)(A).
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    Synopis: The proposed amendment would revise the list of "extraordinary and

   compelling reasons" in lBl.13 in several ways:

        First, the proposed amemdment would move the list of extraordinary and

   compelling reasons from the Commentary to the guideline itself as a new subsection(b).

   The new subsection (b) would set forth the same three categories of extraordinary

   and compelling.reasons currently found in Application Note l(A) through (C) (with

   the revision described below), add two new categories, and revise the "Other Reasons"

   category currently found in application Note l(D). New subsection (b) would also

   provide that extralordinary and compelling reasons exist under any of the circumstances,

   or a combination thereof, described in such categories.

   Second, the proposed amendment would add two new subcategories to the "Medical

   Condition of the Defendant" category at new subsection (b)(l). The first new

   subcategory is for a defendant suffering from a medical condition that requires

   that requires long-term or specialized medical,· care, without which the defendant is

   at risk of serious deterioration in health of death, that is not being provided in

   a timely 0r:. adequate manner. The other new subcategory is for a defendant who presents

   the following circumstances: (1) the defendant is housed at a correctional facility

   affected or at risk of being affected by an ongoing outbreak of infectious disease

   or an ongoing public health emergency declared by the appropriate governmental

   authority; (2) the defendant is at increased risk of suffering sever medical

   complications or death as a result of exposure to the ongoing outbreak of

   infectious disease or ongoing public health emergency; and (3) such risk cannot be

   mitigated in a timely or adequate manner.

        Third: the proposed amendment would modify the "Family Circumstances"

   category at new subsection (b)(3) in three ways. First,ti:!he proposed amendment
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    would revise the current subcategory relating to the death or incapacitation of

    the caregiver of a defendant's minor child by making it also applicable to a

    defendant's child who is 18 years of age or older and incapable of self care

    because of a mental or physical disability or a medical condition. Second, the

    proposed amendment would add a new subcategory to the "Family Circumstances"

    categorr for cases where a defendant's parent is incapacitated and the defendant

    would be the only available caregiver for the parent. Third, the proposed amendment

    brackets the possibility of adding a more general subcategory applicable if the

    defendant presents circumstances similar to those listed in the other subcategories

    of "Family Circumstance" involving any other immediate family member or an individual

    whose relationship with the defendant is similar in kind to that of an immediate

    family member.

         Fourth: the proposed amendment brackets the possibility of adding two new

    categorjes: (1) Victim of Assault ("The defendant was a victim of sexual assualt

    or physical abuse resulting in serious bodily injury committed by a correctional o

    officer or other employee or contractor of the Bureau of Prisons while in custody.").;

    and (2) Changes in Law ("The defendant is serving a sentence that is inequitable

    in light of changes in the law.").

         Fifth: the proposed amendment would revise the provision currently found in

    Application Note l(D) of lBl.13. Three options are provided. All three options

    would redesignate this category as "Other Circumstances" and expand the scope of

    the category to apply to all motions filed under 18 U.S.C. 3582(c)(l)(A), regardless

    of whether such motion is filed by the Director of the BOP or the defendant.
                                                                        ~--

    Option 1 would provide that this category of extraordinary and compelling reasons

    applies in cases where a defendant presents any other circumstance or a combination
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     of circumstances similar in nature and consequence to any of the circumstances

     described in new subsection (b)(l) through [(3)][(4)][(5)] of lBl.13. Option 2

    would provide that this category applies if, as a result of changes in the

     defendant's circumstances [or intervening events that occurred after the defenda~t's

     s.entence was imposed], it would_be inequitable to continue the defendant's

     impriso~ment or require the defendant to serve the full length of the sentence.

    Option 3 would track the language in current Application Note l(D) of lBl.13 and

     apply if the defendant presents an extraordinary and compelling reasons other than,

    or in combination:with, the circumstances described in paragraphs (1) through [(3)]

     [(4)][(5)].

          FinaJly, the proposed amendment would move current Application Note 3

     (stating that, pursuant to 28 U.S.C. 994(t), rehabilitation of a defendant is not

    by itself, an extraordinary and compelling reason for purposes of lBl.13) into

    the guideline as a new subsection (c). In addition, as conforming changes, the

    proposed amendment would delete application notes 2 (concerning the foreseeability

    of extraordinary and compelling reasons), 4 (concerning a motion by the Director

    of the Bureau of Prisons), and 5 (concerning application of subdivision 3),

    and make a minor technical change to the Backgro~ng commentary.

         Mr. Lopez asserts that the BOP, and district court should consider the above

    amendments that will be soon ripe for judicaial review.
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                                         RELEVANT RELEASE PLAN

              Mr. Lopez contends that granting him compassionate release at this juncture

         would reflect the seriousness of his alleged crime, promote respect for the law,

         provide just punishment for the offenses and afford general or specific deterrence

         for similar offenses. Mr. Lopez also asserts that he is not a danger to the

         american commµnity or the community in Guatemala'as well.

              Based on the revelations, Lopez's release plan to a remote area of

         Guatemala should be sufficient to mitigate the danger the he would fall back into

         any criminal conduct on America's soil ever again.

                                          PLACE OF RESIDENCE

              Mr. Lopez will be residing by his mother's house only when ever he is released

         from prison. Lopez will help his mother with the bills that she is now struggling

         with, and help his mother take care of his little brother who legs were ampetated

         because of sugar diabetes.

                                          OCCUPATION OF TIME
                             -
              While in the process of staying with his mother. Lopez will be working at

         the port of Guatemala. Lopez will be loading all kind of fish for the port. This

         is a very hard job that consist of loading heavy boxes of fish thats packed into

         ice. This is a twelve (12) hour a day job. When Lopez do make it home, he will

         still have to attend to his little brother to a degree. So there will be nothing

         left for Mr. Lopez to do but shower and sleep. There will be no time for idle

         time in release plan.

                                           SUPPORT FOR SELF

              Mr. Lopez contends that he will workr·for the Port of Guatemala to support

         hisself and his mother and brother. While he's working for the port, he will save
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'll




          his money so he can purchase his own fishing boat. This process will take a

          couple of years to accomplish.

                                           AVOID FUTURE CRIMINALITY

               Based on the revelations, Mr. Lopez do not have a criminal history in

          Guatemala. Mr. Lopez is a bonafied fisherman who was on the wrong boat at the

          wrong time. So- the,time it will take Lopez to save the money to buy his own boat

          will have hime very busy.

               So when Mr. Lopez purchase his own boat, he will be in total control because

          he will be the captain of the boat. That means he will be in controll of what come

          in and out of his boat. Lopez will be fishing for Squid Fish when ever he purchase

          his own boat. The Squid Fish is a delicacy meat in Guatemala. This particular fish

          catching will have lopez financially above water because in Guatemala, that particular

          fish pays well. Also Lopez will make sure he is not in america' s water, 200 nautical

         miles in Guatemala waters only. This will help him avoid any contact with America's

          law enforcements. This will help Lopez provide a better living for him and his

         family. Mr. Lopez contends that his release plan will consist of being in Guatemala

         only, and he will never enter America's water ever again.
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               Compassionate Release/Reduction in Sentence Response


    NAME: AGUILAR LOPEZ, Jose Luis          REGISTER NUMBER: 02007-104

    HOUSING UNIT: E-3                       DATE OF REQUEST: October 6, 2022



    Tnis is in response. to your request received on October 6, 2022, wherein
    you are requesting to be considered for early release pursuant to 18 U.S.C.
    3582 (c) {l) (A).  You are requesting a compassionate release based on
    extraordinary circumstances.      Specifically, you state your medical
    condition, your disciplinary record while incarcerated, and the length of
    time you have already served.
    Title 18 of the United States Code, section 3582 (c) (1) (A), allows a
    sentencing court, on motion of the Director of the BOP, to reduce a term
    of imprisonment for extraordinary or compelling reasons.        BOP Program
    Statement No.   5050.50, Compassionate Release/Reduction in Sentence:
    Procedures for Implementation of 18 U.S.C. §§ 3582 {c) (1) (A) and 4205 (g),
    provides guidance on the types of circumstances that present extraordinary
    or compelling reasons, such as the inmate's terminal medical condition;
    debilitated medical condition; status as a "new law" elderly inmate, an
    elderly inmate with medical conditions, or an "other elderly inmate"; the
    death or incapacitation of the family member caregiver of the inmate's
    child; or the incapacitation of the inmate's spouse or registered partner.
   Your request has been evaluated consistent with the above general guidance.
   At this time, you "have not identified any extraordinary or compelling
   circumstances warranting consideration for compassionate release. You do
   not meet the criteria under "Debilitated Medical Circumstances."            An
   evaluation of your medical records indicates you are independent with
   instrumental e1.ctivi ti Pc; 0t daily living. In addition, you are 50 years
   old and do not meet the criteria under "n~w. 12;-w'' oldPrl y inmate or "other
   elderly inmate." Accordingly, your request is denied at this level 21Ilu
   the matter shall not be referred for consideration to the Office of General
   Counsel.
   If you are not satisfied with this response,          you      may   submit   an
   Administrative Remedy on the appropriate form (BP-9).




                                                            \
   r.. Garrett, Warden                                  Date
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                          EXHIBIT

                                        C
                                LOPEZ'S.PROGRAM CERTIFICATES
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                                                                                              ~J~~
                                                                                                                      .             0
                    CERTIFICATE of ACHIEVEMENT
                                                    THIS ACKNOWLEDGES THAT



                                                 AGUILAR
                                                       ...
                                                           LOPEZ
                                                       02007-104
                                                 HAS SUCCESSFULLY COMPLETED THE

                                                       Brain Health as you Age



                                                                                 -   BRAIN                  HEALTH
                                                                                                  As ·vou
                                     ~

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         £STUD/ANTE DEL MES
                                           es


                   Jose Aguilar-Lopez

   Demostrando a traves de trabajo duro y enfoque que la mejora
                            academica es evidente.




        FCC Coleman Low-·                                     abril 281 2017
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     •ESTUDIANTE DEL MES
     '                                                               •




                                        es



                Jose Aguilar Lopez
                                       por

excelente actitud., asistencia perfecta y por trabajar mucho en el
               salon de clase para aprender mucho.




                                                                  enero 31, 2016
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    •••,·'tofa i
       Food;"Sl




   R. Diaz, Assistant Food ·Service Administrator
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 Certificate ofAchie.vement
                                   Awarded to:

                               AGUILLOPEZ
                                 '




lt                         F   o~ participating in the
                            Soccer program
                   at the Federal Detention Center,
                              Miami, FL

                      V'




October 25, 2014                                          M.D. Puerta Sports Specialist
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CERTIFICATE OF CO •PLETIO
 I   .




                                           '

                                  THIS CERTIFICATE IS AWARDED TO
                                          JOSE LUIS AGUILAR LOPEZ
                                                .......




                                    TO CERTIFY THAT HE HAS SUCCESSFULLY
                                                            COMPLETED THE
                                                          FINANCIAL PLANNING
                                     ADULT CONTINUING EDUCATION COURSE
                                                               February 2, 2023


                                                             Education Specialist C. DOVE
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CERTIFIC TE OF CO

                             THIS CERTIFICATE IS AWARDED 1~0
                                               JOSE AGUILAR LO
                                TO CERTIFY THAT HE HAS SUCCESSFULLY
                                                   COMPLETED THE
                                 Preparing for your Financial Future
                                                                                          I


                                ADULT CONTINUING EDUCATION COURSE
                                                           FEB 8, 2023


                                                     Education Specialist C. DOVE
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CERTIFICATE of ACHIEVEMENT
                          THIS ACKNOWLEDGES THAT



                  AGUILAR 02007-104
                      HAS SUCCESSFUllY COMPLETED THE

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           J. Jones III MBA,                                    -
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               Certificate ofAchievement
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           October 25, 2014                                                               M.D. Puerta Sports Specialist
Case 1:13-cr-20911-BB Document 312 Entered on FLSD Docket 11/07/2023 Page 218 of 263




CERTIFICATE of ACHIEVEMENT
                            THIS ACKNOWLEDGES THAT




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                          EXHIBIT

                                       D
                                  COAST GAURD'S STATEMENTS
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                                                                                          400 Sand Island PKWY
                                                                                          Honolulu, m 96819

                                                                                          Phone Number: 1-808-842-
                                                                                          28?0

                                                                                          Fax Number: 1-808-842-2871



           THE FOLLOWlNG IS A STATEMEJ\'T BY OFFICER LIGSAY, USCGC RUSH, BOAR.DING
           OFFICER, IN REFERENCE TO THE BOARDING OF VESSEL CRJSTIA.c"'-1"O RONALDO ON 05
           NOVEl\ffiER, 2013 .

                 • On 05 November 2013 aboard USCGC RUSH (\VHEC 723) Boarding Team Alpha (Officer

           Ligsay-Boarding Officer, Officer Arambula-Boarding Team Member, and Officer Laragione-BTM) was

           instructed to get underway on CGC RUSH's Over the horizon Boat (OT.II) CG 23178 to investigate a

           Target of interest (TOI) in the approximate position 12-37N, 091-51 W about 98 miles south west of Puerto

           Quetzal, Guatemala. After a 30 nautical mile transit, helicopter (HH-65C) 6528 vectored the CG 23178

           towards a 25 foot vessel. After approaching the vessel CLARA LUZ, conducted Right of Approach (ROA)

           questioning. The vessel had five persons on board, three from Guatemala, two from Ecuador. After the

           completion of questioning, CGC RUSH directed the CG 23178 to a new position for the recovery of

           floating materials near the location of the CG 6528. Once arriving at location 12-36N, 091-51 W, and the

           crew of CG23 l 78 located many large b_lack blocks floating .in the water. I direct the BTM's to recover of
                                                                          ..
           what appeared to be contraband floating in the water. After recovering about nine black burlap sacks, the

           CG 23178 was again requested to transit to another nearby position to a vessel that was disabled by the CG

           6528. Upon approaching the fish vessel Cristiano Ronalda, I promptly drew my weapon and advised

           Officer Arambula to give verbal commands in Spanish and English to four persons onboard. After

           embarking on the vessel Cristiano Ronalda, I immediately restrained two individuals in flex cuffs for

           officer safety. Once all four persons were restrained, I commenced a frisk search the two individuals. No

           weapons were found. All four individuals were then instructed to sit inside the fish hold and wait for further

           tasking. I then commenced an initial safety sweep (ISS) to ensure the seaworthiness of the vessel for

           boarding team safety. Next, I then instructed Officer Arambula to commence Right of Visit (ROV)

           questioning. Through the questioning of each individual, the master in charge of the vessel made a claim




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        of the vessel and was identified as Saulo Arau! Hernandez Almaras of Guatemalan nationality. After being

        granted pennission to conduct a boarding on the vessel from the CGC RUSH, I then coillIJJ.enced

        IONSC.A.N Swipes with the Boarding team members taking a total of 8 swipes. After completion of

        IONSCAN Swipes, I had the boarding team conduct at sea space accountability (ASSA) to account for all

        the spaces onboard the vessel. CGC RUSH then advised the boarding team to pause in the completion of

        ASSA with Guatemala •wanting to confirm Registry of Fishing Vessel Cristiano Ronaldo. After

        recommencing of ASSA, boarding team requested to conduct a minimally intrusive search to account for

        the space below the deck to achieve complete 100% ASSA Before drilling into the deck, I requested to

        have the four crev.rn1embers of the vessel Cristiano Ronaldo to be disembarked and placed on the CG 23178

        and transferred to the CGC RUSH for detainee processing. Once they disembarked, I commenced the

        minimally intrusive search and documented the entire process, The first hole was drilled and exposed the

        waterline, A second hole was cut forward of the fish hold also exposing the water line and Ihe vessel

        became unsafe for the boarding team to. be onboard. 100 percent ASSA was achieved and the boarding was

        complete. Boarding team disembarked and returned to CGC Rush.




        This statement is true and accurate to the best of my knowledge.
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                                                                                     USCG MSST Honolulu (91107)
                                                                                     400 Sand Island Parkway
                                                                                     Honolulu, Hl 96819-4398

                                                                                     PHONE# (808) 620-6444
                                                                                     Fax: (808) 842-2703 or 2730




         THE FOLLOWING IS A STATEMENT BY OFFICER JUSTIN LARAGIONE, MSST 91107
         ADVANCED INTERDICTION TEAM, ASSIST ANT BOARDING OFFICER, IN REFERENCE TO
         THE BOARDING OF VESSEL CRISTIANO RONALDO ON 05 NOVEMBER, 2013.

                  On 05 November 2013 aboard USCGC RUSH (WH'EC 723) Boarding Team Alpha (Officer

         Ligsay-Boarding Officer, Officer Arambula-Boarding Team member, and Officer Laragione-ABO) was

          instructed to get underway on CGC RUSH's Over the horizon Boat (0TH) CG 23178 to investigate a

         Target of interest (TOI) in the approximate position 12-37N, 091-SlW about 98 miles west of Puerto

         Quetzal, Guatemala. After a 30 nautical miJe transit, helicopter (HH-65C) 6528 vectored the CG 23178

          towards a 25 foot fishing vessel. After approaching the vessel CLARA LUZ, conducted Right of Approach

         (ROA) questioning. The vessel had five persons on board, three from Guatemala, two from Ecuador. After

         the completion of questioning, CGC RUSH directed CG 23178 to a new position for the recovery of

         floating materials near the location of CG 6528. Once arriving at location 12-36N, 091-SlW, the crew of

         CG23178 located many large black blocks floating in the water. I was directed by Boarding Officer Ligsay

         to assist in the recovery of what appeared to be contraband. After recovering about nine of these blocks,

         CG 23178 was again tasked to transit to another nearby position to a vessel that was disabled by CG 6528.

         Upon approaching the vessel CRISTIANO RONALDO, I promptly drew my weapon and maintained over

         watch security position on four persons onboard. After Officer Ligsay and Officer Arambula embarked the

         vessel CRISTIANO RON ALDO, I immediately handed Officer Ligsay four sets of flex cuffs. Once all four

         persons were restrained, I remained on the small boat for over watch security and monitor radio

         communications. All four individuals were then instructed to sit inside the fish hold and wait for further

         tasking. While waiting for the permission to board, the small boat conducted a visual assessment of the

         debris field around the vessel CRISTIANO RONALDO. One additional bail was found. Packaging was



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         consistent with the other nine bales of suspected contraband .. After being granted permission to conduct a

         boarding on the vessel from CGC RUSH, I assisted in the completion of ion scan swipes and at sea space

         accountability (ASSA). CGC RUSH then advised the boarding team to pause in the completion of ASSA.

         After recommencing the ASSA, boarding team requested to drill minimally intrusive holes ·into the deck to

         complete l 00 percent ASSA. I then requested the small boat to come along side to transport me back to

         cu~e: RUSH to assist with NIK kit testing of the suspected contraband, as well to help set up and over see

         the marshalling process of the detainees. I was the camera operator during the NIK kit testing. I witnessed

         two tests that tested positive for cocaine. Then I walked to RUSH's Combat Information Center (CIC) to

        pass results of the NIK testing to RUSH's Operations Officer (LT Hahn). After leaving CIC, I went up

        topside to receive four detainees for marshalling.




        This statement is true and accurate to the best of my knowledge.




                                                     06 November 2013




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                                                                     MSST San Diego 91109
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                                                                     Building 310
                                                                     San Diego, CA. 92140

                                                                     Phone Number: 619-517-4310
                                                                     Fax Number: 619-524-8680




       THE FOLLOWING IS A STATEMENT BY OFFICER HERIBERTO ARAMBULA, USCGC RUSH,
       LINGUIST, IN REFERENCE TO THE BOARDING OF VESSEL CRISTIANO RONALDO ON 05
       NOVEMBER, 2013.

               On 05 November 2013 aboard USCGC RUSH (WHEC 723) Boarding Team Alpha (Officer Ligsay-

       Boarding Officer, Officer Arambula-Boarding Team member, and Officer. Laragione-BTM) was instructed to get

       underway on CGC RUSH'S Over the horizon Boat (OTI-I) CG 23178 to investigate a Target of interest (TOI) in the

       approximate position 12-37N, 091-51 W about 98 miles west of Puerto Quetzal, Guatemala. After a 30 nautical mile

       transit, helicopter (HH-65C) 6528 vectored the CG 23178 towards a 25 foot vessel. After approaching the vessel

       LARA LUZ, conducted Right of Approach (ROA) questioning. The vessel had five persons on board, three from

       Guatemala, two from Ecuador. After the completion of questioning, CGC RUSH directed the CG 23178 to a new

       position for the recovery of floating materials near the location of the CG 6528. Once arriving at location 12-36N,

       091-5 I W, the crew of CG23 l 78 located many large black blocks floating in the water. I was directed by Boarding

       Officer Ligsay to assist in the recovery of what appeared to be contraband. After recovering about nine of these

       blocks, the CG 23178 was again directed to transit to another nearby position to a vessel that was disabled by the

       CG 6528. Upon approaching the vessel CRISTIANO RONALDO, I promptly drew my weapon and gave verbal

       commands in Spanish and English to four persons onboard. After embarking on the vessel CRISTIANO

       RONALDO, I immediately restrained two individuals in flex cuffs. Once all four persons were restrained, I

       commenced a frisk search on each individual. No weapons were found. All four individuals were then instructed to

       sit inside the fish hold and wait for further tasking. I then commenced an initial safety sweep (ISS) to ensure the

       seaworthiness of the vessel for the boarding team. Next, I was advised by Officer Ligsay to commence Right of

       Visit (ROY) questioning.   Through the questioning of each individual, the master in charge of the vessel was

       identified as Saulo Arau! Hernandez Almaras of Guatemalan nationality. After being granted permission to conduct


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      a boarding on the vessel from CGC RUSH, I assisted in the completion of ion scan swipes and at sea space

      accountability (ASSA). CGC RUSH then advised the boarding team to pause in the completion of ASSA. After

      recommencing of ASSA, boarding team requested to drill minimally intrusive holes into the deck to complete 100

      percent ASSA. Before drilling into the deck, the four crewmembers of the vessel CRISTIANO RON ALDO were

     disembarked and placed on the CG 23178 and transferred to CGC RUSH. Once the cre.wmembers disembarked, one

      hole was drilled into the deck of the vessel CRISTLI\NO RONALDO and exposed the waterline. Consequently, 100

      percent ASSA and the boarding was complete, boarding team requested permission to disembark.




     This statement is true and acc,rnte to the bet of my knowlediJ!j,



                                                        ambula, ME2, USCG

                                                   06 November 2013




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                                                                                        USCG MSST Honolulu (91107)
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                                                                                        Fax: (808) 842-2703 or 2730




         THE FOLLO\VING IS A STATEl\1ENT BY OFFICER VVILLIAMS, MSST 91107 ADVANCED
         INTERDICTION TEAM, BOARDJNG TEAM MEMBER, IN REFERENCE TO THE BOARDING
         OF CRISTIANO RONALDO ON 05 NOVEl\IBER, 2013.

         I assisted Officer Crawford in conducting the NIK (Narcotics Identification Kit) test. I removed one
                                       r
         standard package from shrink wrapped bulk bale. I then utilized a figure H cut on the upper right quadrant

         of the suspected contraband package. I read the instructions to NIK-G while Officer Crawford conducted

         the actual sample testing of suspected contraband, and Officer Laragione photo-logged the phases and

         results of NIK test. Upon 151 NIK test receiving a positive result for cocaine, a 2nd NIK test was conducted

         to verify results of the 1•1 test. The 2nd NIK test was conducted in the same manner as the 1" NIK test. The

         2nd NIK test also received a positive result for cocaine. After suspected contraband was verified to actually

         be cocaine, the sample package was sealed into an evidence bag and stored with the rest of the contraband.

         After contraband was inventoried and stored, myself and Officer Crawford locked forward mag 1 and

         informed command of a positive result for cocaine and total amount of contraband.



         This statement is true aud accurate to the best of my knowledge.



                                               /;Li.~06 November 2013




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          LT Ryan Hawn. USCG
          AVDET HIT 14-04
          Mission Commander


           lam currently the Mission Commander for the HITRON Aviation Detachment (A VDET) 14-04 attached
          to CGC RUSH. I have been a qualified MH-65D Mission Commander since October 2013 and have been
          Airborne Use of Force - Counter Drug (AUF-CD) Mission Qualified since November 2012. My position
          during this case was the Pilot in Command, left seat, aboard CG 6528.

          Description of events

          Around 1030 local time I was notified that a Maritime Patrol Aircraft (MP A) was tracking a pang a around
          120 NM south of our position, which was just outside of Guatemala territorial seas. I worked with
          members of the Combat Information Center (CIC) to plot an intercept course and plan to launch the helo
          20NM north of the position of the panga (1430 local time), with enough time to reach the panga and get
          eyes on it before the MPA had to depart (1500 local time).

          We launched on time and flew at 2500 feet above water level to get just above the cloud layer and remain
          covert. Receiving vectors from the MP A, we maneuvered around the panga to the south covertly, spotted
          it, and then descended to go overt and take a closer look. My Precision Marksman - Aviation (PM-A)
          reported to me that be saw three pangas, all within a very close proximity; it seemed that they had just
         •finished a transfer, or that we had interrupted it. As we continued to descend upon the group, two pangas,'
          Panga l and Panga2 departed to the north at a high rate of speed, towards the awaiting CGC RUSH and its
          two Over The Horizon (0TH) boats. We overflew Panga3 (Pangal and Panga2 had departed from it) and
          noticed that it was not mqving (dead in the water, or DlW), bad no persons on board (POB), and was
          surrounded by debris: cans, trash, and other litter from the boat.

          We pursued Pangal and Panga2 who were beading north at 30 knots. As we approached to provide
          reconnaissance of the pangas, Panga2 changed course to the north east. I directed 6528 to follow Pangal,
          and one of the 0TH boats, callsign KOKO, to intercept Panga2.

          I passed information about Pangal to CGC RUSH to begin the Statement of No Objection (SNO) process.
          l passed that we saw the presence of packages, several fuel-type drums, a plethora of fishing gear and
          buoys, the name Cristiano Ronalda, hull numbers CCP-1900-2012, the presence of 4 POB, two outboard
          engines, white bull, blue interior, and a large hold in the middle.

          The SNO came quickly, and I directed the crew to proceed with signaling. I illuminated the CG logo light
          and all other exterior aircraft lights, made multiple callouts in Spanish and ~nglisb on marine band channel
          16 for the vessel to stop, yet received no response. l observed the PM-A also give multiple cut throat band
          motions, and the driver of Panga3 shook his bead in a "no" motion, as well as gave multiple motions that I
          assumed meant he wanted us to go away; I directed for Warning Shots to follow, and the pilot at controls
          (PAC) placed the 6528 in position; the PM-A followed with three stitches (thirty rounds total) of warning
          shots of7.62mm from the M240 area fire weapon approximately five yards in front of the underway panga.
          The panga began maneuvering aggressively. l directed that 6528 begin the _Disabling Fire phase, and the
          PM-A began with l round of Precision Warning Shots Aft from the 50 cal Ml07 to alert the person at the ,
          tiller to move away, because disabling fire would be forthcoming. The vessel continued evasive              •
          maneuvering. The PM-A then placed J round of SO-caliber from a Barrett Ml 07 precision fire weapon into
          the port engine. I observed the vessel slow down, conduct evasive turns, open up its center bold, and dump
          overboard at least three linked chains of large black bales overboard; the panga then sped up and attempted
          to flee.

          6528 marked position of the bales with paper plates, passed the position to CGC RUSH and KOKO, and
          chased Pangal. Once alongside Pangal, the PM-A placed one more round of 50-cal.iber into the port
          engine. Pangal them stopped, the driver went forward, another individual went aft, and began to tilt the
          lower units of the outboard engines out of the water. 1 then directed the PM-A to use visual signs to tell all


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        individuals to move forward, which they immediately did; once clear, he placed five more rounds into the
        two engines to ensure they were disabled. We then relocated the cluster of bales and vectored KOKO, who
        retrieved at least one cluster. We then provided boarding team cover for KOKO to board Pangal. Once
        they had positive control of the boat, we recovered to CGC RUSH to refuel.

        After refuel, we launched and located Panga3, which was now overturned. We searched for bales but saw
        nothing. We then relocated the bales from Pangal and vectored KOKO to recover the remaining bales,
        then recovered to CGC RUSH for debrienng.




        05 November 2013




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         individuals to move forward, which they immediately did; once clear, be placed five more rounds into the
         two engines to ensure they were disabled. We then relocated the cluster of bales and vectored KOKO, who
         retrieved at least one cluster. We then provided boarding team cover for KOKO to board Panga 1. Once
         they had positive control oftbe boat, we recovered to CGC RUSH to refuel.

         After refuel, we launched and located Pa.T1ga3, which was now overturned. We searched for bales but saw
         nothing. We then relocated the bales from Pangal and vectored KOKO to recover the remaining bales,
         then recovered to CGC RUSH for debriefing.

         This is true to the best ofmy knowledge.


          17'/l D ~ , " - - ,
         LT Ryan D. Hawn, USCG

         05 November 2013




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          LT Robert P. O"Donnell. USCG

          AVDET Co-Pilot

          J\1H-65D CG 6528 Pilet at Controls

          I am currently the Mission Qualified pilot for the HITRON AVDET 14-04 attached to USCGC RUSH. I
          have been a qualified MH-65D pilot since August 2009 and have been Mission Qualified since August
          2013. My position during this case was the pilot at controls. right seat, aboard CG 65.28.

          Description of Witnessed E\'ents

           Earlier this morning. 5 November 2013. an MPA spotted a vessel not mo\"ing. or --dead in !he water""
           (DI'w). approximately 80 miles from the C.utter·s location. At that point the operati-ons officer determined
           to launch us at about 1430. when the cutter was approximately 30 miles away from the Target Oflnterest
           (TOI). We took off at 1427L and proceeded enroute to the TOI"s last knovvn position. The MP A reported
           their target on radar and was able to vector 6528 to the position. The 65.28 climbed 10 approximately 1500"
          •Above the Water Level (AWL) in order to remain covert, but stayed under a cloud layer. It was determined
           that the 6528 could climb above the scattered layer and climbed to approximately 2500" AWL, above the
           cloud layer. Shonly after this climb we acquired the TOI visually and determined that it was 2 vessels
           (TOI#1 and #2). We maneuvered around the vessels with a standoff distance of about 3 miles, and
           proceeded to their south. When we started to approach the vessels from the south, they started to run to the
           north, in the direction ofCGC RUSH and her small boat, KOKO. At this time, we detem1ined that 2
           vessels were underv.-ay and a third ve.ssel was DIW and abandoned (TOI #3). We relayed this information
           to RUSH and proceeded to follow TOI #1. TOI #1 and #2 continued to head north at a high rate of speed.
           At this time. TOI #2 turned to the northeac;t and split off from TOI #1. 6528 then vectored RUSH's small
           boat to TOI #2.

          We continued to pursue TOI #1 and determined that there were fuel barrels on board along with what
          appeared to be a package on deck. After several recon passes. 6528 requested the SNO. The SNO was
          granted shortly after and 6528 moved in for signaling. 6528 energized the blue light, position lights, anti-
          collision light, and landing lights, and made callouts oo Ch. 16 for the vessel to stop. The vessel was non-
          compliant and 6528 configured for warning shots. 6528 completed three stitches, approximately 30 rounds,
          of warning shots. TOI #1 was still non-compliant and 6528 configured for disabling fire. The Precision
          Marksman-Aviation conducted 1 round of precision warning shots aft. due to the driver·s proximity to the
          engine. 6528 then conducted l round of disabling fire which contacted the lower unit of the port side
          engine. TOI #1 then began to move erratically and quickly reversed direction. TOI #I came DIW and
          jettisoned approximately 12 packages into the water. TOI #1 then again got underway and 6528 conducted
          another round of disabling fire. After round #2. TOI #I became DIW and a suspect moved aft and retracted
          the starboard engine from the water. The PMA then motioned to the driver to move forward on the vessel
          along with the crewman that moved aft to retract the engine. After the area was clear, 6528 conducted 5
          more rounds of disabling fire to ensure that all means of propulsion had been stopped.

          After completing disabling fire, 6528 returned to the debris field where the packages were jettisoned. 6528
          marked the position with paper plates and remained on scene to vector RUSH's small boat, KOKO.
          KOKO arrived on i;cene, retrieved packages from the water and then 652& vectored KOKO to TOI #1.
          6528 returned to RUSH. conducted a refueling. and returned to the position of TOI #3. 6:528 discovered
          that TOI #3 had capsized, but could not find any suspect packages in the water. After completing a search
          around TOI #3. 652& returned to the original debris field, located I more package and vectored KOKO to
          recover the package. After KOKO recove-red the final package, 6528 returned to RUSH and shutdown.

          T h i s ~ ~ th         est of my knowledge.

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         /f=T.?ogert P. O"Donnell. USCG
           7 November 20 l 3


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         AMT! Justin Brown. USCG
         AVDET HIT 14-04
         PM-A


          I am currently the Precision Marksman AYiation(PM-A) for the, HITRON AVDET 14-04 attached 10
          USCGC RUSH. I have bee11 a qualified MH-65D PM-A since January 2009 and have been CD Mission
          Qualified since January 1013. My position during this ca~e was the Precision Marksman. aboard CG 652!t

          Description of events

           After lunch at about J400L flight condition I was set and ·USCG 6528 was launched. The target of interest
          (TOI) was ~4 miles away. After about 10 minutes we spotted the TOI. There were what looked to be 2
          TOI's and as we turned toward them we noticed a third TOI. We flew over TOI #3 and found it to be dead
          in the water (DlW) with no persons on board and lots of debris around it After marking the position we
          flew to TOI #I. TOI #2 had broken off and headed away from TOI #1 and us.

          After conduction high reconnaissance of the TOI #1 we requested an SNO. A few minutes later we
          received the SNO for warning shou. and disabling fire. We then came alongside the TOI and made calls
          over channel 16 in Spanish and English ·with no response from the TOI. We then conducted 3 stitches of
          vvaming sh0ts {30 rounds) 5 to 10 yards in front of the bow of the TOI with no response. We then
          transitioned to disabling fire. The driver was about 1 arm length from the engine so we decided to do one
          round of precision warning shot, aft then the TOI i-tarted maneuvering emtically. We then conducted one.
          round of disabling fire into the lower unit of the left engine. The TOI turned into us and became DIW and
          began to dump packages over board. We came into a hover and marked the position and got FUR footage
          of the packages and the TOI driving away. After passing the location of the packages back to RUSH we
          then returned to the TOI to conduct more disabling fire. After one more round of disabling fire into the left
          engine the TOI became DIW. One crew member tilted the right engine up and out of the water. Then the
          driver tilted the Left engine up and out of the water. We then decided to fully disable both engines. After
          motioning the crew of the TOI to move forward we fired 2 rounds into the left engine and 3 rounds into the
          right engine.

          We then ve~tored the over the horizon boat (OTHB) to the. packages where they picked up 10 packages.
          After the OTHB picked up the packages we provided boarding team cover for the OTHB to conduct a
          boarding then returned for fuel. After refuel we launched to reacquire TOI#3. About 10 minutes later we
          found TOI #3 and vectored in the OTHB. With no packages located we then proceeded to TOI #1 's
          package field to locate final packages. After finding all packages and vectoring in the OTHB to pick up
          packages we then returned to RUSH for shutdO"-il.

          In total we fired 30 (7.62 mm) rounds of warning shots, 1 (.50 cal) round of precision warning shots aft,
          and 7 (.50 cal) rounds of disabling fire.

          This is correct to the best ofmy knowledge.

          AMTI .h.L~tin Brown. USCG
          ~3
      .?-~



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                          EXHIBIT

                                       E
                         REPORT OF INVESTIGATION HOMELAND SECURITY
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        REQUESTED BY:     MATYSKA, KAREL J
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            DEPARTMENT OF HOMELAND SECURITY                TECS ACCESS CODE 3
                           ICE
                                                           PAGE    l
      REPORT·OF            I NV E s TI GA T I O N
                                                           CASE NUMBER
                                                            OCDETF NO:
       TITLE: CRISTIANO RONALDO
       CASE STATUS:       INIT RPT
       REPORT DATE          DATE ASSIGNED          PROGRAM CODE          REPORT NO.
         120513                 111813                                      001
        RELATED CASE NUMBERS:
        COLLATERAL REQ:
        TYPE OF REPORT:
       INVESTIGATIVE FINDINGS
 /    MEMO OF INTERVIEW       /      OTHER INFORMATION
     TOPIC: 11/26/2013 ARREST AND INTERVIEW OF CREWMEMBERS
         SYNOPSIS:
     On November 5, 2013, the United States coast Guard (USCG) cutter RUSH
     interdicted a go-fast vessel (GFV) in international waters approx.imately 120
     nautical miles (NM) southwest of the El Salvador/Guatemala border after a
     customs and Border Protection (CBP) marine patrol aircraft (MPA) observed the
     GFV jettison numerous packages. The USCG boarding team discovered four (4)
     subjects onboard and later recovered ten (10) bales of cocaine weighing
     approximately 290 kilograms. The subjects were later identified as Guatemalan
     nationals Saulo Arahon HERNANDEZ ALMARAZ, Samuel SAVALA CISNEROS, Jose Luis
     AGUILAR LOPEZ, and Elden Nehemias LOPEZ HERNANDEZ. Disposition was granted to
     the Southern District of Florida where the crewmembers will face prosecution
     for Title 46 U.S.C. 70503 and 70506 _ Maritime Drug Smuggling.
     The following Report of Investigation (ROI) serves to document the USCG
     interdiction and the arrest and interviews of the four (4) crewmembers.

         DISTRIBUTION:              SIGNATURE:
     SACMI                        MATYSKA          KAREL     J    SPECIAL AGENT
                               ------------------------------------------------------
                                   APPROVED:
                                  LANG             DEAN      B    OI PROGRAM MANAGER


                                    ORIGIN OFFICE: MI       TELEPHONE: 954 430 4936
                                  MIAMI, FL - SAC
                                                        TYPIST: MATYSKA
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                 C O N T I N U A T I O N                    REPORT NUMBER: 001

      CASE PROGRAM CODES:




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          C O N T I N U A T I O N                      REPORT NUMBER: 001


DETAILS OF INVESTIGATION:
On Nov ember 5, 2013, while on routine patrol in the Eastern Pacific Ocean, a
marine patrol aircraft (MPA) observed a panga-styled vessel, also known as a
go-fast vessel (GFV), approximately 12DNM south of the Guatemala/El Salvador
border, which was suspected of being involved in narcotics-related activity.
The MPA relayed the information to the USCG Cutter RUSH, who was also in the
area on patrol. The USCG cutter RUSH subsequently launched their aerial use of
force (AUF) helicopter to further investigate the GFV. While remaining covert,
the AUF was able to identify three (3) GFV in the same area. When the AUF went
overt two (2) of th~ GFVs got underway and proceeded to head in a northerly
direction in tandem at a high rate of speed. The AUF relayed this information
to the USCG Cutter RUSH, who subsequently launched a small boat. The two (2)
GFVs later split up and one (1) continued to head north (panga #1) while the
other proceeded in a northeasterly direction (panga #2). The AUF reported that
the GFV continuing north appeared to have visible bales on the deqk, which
appeared to be narcotics. The GFV was also reported to have four (4)
crewmembers with several fuel barrels, fishing gear, buoys, two (2) outboard
engines, white hull with blue interior and the name "CRISTIANO RONALDO". The
AUF remained with panga #1, while the small boat was directed to intercept
panga #2.
The AUF proceeded to signal panga #1 in an attempt to get the vessel to heave
to. The AUF illuminated the USCG light and all the exterior lights on the
aircraft, as well as made multiple calls in both the English and Spanish
languages on marine channel 16. Crewmembers onboard the AUF also gave multiple
hand signals to the master of the vessel to stop, to which the master shook his
head in a "no" motion.and gave multiple motions which appeared to mean "go
away". At that time the AUF fired three (3) rounds of warning shots in front
of the panga. The disabling fire was ineffective and panga #1 continued
underway. The mission commander then directed the precision marksman-aviation
(PM-A) to begin disabling fire. The PM-A began with one (1) round of precision
warning shots aft of the engine to alert the master near the engine to move.
The master continued to conduct evasive maneuvering and the PM-A fired one (1)
shot into the port engine. Subsequently, panga #1 went dead in the water (DIW)
and proceeded to jettison what appeared to be black bales overboard. After
jettisoning the bales, panga #1 got back underway. The AUF marked the debris
field and continued pursuit of panga #1. The AUF then continued with disabling
fire and place one (1) more round into the port engine. At that time panga #1
became DIW and the crew members were instructed to move to the front of the
vessel. After the engine area was clear, the PM-A placed five (5) more rounds
into the engines to completely disable them.

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After panga #1 was disabled, the AUF returned to the debris field to vector in
the small boat to recover the bales of suspected contraband. The AUF also
returned to the location of panga #3, which was capsized and determined to be
abandoned.
While the AUF was pursuing panga #1, the small boat pursued and interdicted
panga #2 (CLARA LUZ) and conducted a Right of Approach (ROA) questioning.
Panga #2 had five (5) crew members onboard    three (3) from Guatemala and two
(2) from Ecuador. Following the questioning, the AUF directed the small boat
to transit to the debris field from panga #1 to recover the jettisoned
packages. After recovering ten (10) jettisoned bales, the small boat was
directed to disabled panga #1· to conduct the boarding. The boarding team (BT)
arrived and restrained all four (4) crew members. The BT questioned each crew
member and subsequently identified Saulo Arahon HERNANDEZ ALMARAZ as the
master, who made a verbal claim of Guatemalan nationality for the vessel. The
USCG submitted a formal request to the Guatemalan government to confirm or deny
the nationality of the vessel. The Guatemalan government could not confirm nor
deny the registry of the vessel. The ·small boat requested and received
permission from USCG cutter RUSH to conduct the boarding to include ION scan
swipes and at sea space accountability (ASSA). ION scan swipes were performed
resulting in positive hits for the presence of cocaine. The four (4)
crewmembers were then transferred to the USCG Cutter RUSH for detainee
processing. Shortly after, the BT conducted minimally intrusive drilling to
determine 100% ASSA, which resulted in no additional contraband being found.
At that time the BT disembarked the CRISTIANO RONALDO.
While onboard the USCG cutter RUSH, the four (4) crew members were identified
as follows:
Samuel SAVALA
DPOB:                Guatemala
Elder Nehemias LOPEZ HERNANDEZ
DPOB: • • • • • • Guatemala
Jose Luis Lote (later
                   ,· determined to be Jose Luis AGUILAR LOPEZ)
DPOB:
Saulo Araul Hernandez Armaras (later determined to be Saulo Arahon HERNANDEZ
ALMARAZ)
DPOB: •■••••        Guatemala
While onboard the USCG cutter RUSH, BT members conducted narcotics
identification kit (NIK) tests on one (1) of the packages from one (1) of the
recovered bales. The first NIK test resulted in a positive hit for the
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presence of cocaine. A second NIK test was conducted, which confirmed the
results of NIK test #1.

On November 26, 2013, the four (4) crewmembers, a representative sample of
cocaine and evidentiary items were transported via CBP aircraft from Panama
City, Panama to Opa Locka, FL. Following their arrival into the United States,
at approximately 1900 hours, Jose Luis AGUILAR LOPEZ, Saulo Arahon HERNANDEZ
ALMARAZ, Samuel SAVALA CISNEROS, and Elder Nehemias LOPEZ HERNANDEZ were placed
under arrest for violation of Title 46 use 70503(a) and 70506(b)   possession
and conspiracy to possess cocaine onboard a vessel subject to the-jurisdiction
of the United States.

CBP Officers paroled AGUILAR, HERNANDEZ, SAVALA, and LOPEZ for one (1) day to
face prosecution.

INFORMATION AND INTERVIEW OF:

Name:            Jose Luis AGUILAR LOPEZ
DPOB:                       - Guatemala
Address:                          Guatemala
Race:            White
Sex:            Male
Height:            5 I 2 11
Weight:            120
Eyes:            Brown
Hair:            Black
Alien #:

PRIOR CRIMINAL RECORD:

AGUILAR has no identifiable criminal record in the U.S. At this time it is
unknown whether AGUILAR has been arrested in Guatemala or any other foreign
country.

BUREAU OF PRISONS NUMBER:          02007-104

VIOLATIONS:    Title 46       use 70506
EXHIBITS:

NON-DRUG EVIDENCE:       N/A
INTERVIEW:
On November 26, 2013, at approximately 1920 hours, DEA SA Jose Irizarry and DEA

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            CONTINUATION                                   REPORT NUMBER: 001
TFO Juan Pena interviewed AGUILAR at the CBP Port of Entry (POE) in Opa Locka,
FL. The following report of the interview of AGUILAR is based upon notes taken
and provided by DEA TFO Pena:
AGUILAR was advised of his Miranda rights via a pre-printed form in the Spanish
language by SA Irizarry. SA Irizarry is fluent in the Spanish language. After
being read his Miranda rights, AGUILAR indicated that he wished to speak with
an attorney. After advising agents that he wished to speak with an attorney,
AGUILAR made a spontaneous statement and said they were fishing.
At this time the interview was concluded.
INFORMATION AND INTERVIEW OF:
Name:            Saolo Arahon HERNANDEZ ALMARAZ
DPOB:                       - Guatemala
Address:                          Guatemala
Race:            White
Sex:            Male
Height:            51711

Weight:            150
Eyes:            Brown
Hair:            Black
Alien#:
PRIOR CRIMINAL RECORD:
HERNANDEZ has no identifiable criminal record in the U.S. At this time it is
unknown whether HERNANDEZ has been arrested in Guatemala or any other foreign
country.
BUREAU OF PRISONS NUMBER:        02005-104
VIOLATIONS:    Title 46 use 70506
EXHIBITS:
NON-DRUG EVIDENCE:
Line Item 1     Misc. Documents (CBP 605lS #4559435)
Line Item 2     Samsung Cell Phone (CBP 605lS #4559436)
Line Item 3     Garmin GPS (CBP 605lS #4559436)
Line Item 4     Motorola Radio (CBP 6051S #4559436)
INTERVIEW:
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On November 26, 2013, at approximately 1930 hours, DEA SA Jose Iriz~rry and DEA
TFO Juan Pena interviewed HERNANDEZ at the CBP Port of Entry (POE) _in Opa
Locka, FL. The following report of the interview of AGUI~ is based upon
notes taken and provided by DEA TFO Pena:
HERNANDEZ was advised of his Miranda rights via a pre-printed form in the
Spanish language by SA Irizarry. SA Irizarry is fluent in the Spanish
language. After being read his Miranda rights, HERNANDEZ indicated that he
wished to speak with an attorney. After advising agents that he wished to
speak with an attorney, HERNANDEZ made a spontaneous statement and said they
were fishing.
USCG personnel recovered a Motorola radio (Serial #749TFE1813), Garmin GPS 72H
(Serial #1T222493), and a Samsung Cell Phone (Serial #RV1C751000TV), which were
in the belongings of HERNANDEZ. The items were shown to HERNANDEZ, who
acknowledged that they belonged to him. HERNANDEZ further acknowledged this,
after being read a pre-printed consent to search form; by subsequently signing
the consent to search. HERNANDEZ further abandoned any claim to the above
listed items by signing a pre-printed notice of abandonment form.
Agent's Note: HERNANDEZ advised agents that he could not read or write and as
a result signed both the consent to search and notice of abandonment forms by
marking an "X" in the signature block.
At this time the interview was concluded.
INFORMATION AND INTERVIEW OF:
Name:            Samuel SAVALA CISNEROS
DPOB:                       - Guatemala
Address:       Telapa San Marcos, Guatemala
Race:            White
Sex:            Male
Height:            5 I 511
Weight:            165
Eyes:            Brown
Hair:            Black
Alien#:
PRIOR CRIMINAL RECORD:
SAVALA has no identifiable criminal record in the U.S. At this time it is
unknown whether SAVALA has been arrested in Guatemala or any other foreign
country.
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BUREAU OF PRISONS NUMBER:       02004-104

VIOLATIONS:     Title 46 use 70506
EXHIBITS:
NON-DRUG.EVIDENCE:        N/A
INTERVIEW:
On November 26, 2013, at approximately 1932 hours, DEA SA Jose Irizarry and DEA
TFO Juan Pena interviewed SAVALA at the CBP Port of Entry (POE) in Opa Locka,
FL. The following report of the interview of SAVALA is based upon notes taken
and provided by DEA TFO Pena:
SAVALA was advised of his Miranda rights via a pre-printed form in the Spanish
language by SA Irizarry. SA Irizarry is fluent in the Spanish language. After
being read his Miranda rights, SAVALA indicated that he understood his rights
and subsequently signed the pre-printed Miranda form. SAVALA voluntarily
provided a statement to agents in the Spanish language. The following is a
non-verbatim synopsis of the interview:
SAVALA told agents that they left San Jose, Guatemala ona 25' boat that was
registered in Guatemala. SAVALA stated that they were only fishing when a
helicopter shot at them when they were approximately l00NM offshore. SAVALA
said that there were many other pangas in the same area and they saw one of
them picking up "stuff" from the water. SAVALA stated that the USCG did not
find anything on their boat. SAVALA later admitted that the other pangas in
the area were retrieving bales of narcotics from the water. SAVALA detailed
that they recovered one (1) bale in the same area and that was the bale that
they threw overboard while being chased, which was later recovered by the USCG.
At this time the interview was concluded.
INFORMATION AND INTERVIEW OF:
Name:             Elder Nehemias LOPEZ HERNANDEZ
DPOB:                        - Guatemala
Address:                         , Guatemala
Race:             White
Sex:             Male
Height:             5 '4"
Weight:             130
Eyes:             Brown
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Hair:            Black
Alien#:
PRIOR CRIMINAL RECORD:
LOPEZ has no identifiable criminal record in the U.S. At this time it is
unknown whether LOPEZ has been arrested in Guatemala or any other foreign
country.
BUREAU OF PRISONS NUMBER:      02006-104
VIOLATIONS:     Title 46 use 70506
EXHIBITS:
NON-DRUG EVIDENCE:       N/A
INTERVIEW:
On November 26, 2013, at approximately 1942 hours, DEA SA Jose Irizarry and DEA
TFO Juan Pena interviewed LOPEZ at the CBP Port of Entry (POE) in Opa Locka,
FL. The following report of the interview of LOPEZ is based upon notes taken
and provided by DEA TFO Pena:
LOPEZ was advised of his Miranda rights via a pre-printed form in the Spanish
language by SA Irizarry. SA Irizarry is fluent in the Spanish language. After
being read his Miranda rights, LOPEZ indicated that he understood his rights
and subsequently signed the pre-printed Miranda form. LOPEZ voluntarily
provided a statement to agents in the Spanish language. The _following is a
non-verbatim synopsis of the interview:
LOPEZ told agents that they left November 1, 2013 from Telapa, Guatemala for
fishing. LOPEZ stated that the vessel was registered in Guatemala. LOPEZ
detailed that SAULO was the captain. LOPEZ said that they were out fishing for
four (4) days and he was cleaning the blood from the boat when the helicopter
shot at them.
At this time the interview was concluded.
DRUG EVIDENCE:
A representative sample of cocain~ weighing approximately 11.20kg was
transferred from USCG personnel to HSI/Miami Agents in Panama City, Panama and
later transported with the four (4) crewmembers to the CBP POE in Opa Locka, FL
where it was seized by CBP personnel. The seizure was documented via CBP 6051S
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#4559432. custody of the cocaine was signed over to HSI/Miami SA Daniel Perez,
who subsequently transferred custody to DEA SA Thomas Olsen, all of which is
documented on CBP 6051S #4559432. DEA later transported the cocaine to the DEA
laboratory for storage and analysis. The cocaine will remain in the custody of
the DEA laboratory until the judicial proceedings are complete.
INVESTIGATION CONTINUES.




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                            LAW ENFORCEMENT CASE PACKAGE CHECKLIST
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       Appendix G - Law Enforcement Case Package Preparation and Trial Support




                                LAW ENFORCEMENT CASE PACKAGE CIIBCKLIST
                                                             PARTil



        Time of Initial Acquisition: 10:06 AM.                       Method of Initial Acquisition: Maritime Patrol
                                                                     Aircraft (MPA)
         Distance and Direction from Prominent Point of Land: 98 NM SW from Puerto Quetzal, GT


        .Time Visually Acquired:4: 16 P .M.                          Course: 325                    Speed: 25 lets
        Vessel Response: Vessel maintained course and speed
                     _,·,-.::

        Nam~on Hull: ~TIANORONALDO -                                 Hailing Port on Hull: Tilipa
         Other Indications of Vessel N rune/Identity:
        Numbers on Hull: CCP--1900:2012                              Flag Flown: NIA
        Other Indications of Vessel Nationality:
        Vessel Activity: Underway                                    How is Vessel Riding in Water: Low
        O]?~ious .v4olat10~ qf U.S. law and/.or suspicious activity: Vessel was loitering next to two other vessels
        detected LE Helicopter ana all vessels got underway in different directions.




             -                       •
        □   Special Circumstances
            □ Consensual Boarding

            X Right of Visit
            □    Rendering Assistance to Persons/Property
        □   Flag or Coastal State Authorization
            □    Special Arrangement (PD-27/SNO)
            □    Bilateral/Multilateral Agreement
                 □     Shiprider Provision
                 □     Ship Boarding Provision
                 D Other International Agreement (e.g., fisheries)
        □   U.S. Vessel
        □ Foreign Flag Vessel Subjectto U.S. Jurisdiction




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       Appendix G - Law Enforcement Case Package Preparation and Trial Support




                             LAW ENFORCEMENT CASE PACKAGE CHECKLIST
                                                              PART II



                                                                       Method of Initial Acquisition: Maritime Patrol
                                                                       Aircraft (MPA)
         Distance and Direction from Prominent Point of Land: 98 NM SW from Puerto Quetzal, GT


         ,Time Vis~y Acquired:4: 16 P .M                               Co~e: 325                      Speed: 25 kts
         Vas~I Response: .Vessel maintained course and speed


         Naiti.e-on
           ~~··:. . . Enlk-CRISTIANO
                            . .
                                     RONALDO •                         Hailing Port on Hull: Tilipa
         Other-Indications of Vessel Name/Identity:
         Numbers on Hull: CCP-i900:2012                                Flag Flovvn: NIA
         Otber Indicatio1?5 of Vessei ·Nationality:
         Vessel Activity·: Underway                                    How is Vessel Riding in Water: Low
         O~vio:us .violat:ip~ qfU.S. law and/or suspicious activity: Vessel was loitering next to two other vessels
         detected LE Helicopter ana all vessels got underway in different directions.




         □ Special Circumstances
             ·d Consensual Boarding
             X Right of Visit
             □ Rendering Assistance to Persons/Property

         □ Flag or Coastal State Authorization

             □   Special Arrangement (PD-27/SNO)
             □   Bilateral/Multilateral Agreement
                 □   Shiprider Provision
                 □   Ship Boarding Provision
                 □   Other International Agreement (e.g., fisheries)
         □   U.S. Vessel
         □ Foreign Flag Vessel Subject to U.S. Jurisdiction




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      Appendix G - Law Enforcement C~- ~ Package Preparation and Trial Support




            □   In U.S. Internal Waters
            □ In U.S. Territorial Sea

            □   In U.S. Contiguous Zone
            □ InU.S. EEZ

            □   Hot Pursuit
            □   Constructive Presence
        □   Vessel Without Nationality
       X Vessel Assimilated to Vessel Without Nationality




                                 Name                                       Position/UnitJ;R.o·ta.tio~ Date
       Tyson Ligsay, ME2, USCG                               Boarding Officer/ USCGC RUSH/ May 2016
       Heriberto Arambula, ME2, USCG                             Boarding Team Member/ MSST San Diego/ May
                                                                 2014
       Justin Laragione, MEI, USCG                               Boarding Tea.in Member/ MSST Honolulu/ May 20f5
       Ryan Hawn, LT/0-3, USCG                               MC(CD)/ HITRON/ June 2015
       O'Donnell Robert, LT/0-3,USCG                         MD(CD)/ HITRON/ June 2016
       Justin Brown, AMTl, USCG                              PM-A (CD)/lllTRON/ June 2016
       ------------------And no others---------------




       Time Small Boat Launched: 1:59 P.M.                   Distance to Contact Vessel: 30 NM
       Position of Cutter at Small Boat Launch:              Lat:12-37N                     Long:09 I-40W
      Time Arrived on Contact Vessel:3:58 P.M.




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       Appeijdix G - Law Enforcement Case Package Preparation and ~rial Support




         Authority for Destruction: N/A
         Dateffime of Destruction: NIA                               Quantity Destroyed: NIA
         Method of Destruction: NIA
         Location of Destruction: NIA
                                                Personnel Conducting Destruction
         Name:NIA                                                    Role:NIA
          •   \
         Name:N/A                                                    Role:NIA
         Name:N/A                                                    Role:N/A
         Name:N/A                                                    Role:N/A



         Number of bales recovered: 10 Bales
            .   -                                  ..
         Estimate size of debris field: 3 ~gs_ of app-1:ox.unately 10 bales
          .                             ..   . .           .,
         Estimated position (LAT/LONG/geographic reference) of center of debris field: 12-36N 091-51 W/98 NM from
         Puerto Quetzal, GT
        Position where vessel began jettisoning (LAT/LONG/geographic reference): 12-36N 091-51 W/98 NM from
        Puerto Quetzal, GT                            •
        Position where vessel ceased jettisoning (LAT/LONG/geographic reference): 12-36N 091-51 W/98 NM from
        Puerto Quetzal, GT                                      •
        Position where vessel was stopped (LAT/LONG/geographic re_ference): 12-36N 091-51 W//98 NM from Puerto
        Quetzal, GT
        Distance in nautical miles from position where vessel was stopped to closest bale: lNM
        Distance in nautical miles from position where vessel was stopped to estimated center of the debris field: lNM
        Distance in nautical miles from position where vessel was stopped to farthest bale: INM
        Time of recovery of first bal_e: 3 :45 P .M.
        Time of interdiction of the suspect vessel: 4:16 P.M.



        X Witness Statements                                         X Video Log
        X Unit Smooth Log (copy)                                     X Photo Log
        X Message Traffic                                            X Prisoner Log




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       Appendix G - Law Enforcement Case Package Preparation and Trial Support




         X Radiotelephone Log                                   X Drug Detection/Identification Evidence
         X Chain of Custody Documents                           X Evidence of Drug Quantity/Destruction
         X Diagram of Seized Vessel Layout                      X Sample Drug Packaging
         X Representative Drug Sample




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      Appendjx G - Law Enforcement Case Package Preparation and Trial Support


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                         EXHIBIT
                                        G
                                     IONSCAN RECORDING
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                                                                                  400 Sand Island PKWY
                                                                                  Honolulu, HI 96819

                                                                                  Phone Number: 1-808-842-
                                                                                  2870

                                                                                  Fax Number: 1-808-842-2871



          THE FOLLOWING IS A STATEMENT BY OS3 MELCHOR, USCGC RUSH, IONSCAN
          OPERATOR, IN REFERENCE TO THE BOARDING OF CRISTIANO RONALDO ON 05
          NOVEMBER, 2013.

          On 05 November 2013 I Petty Officer Third Class Brandon S. Melchor certified 500DT operator

          performed lOSCAN swipes on the 500DT for the boarding of Cristiano Ronalda. I analyzed a total of

          08 samples that came from the Cristiano Ronalda. Sample 01 was taken from the throttle of the

          vessel and tested 32% positive for cocaine. Sample 02 was taken from the stern/aft fish bold and

          tested 05% positive for cocaine. Sample 03 was taken from the forward fish hold and tested 09% for

          cocaine. Sample 04 taken from the green cut line and passed with no hits for any narcotics. Sample

          05 was taken from port rail and passed with no hits for any narcotics. Sample 06 was taken from the

          starboard rail and tested 10% positive for cocaine. Sample 07 was taken from the bow and passed

          with no hits for any narcotics. Sample 08 was taken from the fish hold and passed with no hits for

          any narcotics. As the certified 500DT operator I printed out all receipts for each sample and have a

          written log of all samples that were taken from the boarding of the Cristiano Ronalda on 05

          November 2013.




          This statement was taken to the best of   knowledge.



                                          Bcandon   --M,,         OS3, USCG

                                          \ ___//09 November 2013




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                                 IONSCAN RECORDING SHEET

Date: 05 November 2013         Operator: OS3 Melchor              Vessel Name: Cristiano Ronaldo

Sample#          Sample              Substance/Channel       MaxA Delta #Seg
              1 Throttle             Cocaine-High            744     -2    11
              2 Stern/Aft Fish Hold Cocaine                  121     -36   9
              3 Fwd Fish Hold        Cocaine                 182     -32   11
              4 Line (Green)         Pass                    NIA • NIA NIA
              5 Port Rail            Pass                    NIA    NIA NIA
              6 Stbd Rail            Cocaine                 202    -28    5
              7 Bow                  Pass                    NIA    NIA NIA
              8 Fish Hold            Pass                    NIA    NIA NIA
_w
  (X)
              9
             10
             11    -
             12
             13
             14
             15
. *****************************Nothing Further This Page******************************

            Operator Signature/Printed Name~-~/ / a.53 6. /\JtilCAtcl
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                                           F.C.I. Pollock's CDVID-19 M:::>varents .




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                                                                           tiiiWZ



 Be advised, we have experienced an increase of inmates testing
 positive for GOVI6-19.  As we continue to navigate the COVID
 pandemic~ I encourage you to adhere to CDC guidelines and always wear
 your mask while you are out of the cell. Continue to clean in the
 units and the housing areas.  Wipe down surfaces continuously, W~sh
 your hands frequently, and maintain proper social distancing while
 out of the cells. You need to wipe down the phones and keyboards
 prior to touching them.  Additionally, do not touch your hands ta
 your face unless you have recently washed them.

 Your continued patience is appreciated.



 Tenga en cuenta que hemos experimentado un aumento de recluses que
 dan positive por COVID-19. A medida que continuamos navegando por la
 pandemia de COVID, lo animo a cumplir con las pautas de los CDC y
 siempre usar su mascara mientras esta fuera de la celda. Continuar
 con la limpieza en las unidades y las areas·de vivienda. Limpie las~
 superficies continuamente, lavese las manos con frecuencia y mantenga
 un distanciamiento social adecuado mientras este fuera de las celdas.
 Debe limpiar los telefonos y las teclados antes de tocarlos. Ademas;
 nose toque la cara con las manos a menos que las haya lavado
 recientemente.

 Se agradece su continua paciencia.




 C. Garrett, Acting Complex Warden                    Date
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                        EXHIBIT
                                         I
                              LETTERS FROM FAMILY MEMBERS
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